      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 1 of 150




            In the United States Court of Federal Claims
                                    No. 00-697 C
                             (Filed December 18, 2009)

 WISCONSIN ELECTRIC                        )   Breach of contract for removal of spent nuclear
     POWER COMPANY,                        )   fuel; utility’s condition with full performance in
                                               the non-breach world of the 1987 ACR and the
                                           )
                                               1991 ACR; difference between mitigation costs
                           Plaintiff,      )   in the breach world and costs that would have
              v.                           )   been incurred with full government
                                           )   performance in the non-breach world of the
 THE UNITED STATES,                        )   1987 ACR and the 1991 ACR; offset for future
                                           )   costs of performance; waiver.
                            Defendant.     )

     Richard W. Oehler, Seattle, WA, for plaintiff. Donald J. Carney, Mary Rose
Hughes, Emily C. C. Poulin, and Jay L. Griffiths, of counsel.

      Sharon A. Snyder, Commercial Litigation Branch, Civil Division, United States
Department of Justice, Washington, D.C., for defendant, with whom were Jeffrey S.
Bucholtz, Acting Assistant Attorney General, Jeanne E. Davidson, Director, and
Harold D. Lester, Jr., Assistant Director. Alan J. Lo Re, Senior Trial Counsel,
Russell A. Shultis, Sonia M. Orfield, and Stephen Finn, Trial Attorneys. Jane K.
Taylor, Office of General Counsel, United States Department of Energy, Washington,
D.C., of counsel.

                                        OPINION

Merow, Senior Judge

      Wisconsin Electric Company (“WE”) claims damages in excess of $90 million
representing costs incurred in mitigating the government’s failure to perform its
contractual obligations to collect, remove, transport and dispose of spent nuclear fuel
(“SNF”) discharged from WE’s Point Beach nuclear generating facility on the shores
of Lake Michigan. Electricity rates charged WE’s customers have included over
$215 million dollars in fees WE paid to the government for this disposal service,
which was to commence not later than January 31, 1998, but which has yet to occur.
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 2 of 150




       The court has jurisdiction over these claims. 28 U.S.C. § 1491(a); PSEG
Nuclear, L.L.C. v. United States, 465 F.3d 1343 (Fed. Cir. 2006). The Department
of Energy’s (“DOE’s”) partial breach of its Standard Contract with nuclear utilities
is well established. Carolina Power & Light Co. v. United States, 573 F.3d 1271,
1273 (Fed. Cir. 2009) (“Carolina Power II”) (citing Ind. Mich. Power Co. v. United
States, 422 F.3d 1369, 1376-77 (Fed. Cir. 2005) (“Ind. Mich. II”) and Me. Yankee
Atomic Power Co. v. United States, 225 F.3d 1336, 1343 (Fed. Cir. 2000)); Pac. Gas
& Elec. Co. v. United States, 536 F.3d 1282, 1284 (Fed. Cir. 2008) (“PG & E II”) (“A
series of cases has established that DOE has partially breached the contract by failing
to begin its performance on January 31, 1998.”) (citing cases); Yankee Atomic Elec.
Co. v. United States, 536 F.3d 1268, 1272 (Fed. Cir. 2008) (“Yankee II”) (“[DOE’s]
failure to perform beginning on January 31, 1998 constituted a partial breach of the
contract.”); Sacramento Mun. Util. Dist. v. United States, 293 Fed. Appx. 766, 769
(Fed. Cir. 2008) (“SMUD II”); Me. Yankee, 225 F.3d at 1342 (“The breach involved
all the utilities that had signed the contract – the entire nuclear electric industry.”)
(emphasis added). On October 8, 2004, this court granted WE’s Motion for Partial
Summary Judgment on Liability, to the extent that DOE’s failure timely to begin
disposal activities with respect to WE’s SNF and/or high-level radioactive waste
(“HLW”) covered by the Standard Contract comprised a partial breach. Accordingly,
this Opinion concerns mitigation damages.

       DOE never commenced performance of its contractual disposal obligation, but
the contract was not repudiated. At all relevant times DOE continued to collect the
fees required under the contract. Accordingly, nuclear utilities may recover
appropriately established incurred costs in mitigating DOE’s partial breach, but may
not recover future expenses. Ind. Mich. II, 422 F.3d at 1375-77. “‘If the breach of
an entire contract is only partial, the plaintiff can recover only such damages as he or
she has sustained, leaving prospective damages to a later suit in the event of future
breaches.’” Yankee II, 536 F.3d at 1282 (citing Ind. Mich II., 422 F.3d at 1376).
Indeed, such “later” suits have begun to be filed.1/ WE’s claim in this litigation is
limited to costs incurred through February 28, 2007. In September of 2007, WE sold
the Point Beach plant to a Florida Power and Light Company (“FP&L”) subsidiary.



       1/
         See for example: Yankee Atomic Elec. Co. v. United States, Nos. 98-126 and 07-876; Conn.
Yankee Atomic Power Co. v. United States, Nos. 98-154 and 07-875; Me. Yankee Atomic Power Co.
v. United States, Nos. 98-474 and 07-877; N. States Power Co. v. United States, Nos. 98-484 and
07-608.
                                               -2-
         Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 3 of 150




As a result, WE will not incur any “future damages” and this litigation comprises WE’s
entire damage claim for the government’s breach of its contractual obligations.

       The Point Beach facility has two reactors. A spent fuel pool (“wet pool”) between
the two reactor units holds the fuel assemblies that have been discharged from the
reactors after they have become “spent,” that is relatively inefficient for producing
electricity. The pool has the capacity to hold a limited number of assemblies. At the
time Point Beach was designed, SNF was removed from the site for reprocessing and
reuse. The wet pool capacity was adequate for this method of operation. Reprocessing
of SNF was subsequently eliminated with the result that the SNF remained in the pool
and as discharges continued, capacity became a problem. The Nuclear Waste Policy Act
of 1982, Pub.L. 97-425 (codified at 42 U.S.C. §§ 10101-10270) (“NWPA”), requires
that nuclear utilities and the government, represented by DOE, enter into Standard
Contracts wherein DOE agreed to remove, transport and dispose of utilities’ SNF
starting no later than January 31, 1998. WE responded to DOE’s lack of contractual
performance by building an on-site dry storage facility for SNF referred to as an
Independent Spent Fuel Storage Installation (“ISFSI”) to serve as a substitute for the
disposal DOE would have otherwise provided. WE’s claimed mitigation costs consist
of the ISFSI construction, including internal labor, overhead, cost of capital and other
expenses, the cost of casks for dry storage of SNF, expenditures in pursuit of private
fuel storage at another location and Nuclear Regulatory Commission (“NRC”) fees.

      Given liability, the government concedes WE is entitled to recover $12,548,930.
The balance of WE’s claimed damages are assailed as not foreseeable, not established
with reasonable certainty, or costs that would have been incurred even absent a
government breach – or were caused by reasons other than government delays. The
government also insists WE’s otherwise recoverable mitigation costs should be reduced
by a variety of additional expenses that the government contends WE would have
incurred if DOE had performed its contractual obligations.

          Trial on damages was held on September 10, 2007 through October 16, 2007.
  Twenty-seven witnesses testified; hundreds of exhibits and numerous deposition
  designations were admitted. Extensive post-trial briefs were filed, with supplemental
  briefing following the Federal Circuit decisions in Yankee II, PG & E II and SMUD
  II (collectively referred to on occasion hereinafter as the Yankee trio). Oral argument
  was held on September 26, 2008. A motion for reconsideration and to recall the
  mandate in the Yankee trio, along with a motion for reconsideration of an order
  denying a motion for enlargement of time to file a petition for panel rehearing and/or
                                            -3-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 4 of 150




a petition for rehearing en banc, was denied by the Federal Circuit on August 6, 2009.
Following the Federal Circuit’s Decision in Carolina Power II, additional briefs were
filed in the instant matter on August 5th and 14th, 2009. A petition for rehearing and
rehearing en banc in Carolina Power II was denied by the Federal Circuit on
November 3, 2009.

       With appreciation for the excellent efforts and cooperation of all counsel
involved, the court finds that in the main, WE’s mitigation decisions were
foreseeable, commercially reasonable and substantially caused by DOE’s failure to
perform its contractual obligations. But for DOE’s contractual performance failure,
the costs awarded herein would not have been incurred by WE. The amount of the
costs awarded were established with reasonable certainty. The court finds that in the
hypothetical non-breach world of full DOE performance, under the applicable 1987
SNF disposal rate, WE would not have built an ISFSI for dry storage nor explored
alternative storage possibilities represented by the costs awarded, but would have
taken lesser measures to accommodate any contingencies. WE’s dry storage project
required authorization by the Wisconsin Public Service Commission which the court
finds would not have occurred if DOE had commenced performance of its contractual
SNF disposal obligations. Without the Public Service Commission authorization, the
ISFSI would not have been built and the expenditures would not have been made.
Even if DOE had performed at the 1991 SNF removal rate advocated by the
government at trial, WE would not have built, nor have been authorized to build a dry
storage facility, and the expenses for such a facility would not have been incurred.

       In determining the amount awarded to WE, costs claimed for the expense of
capital used to finance dry storage and other mitigating activities are not included as
prohibited by statute and precedent. Also, certain NRC fees paid by WE are not
awarded.

       The offsets the government seeks are not adopted. These comprise costs that
WE would have incurred in loading SNF to DOE casks or containers had the
government timely commenced to perform its contractual disposal obligations. They
are expenses that have been deferred, not avoided. Carolina Power II, 573 F.3d at
1277. Because Point Beach has been sold, WE will not incur these expenses in the
future but FP&L, WE’s successor, will, if contract performance eventually occurs.
Presumably this future expenditure was factored into agreements between buyer and
seller and can be considered for offset purposes when and if incurred.

                                          -4-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 5 of 150




                                          FACTS

      WE is a wholly-owned subsidiary of Wisconsin Energy Corporation (“WEC”),
a publically-traded corporation. At all relevant times, WE owned Point Beach
Nuclear Plant (“Point Beach”) located on a 1,260 acre site adjacent to Lake Michigan,
approximately 100 miles north of Milwaukee, 35 miles southeast of Green Bay,
Wisconsin. Nuclear-generated power from Point Beach’s two reactors supplies
approximately 25 percent of the electricity to some 1.1 million residential and
commercial customers in Wisconsin and the Upper Peninsula of Michigan. Point
Beach is regulated by the NRC, the Federal Energy Regulatory Commission
(“FERC”), the Public Service Commission of Wisconsin (“PSC”) and the Michigan
Public Service Commission. The NRC issued a 40-year license for the Point Beach
Unit 1 reactor in 1970 and for Unit 2 in 1973. In 2005, the NRC extended both
licenses for an additional 20 years. Point Beach generates cost-effective and
emission-free electricity.

      Until 2000, WE managed Point Beach through its Nuclear Power Department
with personnel located on-site and in Milwaukee. In 2000, WE, along with several
other Midwest nuclear power utilities, formed the Nuclear Management Company
(“NMC”) to operate their nuclear plants. Initial NMC members also included
Wisconsin Public Service Company, Iowa Electric, Northern States Power and
Consumer’s Energy. In 2000, WE transferred the Point Beach operating licenses to
NMC, but continued to own Point Beach and handle its regulatory affairs through
September 2007about the time Point Beach was sold to FP&L.2/ (Tr. 5013:23-5014:5
(Weaver3/); Tr. 104:8-105:11 (Baumann).) The mitigation expenses sought herein all
pre-date the sale.

      Electricity is generated in WE’s two pressurized water reactors, each rated
originally at approximately 517 megawatts, upgraded to 535 megawatts. Uranium
oxide pellets (little finger-sized) are inserted into 12-14 foot cylindrical metal rods,


       2/
         WE’s rights and obligations under the Standard Contract may be assigned along with a
transfer of the SNF and/or HLW provided DOE is given notice within ninety days. (PX 41 at Art.
XIV.)
       3/
        David Weaver, Nuclear Asset Manager at WE Energies, was in charge of updating WE’s
decommissioning cost study in 1998. Decommissioning is the process of isolating SNF and
dismantling the plant after it ceases operation.
                                                 -5-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 6 of 150




bundled into approximately nine inch square fuel assemblies and placed in the reactor
core. Each assembly contains about 200 fuel rods. (DX 283 at 3.)

       In the reactor core, atoms of uranium-235 are split to produce heat, which is
converted to steam to drive turbines and generate electricity. After three to four
years, the fuel becomes relatively inefficient and is classified as “spent.” The reactor
is shutdown, a pre-determined number of assemblies are removed from the core and
replaced with fresh, “hotter” fuel – a refueling cycle. The removed assemblies are
placed in sleeves in basket-like storage racks in the adjacent large concrete pool filled
with treated water to protect against radioactivity. The wet pool, located between the
two units, is monitored with highly sophisticated devices to protect the workers and
the environment. With planning and technological advances, the length of time
between refueling can increase and the number of assemblies removed and replaced
with new, can decrease.

       SNF is measured in metric tons uranium (“MTU”). One MTU is 2,204 pounds.
Even though “spent,” SNF remains highly radioactive, capable of attaining criticality
for many years. For the first five years after SNF is removed from the reactor, water
is the only licensed storage medium. After five years, heat and radioactivity have
reduced sufficiently to allow for dry storage on an ISFSI – where huge, specially-
designed concrete containers are placed on specialized concrete pads. Transporting
SNF in or out of the reactor, the pool and to the ISFSI is complex, expensive and
highly regulated. See Lower Alloways Creek v. Pub. Serv. Elec. & Gas Co., 687 F.2d
732, 737 (3d Cir. 1982); see generally 10 C.F.R. pts. 72-73 (2007) (NRC regulations).

        WE’s wet pool is approximately 68' long, 18' wide and 40' deep and filled with
borated water to prevent criticality. The concrete wall and slabs range from 4 to 5
feet thick. Structural steel “H” piles support the bottom slab. The pool has a stainless
steel liner with a leak detection system. There is about 25 feet of water above the
submerged storage racks. The pool cask loading area, where a transfer cask is placed
to move fuel assemblies in or out of the pool, is 8'3" by 7'10." (PX 318 at 8; DX 397
at WISC 00025304; PX 640 at 00060265.) Adjacent to the pool is a transfer canal
used to move assemblies in and out of the pool and to store equipment.

      Because of its size, configuration, structural and other concerns, the wet pool
can hold only a certain number of assemblies. Point Beach’s licensed storage
capacity is currently 1502 assemblies. Storage need is triggered by the removal of
assemblies from the reactor core. “Full core reserve” (“FCR”) refers to retaining
                                           -6-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 7 of 150




sufficient empty spaces in the pool racks to hold all the assemblies in the reactor core.
FCR for Point Beach is 121 assemblies. “Though the [NRC] does not require utilities
to maintain such a [FCR], it encourages them to do so.” Yankee II, 536 F.3d at 1275.
Reracking is the use of higher density racks, with a tighter configuration, allowing
more assemblies to be stored in the pool. Id. If a nuclear power plant has no place
to store SNF, it can no longer operate.

Federal responsibility for SNF disposal and the Nuclear Waste Policy Act

       Historically, the disposal of commercial SNF has been a federal responsibility.
See Fla. Power & Light Co. v. Westinghouse Elec. Corp., 826 F.2d 239, 244 (4th Cir.
1987) (quoting legislative findings in support of the 1954 Atomic Energy Act that
nuclear energy was “‘affected with the public interest . . . in the national interest to
assure the common defense and security and to protect the health and safety of the
public,’” and that “‘the stated policy of the Federal Government has always been that
the safe disposal of [HLW] is to be accomplished under Federal management.’”)
(citing 42 U.S.C. § 2021(e) and 1980 U.S. Code Cong. & Admin. News at 6934).
During the 1970s, when Point Beach was built, SNF was reprocessed; therefore, the
plant was not designed with storage sufficient to hold all the SNF that would be
produced through the license period. See Yankee I, 73 Fed. Cl. 249, 253-55 (2006)
(summarizing history in this regard), aff’d in part, rev’d in part and remanded,
Yankee II, 536 F.3d 1268 (Fed. Cir. 2009). Nuclear plants constructed prior to 1977
generally did not have large wet pools. In 1977, President Carter effectively halted
reprocessing. Carolina Power & Light Co. v. United States, 82 Fed. Cl. 23, 28 (2008)
(“Carolina Power I”) (citing H.R. Rep. No. 97-491 (I) at 27 (1982)), aff’d in part,
rev’d in part and remanded, Carolina Power II, 573 F.3d 1271 (Fed. Cir. 2009),
reh’g and reh’g en banc denied (Nov. 3, 2009); PG & E I, 73 Fed. Cl. at 333, 354
(“‘[D]uring the Carter Administration, the U.S. determined that for nonproliferation
purposes, it would abandon the plutonium recycle or reprocessing direction.’”) Wet
pools were then the only storage option.

       The 1983 passage of the Nuclear Waste Policy Act (“NWPA”) reaffirmed
federal responsibility “to provide for the permanent disposal of [HLW] and such
[SNF] as may be disposed of in order to protect the public health and safety and the
environment.” 42 U.S.C. § 10131(a)(4). “Seeking to avoid the inefficient and
potentially unsafe prospect of allowing individual utilities to recycle or dispose of
their own SNF, Congress enacted the NWPA to ‘establish the Federal responsibility,
and a definite Federal policy, for the disposal of’ spent nuclear fuel.” Ind. Mich.
                                           -7-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 8 of 150




Power, 422 F.3d at 1372 (quoting Roedler v. DOE, 255 F.3d 1347, 1350 (Fed. Cir.
2001) (citing 42 U.S.C. § 10131(b)(2) (2000)).

        Under the NWPA, DOE is responsible for long-term storage of SNF and HLW
and nuclear utilities were required to contract with DOE. 42 U.S.C. § 10222(b).4/
Ind. Mich. II, 422 F.3d at 1372; N. States Power Co. v. United States, 224 F.3d 1361,
1364 (Fed. Cir. 2000). The NWPA mandated certain terms of the Standard Contract,
such as commencing performance by January 31, 1998, including fees charged to the
utilities based on electricity generated and sold prior to April 7, 1983, and a


      4/
        42 U.S.C. § 10222(b) provides:
      (1)(A) The Commission shall not issue or renew a license to any person to use a
      utilization or production facility under the authority of section 2133 or 2134 of this
      title unless--
                (i) such person has entered into a contract with the Secretary under this
                section; or
                (ii) the Secretary affirms in writing that such person is actively and in good
                faith negotiating with the Secretary for a contract under this section.
           (B) The Commission, as it deems necessary or appropriate, may require as a
      precondition to the issuance or renewal of a license under section 2133 or 2134 of
      this title that the applicant for such license shall have entered into an agreement with
      the Secretary for the disposal of high-level radioactive waste and spent nuclear fuel
      that may result from the use of such license.
      (2) Except as provided in paragraph (1), no spent nuclear fuel or high-level
      radioactive waste generated or owned by any person (other than a department of the
      United States referred to in section 101 or 102 of Title 5) may be disposed of by the
      Secretary in any repository constructed under this chapter unless the generator or
      owner of such spent fuel or waste has entered into a contract with the Secretary under
      this section by not later than--
         (A) June 30, 1983; or
         (B) the date on which such generator or owner commences generation of, or takes
      title to, such spent fuel or waste; whichever occurs later.
      (3) The rights and duties of a party to a contract entered into under this section may
      be assignable with transfer of title to the spent nuclear fuel or high-level radioactive
      waste involved.
      (4) No high-level radioactive waste or spent nuclear fuel generated or owned by any
      department of the United States referred to in section 101 or 102 of Title 5 may be
      disposed of by the Secretary in any repository constructed under this chapter unless
      such department transfers to the Secretary, for deposit in the Nuclear Waste Fund,
      amounts equivalent to the fees that would be paid to the Secretary under the contracts
      referred to in this section if such waste or spent fuel were generated by any other
      person.
                                                   -8-
        Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 9 of 150




continuing fee based on subsequent generation. 42 U.S.C. § 10222(a)(2)-(3), (5).
These fees (which are included in the electricity rates paid by respective
ratepayers/customers) are deposited into the Nuclear Waste Fund (“NWF”).5/ WE
calculates its payments into the NWF as of December 31, 2006 are over $215 million.
The government calculates that amount as $213.46 million. The difference is not
material to the resolutions of the matters currently before the court. As of September
30, 2009, utility payments and credited interest to the NWF totaled $30.2 billion.
http://www.ocrwm.doe.gov/about/budget_and_funding.shtml (last visited Dec. 14,
2009).

The Standard Contract

       On February 4, 1983, a proposed Standard Contract covering disposal of
SNF/HLW was published in the Federal Register with a one-month comment period.
Utilities, including WE, submitted comments, addressing the circumstance that the
proposed contract did not contain performance standards and there was no
opportunity for negotiation before the statutory deadline for signing. 42 U.S.C. §
10222(b)(2)(A) (June 30, 1983 deadline).

      On April 18, 1983, the final Standard Contract was published. 48 Fed. Reg.
16590-01; 10 C.F.R. § 961.11. WE signed on June 16, 1983. (PX 41.) In return for
payment of the fees mentioned, DOE contracted to “accept title to all SNF and/or
HLW, of domestic origin, generated by [WE], provide subsequent transportation for
such material to the DOE facility, and dispose of such material in accordance with the
terms of this contract.” (Id. at 9.)

      Both the Standard Contract and the NWPA require DOE to begin performance
by January 31, 1998. “[T]he Secretary, beginning not later than January 31, 1998,

       5/
         The NWF is “composed of payments made by the generators and owners of such waste and
spent fuel, that will ensure that the costs of carrying out activities relating to the disposal of such
waste and spent fuel will be borne by the persons responsible for generating such waste and spent
fuel.” 42 U.S.C. § 10131(b)(4). Utility breach of contract claims cannot be settled by offsets to
future payment obligations. Ala. Power Co. v. DOE, 307 F.3d 1300, 1313-14 (11th Cir. 2002). See
also Nevada v. DOE, 400 F.3d 9 (D.C. Cir. 2005) (rejecting use of NWF to finance Nevada’s
participation in NRC licensing hearings); N. States Power Co. v. DOE, No. 97-1064, 1998 WL
276581 (D.C. Cir. May 5, 1998) (declining to opine on use of NWF to pay breach damages).


                                                 -9-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 10 of 150




will dispose of the [HLW] or [SNF] involved as provided in this subchapter.” 42
U.S.C. § 10222(a)(5)(B). “The services to be provided by DOE under this contract
shall begin, after commencement of facility operations, not later than January 31,
1998 and shall continue until such time as all SNF and/or HLW from the civilian
nuclear power reactors specified in Appendix A, annexed hereto and made a part
hereof, has been disposed of. (PX 41 at 6.) The Standard Contract does not contain
a performance rate; its integration clause dispels reliance on understandings,
representations or promises and the like that were not incorporated.6/

Procedural background

      WE ’s Complaint for mitigation damages was filed on November 16, 2000. On
April 7, 2006, WE filed its Amended and Supplemental Complaint limiting its
damages to costs incurred through December, 2005. On June 7, 2007, WE filed its
Second Amended and Supplemental Complaint, updating its damage claim through
February 28, 2007.

                                       DISCUSSION

Standards for Decision

       “Mitigation is appropriate where a reasonable person, in light of the known
facts and circumstances, would have taken steps to avoid damage.” Ind. Mich. II, 422
F.3d at 1375. “[O]nce a party has reason to know that performance by the other party
will not be forthcoming, . . . he is expected to take such affirmative steps as are
appropriate in the circumstances to avoid loss by making substitute arrangements or
otherwise.” Id.


       6/
        Article XXII.A of the Standard Contract provides:

       This contract, which consists of Articles I through XXII and Appendices A through
       G, annexed hereto and made a part hereof, contains the entire agreement between the
       parties with respect to the subject matter hereof. Any representation, promise, or
       condition not incorporated in this contract shall not be binding on either party. No
       course of dealing or usage of trade or course of performance shall be relevant to
       explain or supplement any provision contained in this contract.

(PX 41 at 33.)

                                              -10-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 11 of 150




       Expenses of mitigation efforts are recoverable if: “(1) the damages were
reasonably foreseeable by the breaching party at the time of contracting; (2) the
breach was a substantial causal factor in the damages; and (3) the damages are shown
with reasonable certainty.” Id. at 1373 (citing Energy Capital Corp. v. United States,
302 F.3d 1314, 1320 (Fed. Cir. 2002)). Mitigating damages are to place the utility
“in as good a position as it would have been had the breaching party fully
performed.” Id. at 1373. Accordingly, “the non-breaching party should not be placed
in a better position through the award of damages than if there had been no breach.”
Bluebonnet Sav. Bank, F.S.B. v. United States, 339 F.3d 1341, 1344-45 (Fed. Cir.
2003) (citing White v. Delta Constr. Int’l, Inc., 285 F.3d 1040, 1043 (Fed. Cir. 2002))
(“[T]he non-breaching party ‘should on no account get more than would have accrued
if the contract had been performed.’”).

       Illustratively, in Indiana Michigan II, the Federal Circuit upheld the denial of
recovery on credited evidence that the “[utility’s] decision to perform a full, instead
of a partial, rerack in 1995 was purely a business judgment which it would have had
to pursue irrespective of DOE’s partial breach.” 422 F.3d at 1376.

       Any costs that would have been incurred in the non-breach world must be
deducted from appropriately established breach world mitigation expenses to
determine the net incremental cost of mitigation, and although it may not be perfect,
the 1987 Annual Capacity Report (“ACR”) process was selected by the Federal
Circuit as the standard for the non-breach world for this equation. Yankee II, 536
F.3d at 1274 (“[T]his court vacates and remands with instructions that the Court of
Federal Claims apply the Standard Contract acceptance rate identified in Pacific Gas
to assess causation.”). Using record evidence, the court must compare the utility’s
condition with full performance using SNF acceptance rates of the 1987 ACR, with
the utility’s actions in the breach world – “the necessary comparison between the
breach and non-breach worlds” in order to assess damages. Id. at 1273. “[W]ithout
an express timetable for removal of the [plaintiff’s] waste . . . the [plaintiff] cannot
show the expenses they might have avoided.” Id. While the “substantial factor”
standard for assessing causation is acceptable, the “but-for” standard is preferred. Id.
at 1272-73.

    As noted in Yankee II, 536 F.3d at 1276, mitigation decisions must be
commercially reasonable:



                                          -11-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 12 of 150




      The record also shows that the reracks were reasonable even though
      early closure of some facilities rendered some of the efforts unnecessary.
      The Yankees are “‘not precluded from recovery . . . to the extent that
      [they have] made reasonable but unsuccessful efforts to avoid loss.’”
      [Ind. Mich. II, 422 F.3d at 1375] (quoting Restatement (Second) of
      Contracts § 350 comment b). Because the rerack efforts were
      reasonable, foreseeable, and caused by the Government’s partial breach,
      their ultimate success and usage is irrelevant. Accordingly, this court
      affirms the trial court’s findings that the Yankees’ rerack decisions were
      “commercially reasonable” and “foreseeable to DOE at the time of
      contracting.” Yankee I, 73 Fed. Cl. at 279, 283.

       The government bears the burden of establishing that any mitigation efforts
were unreasonable. SMUD II, 293 Fed. Appx. at 772; Old Stone Corp. v. United
States, 450 F.3d 1360, 1370 (Fed. Cir. 2006), cert. denied, __ U.S. __, 127 S. Ct.
1831 (2007) (“The government has not shown that it was unreasonable for OSC to
replace the entire amount of regulatory capital that was eliminated by FIRREA.”);
Home Sav. of Am. v. United States, 399 F.3d 1341, 1353 (Fed. Cir. 2005) (“When
mitigating damages from a breach, a party ‘must only make those efforts that are fair
and reasonable under the circumstances.’”).

       Aware of DOE’s impending and admitted delays, WE asserts it responded
appropriately, responsibly and reasonably to mitigate the serious consequences of
DOE’s delays in removing SNF. Predicting it would exceed the capacity of its wet
pool before DOE’s performance as delayed would begin, WE sought approval from
the PSC to construct an ISFSI and to purchase and load dry storage casks. Dry
storage was chosen because of the amount of SNF that would need to be stored and
the length of time it was then anticipated to remain on-site. WE also participated in
the development of Private Fuel Storage (“PFS”) and other potential off-site storage
possibilities. If DOE had commenced to perform as required under the Standard
Contract and at the rates in the 1987 ACR, WE insists it would not have built dry
storage, nor expended sums on other alternative storage efforts sought as mitigation
damages.

      The parties agree that the template for damages is foreseeable and reasonable
expenses caused by the DOE’s partial breach, less expenses that would have been
incurred if DOE had performed timely in accord with the 1987 ACR process. WE
requests damages of $92,541,000. The government responds that most of these costs
                                         -12-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 13 of 150




would have been incurred in the non-breach world, or are otherwise not recoverable,
but conceded at trial that WE was entitled at least to $10,259,004 in mitigation
damages. Following the Yankee trio, that amount rose to $12,548,930. (Def. Supp.
Br. [415] at 14.)

The breach world

       Events at the time of the signing of the Standard Contract and thereafter inform
the court’s conclusions regarding the motivation and causation for WE’s decisions
in the breach world, and what would, or would not have, happened in the non-breach
world.

       Expectations, performance levels, foreseeability of dry storage and delays

       Considerable evidence was introduced concerning the early understandings and
expectations of DOE, WE and the nuclear power industry. Shortly after the signing
of the Standard Contract, at a December 1983 industry meeting, a responsible DOE
official stated that DOE intended to prevent the need for additional at-reactor SNF
storage. Accordingly, that utilities might have to build additional storage if DOE
failed to perform its contractual disposal obligations was foreseeable.

       The basic strategy which we’ve outlined in the mission plan, is that
       beginning in 1998, utilities will not have to provide any additional
       storage facilities on site. During the first year of operation of the
       repository in 1998, we should be receiving fuel at a rate so that no utility
       would have to add any further storage facilities either on site or at
       another location.

(DX 493 at SN069599.) Early in the program, there was an understanding in the
industry that a repository may be ready even before 1998.7/

       7/
         The court admitted certain deposition and testimony from other SNF trials. (PX 1052; Tr.
6403:20-6407:8.) Included is the trial testimony of Loring Mills in the Yankee I trial. Mr. Mills
worked for the Edison Electric Institute, a utility trade association, from 1976 until his retirement
in 1993 as the Vice President of Nuclear Activities. “Representing the nuclear utility industry, Mr.
Mills worked closely with [DOE] and other government officials in development of legislation for
the disposal of [SNF].” PG & E I, 73 Fed. Cl. at 340-41 n.5. From his early discussions with DOE,
Mr. Mills understood and expected DOE would begin receiving SNF even before 1998 at a rate at
                                                                                       (continued...)
                                                 -13-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 14 of 150




       DOE’s December 20, 1983 Draft8/ Mission Plan confirmed this intention.
“[T]he schedule was ‘designed to provide an acceptance rate in the first five years
such that no utility will have to provide additional storage capacity after January 31,
1998. Subsequently, the acceptance rate will be equal to or greater than the actual
discharge rate of spent fuel each year.’” PG & E II, 536 F.3d at 1286 (citing PG & E
I, 73 Fed. Cl. at 355 (quoting the 1983 Mission Plan – PX 52)). The rate discussed
was at least equal to the annual industry discharge of SNF (around 2000 MTU) plus
some to begin reducing inventory.9/ A January 31, 1998 start date was however,
called “optimistic.” (PX 52 at CTR-042-1076.)

      In evaluating the adequacy of the NWF in December of 1983, it was assumed
that DOE would perform at a rate sufficient to preclude additional at-reactor storage,
equal or greater than the annual SNF generation rate. (PX 50, enclosure at 2 (FY
1984 Program Guidance for NWF Evaluations).)

      DOE conveyed these objectives to Congress. In February 1984, Michael
Lawrence, Acting Director of the Office of Civilian Radioactive Waste Management
Office (“OCRWM”)10/ testified before the House Subcommittee on Energy
Conservation and Power, that the “fundamental objective” of the NWPA was to
accept SNF “beginning not later than January 31, 1998,” and that “achieving [that]

        7/
         (...continued)
least equivalent to the annual industry production rate, plus some to work off the backlog. He also
believed that the 15-year period from the signing of the contract in 1983, and the deadline for
commencement of performance in January of 1998, was sufficient to implement the program. (PX
1052 (Lawrence Dep. Desig. 5/20/02 Tr. 99:7-9 (“The purpose of the contract was to carry out the
provisions of the [NWPA]”) and 187:15-188:8 (recalling plans and hopes were to have an
acceptance rate after the first five years equivalent to the rate of utility discharge of SNF so that no
utility would have to build additional storage after 1998.).)
       8/
         Despite its “draft” moniker, this report was required by the NWPA and was circulated to
the nuclear industry for comment prior to issuance of a final report. The “mission plan . . . [would]
provide an informational basis sufficient to permit informed decisions to be made in carrying out the
repository program and the research, development, and demonstration programs required under this
[Act].” 42 U.S.C. § 10221(a).
        9/
        Reduction of the inventory of SNF stored in utilities’ wet pools was necessary to allow for
eventual plant shut-down and decommissioning which returns the site to its previous state.
       10/
       DOE established (“OCRWM”) to carry out its obligations under the Standard Contract and
the NWPA. (PX 25.)
                                        -14-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 15 of 150




fundamental objective and implementing an appropriate waste acceptance schedule
. . . will initially preclude the need for additional at-reactor storage by nuclear utilities
after January 31, 1998, and, ultimately, remove all eligible waste from at-reactor
storage.” (PX 58 at 2.) DOE’s April 1984 Draft Mission Plan included annual
acceptance rates that ramped up to 3000 MTU. (PX 59.) DOE used a 3000 MTU rate
in projecting total life cycle costs and assessing the adequacy of the utility fees
charged in the Standard Contract. A 3000 MTU annual rate was used in DOE’s 1985
Final Mission Plan which reiterated the objective was to avoid plant shutdowns due
to lack of pool space. (PX 97.)

       As a contingency in case a permanent repository would not be available to meet
the January 31, 1998 deadline, in the 1985 Mission Plan, DOE stated it would request
congressional authorization to build a monitored retrievable storage facility (“MRS”),
an interim solution, to receive and prepare SNF for emplacement in the repository by
consolidating and loading SNF into canisters.11/ If authorized by Congress, an MRS
would begin acceptance beginning as early as 1996 at 2200 MTU annually,
increasing to 3000 MTU in 1998. PG & E I, 73 Fed. Cl. at 358. Without an MRS,
acceptance in 1998 would be 400 MTU, increasing to 3000 MTU after five years.
(PX 87 at 26.) These schedules were “illustrative ” and “considerable variation” was
possible. PG & E II, 536 F.3d at 1286 (citing PG & E I, 73 Fed. Cl. at 359).

       DOE’s January 1987 Draft Mission Plan Amendment,12/ announced a five-year
delay in the opening of the repository, from 1998 to 2003. (PX 109 at 5.) “This 1987
plan informed Congress that opening a permanent geologic repository by 1998 was
no longer a realistic goal.” PG & E II, 536 F.3d at 1286. The Draft also requested
that Congress approve DOE’s MRS proposal. Id.

      Two months later, in March of 1987, DOE asked Congress for authorization
to construct an MRS in Oak Ridge, Tennessee.13/ At that time, an MRS was the only


       11/
          Under the contract, standard fuel is bare fuel assemblies that would be transferred from the
wet pool to DOE shipping containers and then canistered before emplacement in the repository or
other interim storage facility.
       12/
         This “draft” Amendment was circulated to affected states and Indian Tribes pursuant to
Section 301 of the NWPA. Following a comment period, the Amendment was submitted to
Congress.
       13/
         Section 141 of the NWPA directed the Secretary of Energy to study the need for, and
                                                                               (continued...)
                                          -15-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 16 of 150




way DOE would be able to commence performance by January 31, 1998. An
acceptance rate sufficient to keep up with the industry annual rate of SNF production
was retained. To dispel any doubt of its commitment to a repository, or inference that
it would be other than temporary, DOE proposed that an MRS not accept any SNF
until construction of the repository was authorized, and that the capacity of the MRS
be limited to 15,000 MTU. Potential volunteer sites requested that DOE include
these linkages, which were political in nature, not technical. DOE hoped these
linkages would make it easier to attract an MRS host.

       DOE’s June 1987 Mission Plan Amendment, responding to comments received
on the circulated draft, repeated the projected five-year delay in the repository (“from
1998 to 2003”) and intention to begin acceptance in 1998 at an MRS if authorized by
Congress. (PX 124 at 6.) The illustrative acceptance rate was 1200 MTU for five
years starting in 1998, then 2000 MTU in 2003, with the repository commencing in
2003. (PX 124 at 61.)

      While the Standard Contract did not specify an acceptance rate despite industry
pressure to do so, it outlined a process for setting both individual and industry
aggregate annual amounts. In June 1987, DOE issued its 1987 ACR (PX 123; DX
542) projecting acceptance of 1200 MTU in 1998, 2000 MTU in 2003 and 2650 MTU
in years 2004 to 2007. The Federal Circuit selected the 1987 ACR as the best
manifestation of the non-breach world. PG & E II, 536 F.3d at 1291-92.

        The 1987 ACR contains an industry-wide listing of SNF, arranged
chronologically starting with the oldest, coolest fuel, that which has been out of the
reactor the longest, and an annual parsing of allocations for the first ten years. The
list for 1998 (referred to as Year 1) contains the allocations of twenty-two utilities
having the oldest (and coolest) 1200 MTU, including WE’s allocation of 59.28 MTU
– 151 assemblies. For 1999 (referred to as Year 2), the next-oldest 1200 MTU are
segregated, and so on. Acceptance allocations to the utilities based on this age-
ranking for SNF is referred to as “oldest fuel first” (“OFF”).

       While the Standard Contract allocates acceptance rights by OFF, any SNF
could be selected to fulfill that allocation so long as it had been out of the reactor for
at least five years. (PX 346 at WISC 00003809 (“The contract does not imply that

       13/
           (...continued)
feasibility of, one or more MRS facility and report to Congress.
                                               -16-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 17 of 150




the [SNF] that leads to an allocation is the specific [SNF] that must be delivered.
The Purchaser can distribute the allocation among any permanently discharged fuel
that can be transported (more than five years old.)” (citing Scott Vance14/) (emphasis
in original)); PX 41 at App. E.B.3.)

        Another report required by the contract, DOE’s Annual Priority Ranking
(“APR”), also contained the industry-wide age ranking of SNF. (PX 238.) The APR
triggered the time when a utility could submit a delivery commitment schedule
(“DCS”) to DOE identifying the SNF, which again, did not have to be its oldest –
that the utility “wishe[d] to deliver to DOE beginning sixty-three (63) months
thereafter.” (PX 41 at Art. V.B.1.) DOE would approve or disapprove the DCS
within three months and give reasons for any disapproval. The utility then has 30
days to submit a revised schedule, and could increase or decrease its SNF quantities
by 20 percent. (Id. at Art. V.B. (“Purchaser shall have the right to adjust the
quantities of SNF and/or HLW plus or minus (±) twenty percent (20%), and the
delivery schedule up to two (2) months, until the submission of the final delivery
schedule.”).) Utilities could exchange approved DCSs with other utilities, subject to
DOE’s approval. (Id. at Art. V.E. (“Purchaser shall have the right to exchange
approved delivery commitment schedules with parties to other contracts with DOE
for disposal of SNF and/or HLW; provided, however, that DOE shall, in advance,
have the right to approve or disapprove, in its sole discretion, any such exchanges.”)
(emphasis in original).) DOE could grant priority to shutdown reactors and accept
emergency deliveries. (Id. at Art. VI.B.1.b (“[P]riority may be accorded any SNF
and/or HLW removed from a civilian nuclear power reactor that has reached the end
of its useful life or has been shut down permanently for whatever reason.”); Id. at Art.
V.D. (“Emergency deliveries of SNF and/or HLW may be accepted by DOE before
the date provided in the [DCS] upon prior written approval by DOE.”).)

      In the 1987 Amendments to the NWPA, Congress directed the selection of
Yucca Mountain as the site for the repository, a designation that has neither been
repealed nor amended. 42 U.S.C. § 10172(a) & (b). The 1987 Amendments also

       14/
         Scott Vance, who testified at trial, received an engineering degree from Idaho State
University in 1985 and master’s degrees in nuclear engineering and technology, and public policy
from the Massachusetts Institute of Technology in 1988. Mr. Vance worked for various OCRWM
contractors from 1988 to 2000, and assisted in the preparation of documents required by the Standard
Contract. He was employed by a DOE contractor at the Pacific Northwest Nuclear Laboratory and
worked on the development of DOE’s acceptance rate in the 1991 ACR. Mr. Vance then received
a law degree and is a nuclear licensing attorney for the Tennessee Valley Authority.
                                                 -17-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 18 of 150




authorized DOE to site, construct and operate one MRS, and established the Office
of the Nuclear Waste Negotiator to attempt to find a state or Indian tribe host. Id. §§
10162(b); 10242(a), (b)(2). But unlike DOE’s proposal to preclude any acceptance
of SNF at an MRS before construction of the repository was authorized, the linkage
was stricter in that construction of an MRS was prohibited until the NRC authorized
construction of the repository. This stricter linkage meant it would take longer for the
MRS to be available. Also, the capacity of an MRS was reduced, capped at 10,000
MTU rather than the larger 15,000s MTU DOE proposed, until the repository started
acceptance, and then no more than 15,000 MTU. “Because of these provisions, the
industry quickly realized that DOE would be unable to get an MRS facility in place
in time to meet its 1998 acceptance obligation.” PG & E II, 536 F.3d at 1287.

       DOE’s Draft 1988 Mission Plan Amendment again admitted delay until 2003.
“[U]nder current conditions, waste acceptance at a waste-management facility cannot
begin in 1998; furthermore, the delay in the repository schedule and the linkages
between that schedule and key milestones in the siting and construction of an MRS
facility make it unlikely that the DOE will be able to start accepting fuel significantly
before 2003.” (PX 150 at 18-19.) The 1988 ACR repeated this admission. (PX 149
at 4.) These reports were widely distributed and utilities, including WE, followed and
relied upon them.

        DOE did not issue an ACR in 1989 and acknowledged that because of delays,
utilities will need additional at-reactor storage. A draft admitted that the conditions
imposed by the 1987 NWPA Amendments made it unlikely DOE would accept SNF
significantly before 2003, which

      will increase the Purchasers’ need for at-reactor storage. As mandated
      by the Amendments Act, DOE is conducting an evaluation of the
      impacts of dry cask storage of SNF at reactor sites. The study is to
      consider the costs, the impacts on health, the environment and
      transportation, and the extent to which [NWF] monies can and should
      be used to support at-reactor dry cask storage. A summary of the study
      results and any subsequent actions by the Congress will be reported, as
      appropriate, [*** add Do we have anything to report yet? ***] in the
      ACR when available.

(PX 175 at 7 (bracketed material in original).)

                                          -18-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 19 of 150




       DOE subsequently announced further delay from 2003 to 2010, in its
November 1989 report to Congress. Construction authorization for the repository
was not expected until 2005-2006 at the earliest, rendering an MRS (the construction
of which was tied to construction authorization for the repository) by 1998
impossible. Even if Congress removed the linkages, an MRS could not be available
until 2002. (PX 183 at vii, ix-x.) The MRS Commission reported in November of
1989 that because of the linkages, an MRS would not be operational more than three
years before the repository – then forecasted for 2010. (PX 181 at xvi; Tr. 5275:24-
5277:5 (Kouts15/).)

      DOE’s 1990 ACR, included upper bounding16/ rates starting at 1200 MTU/year
and ramping-up to 3000 MTU/year. Lower bounding rates were 300, 400, 550 and
875 MTU/year for the first four years, and then 875 MTU/year through 2007. (PX
211 at 7.) The upper rates assumed Congress loosened the linkages. (Id. at 4.) The
lower rates assumed no amendment. (Id.) The 1990 ACR repeated the “significant
slip for the expected start of repository operations – from the year 2003 to
approximately 2010.” (Id.) Without congressional action to remove the linkages,
even assuming a host site had been found and agreements reached, DOE would not
be able to commence acceptance until 2007. (Id.)

       In September 1991, the General Accounting Office (“GAO”) reported that it
was “highly unlikely” an MRS would be available by 1998. (PX 229 at 5, 15, 32
(relaying discussions with DOE officials who were in general agreement).)

       DOE’s 1991 ACR reiterated that an MRS would not be feasible by 1998 unless
Congress removed the linkages. (PX 237 at 4 (“If the current linkages between MRS
facility construction and repository construction authorization are maintained, it is
estimated that commencement of facility operations and initial acceptance of SNF by
DOE could not start until at least 2007.”).) Nevertheless, the 1991 ACR used an
acceptance rate that assumed Congress would remove the linkages and initial
performance would be at an MRS. (PX 237 at 4 (“These acceptance rates assume

      15/
          Christopher Kouts is the Director of the Waste Management Office and the Acting
Principal Deputy Director of OCRWM. As Acting Principal Deputy, he is responsible for the
implementation and management of the overall program. As Director of the Waste Management
Office, his responsibilities include the management of the Standard Contract.
      16/
        Generally, upper and lower bounding refer to maximum and minimum respectively. S.
Nuclear Operating Co. v. United States, 77 Fed. Cl. 396, 417 n.24 (2007).
                                             -19-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 20 of 150




commencement of facility operations in 1998.”).) The rates were 400 MTU in 1998,
600 MTU in 1999, and 900 MTU in 2000 through 2007. (Id. at 5.) The 1991 ACR
rates may not have comprised a good faith projection.

      The record also suggests that DOE may have put forth the 1991
      acceptance rates as a litigation strategy, to minimize DOE’s exposure for
      its impending breach, rather than as a realistic, good faith projection for
      waste acceptance. The Court of Federal Claims judge in the companion
      Yankee Atomic Electric Co. v. United States, 73 Fed. Cl. 249 (2006)
      (Yankee I) case credited the testimony of a former DOE contractor who
      stated at trial that the 1991 ACR was intended to limit DOE’s liability
      for breach of contract. Id. at 273. For these reasons, among others, this
      court concludes that the 1991 report does not present an acceptable
      acceptance rate under the Standard Contract.

PG & E II, 536 F.3d at 1291. Scott Vance, the DOE contractor who testified in the
Yankee I trial, testified similarly at this trial. The court in Carolina Power concluded
that “DOE’s actions from 1987 and thereafter were taken with an eye toward
minimizing agency liability under the Standard Contract,” adding that “DOE’s David
Zabransky17/ conceded at trial that, faced with massive litigation, the 900 MTU rate
was an agency attempt to minimize its obligations under the Standard Contract.” 82
Fed. Cl. at 40.

       The 1992 ACR had the same acceptance rates contingent on Congressional
action, absent which performance would begin be no earlier than 2007. (PX 297 at
4.)
       By 1994, DOE knew that it was highly unlikely that Congress would remove
the linkages. Sys. Fuels, 79 Fed. Cl. at 186 (citing Sys. Fuels, Inc. v. United States,
79 Fed. Cl. 37, 44 (2007) (citing Kouts Test.)). DOE formally announced “it would
not begin SNF collection until 2010 because its planned storage repository would not
be ready until then.” Ind. Mich. II, 422 F.3d at 1372 (citing DOE, Waste Acceptance
Issues, 59 Fed. Reg. 27,007-08 (May 25, 1994)); see also S. Nuclear, 77 Fed. Cl. at
420 (“By 1994, MRS siting efforts ‘effectively ceased.’”). In Indiana Michigan, the
Federal Circuit concluded that by 1994, there was no doubt DOE had partially
breached the Standard Contract when “the government unequivocally announced in

      17/
          David Zabransky, former WE employee, was DOE’s Standard Contract contracting
officer’s technical representative from 1995 to 2002, then contracting officer.
                                                -20-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 21 of 150




1994 that it would not meet its contractual obligations beginning in 1998.” Utilities
then “had no choice but to hold the government to the terms of the Standard Contract
while suing for partial breach” and take “mitigatory steps.” 422 F.3d at 1374-75. As
discussed hereinafter, that was the latest date, not the earliest. Utilities could
establish earlier awareness and recover for consequent mitigating activities and
attendant costs. Yankee II, 536 F.3d at 1275-76.

      DOE’s 1994 APR/ACR issued in March 1995, designated acceptance as Year
1, Year 2, and so on, and used the 1991 ACR rates. (DX 584 at 4 (“The projected
nominal acceptance rates . . . reflect the capacity limit imposed by the Act on . . . a[n
MRS] facility prior to repository operations.”).) This was the last ACR until 2004,
nine years later.18/

       In 1995, President Clinton announced that he would veto proposed legislation
removing the linkages between a repository and an MRS. Carolina Power I, 82 Fed.
Cl. at 33 (citing Sys. Fuels, 79 Fed. Cl. at 47).

        In its “Final Interpretation of Nuclear Waste Acceptance Issues,” DOE declared
that it did “not have an unconditional statutory or contractual obligation to accept
[HLW] and [SNF] beginning January 31, 1998, in the absence of a repository or
interim storage facility constructed under the [NWPA].” 60 Fed. Reg. 21793-02,
21793-94 (May 3, 1995); Me. Yankee v. United States, 225 F.3d 1336, 1338 (Fed.
Cir. 2000). Several utilities filed a petition for review of that Interpretation. Ind.
Mich. Power Co. v. DOE, 88 F.3d 1272 (D.C. Cir. 1996). The D.C. Circuit vacated
DOE’s interpretation, holding that under the NWPA, DOE’s obligation to commence
performance no later than January 31, 1998 was unconditional, not dependent on a
repository or other disposal facility, subject only to the utilities’ payment of fees. Id.
at 1276.

        Despite the D.C. Circuit’s ruling, DOE subsequently advised utilities that
because there was no repository or interim facility, its delay was “unavoidable,” and
therefore, the government was not liable for damages. On January 31, 1997, several
utilities and public service commissions sought a writ of mandamus to compel DOE’s
performance. N. States Power Co. v. DOE, 128 F.3d 754 (D.C. Cir. 1997). Holding
that the utilities had a potentially adequate contract remedy, the D.C. Circuit declined

       18/
         The 2004 APR/ACR projected acceptance started in 2010 at 400 MTU, increased to 600,
1200, 2000 and then 3000 MTU starting in 2014. (PX 665 at 2.)
                                            -21-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 22 of 150




to order performance, but issued a writ of mandamus precluding DOE from asserting
its delay was unavoidable because of a lack of a repository or interim storage
authority.

      [W]e preclude DOE from concluding that its delay is unavoidable on the
      ground that it has not yet prepared a permanent repository or that it has
      no authority to provide storage in the interim.
             This necessarily means, of course, that DOE not implement any
      interpretation of the Standard Contract that excuses its failure to perform
      on the grounds of ‘acts of Government in either its sovereign or
      contractual capacity.’

128 F.3d at 760 (citation omitted). See also Wisc. Elec. Power Co. v. DOE, 211 F.3d
646, 648 (D.C. Cir. 2000) (deferring to the United States Court of Federal Claims for
any contract remedies).

       The Court of Federal Claims, in Nebraska Public Power District v. United
States, held that the Northern States writ of mandamus is void ab initio because the
D.C. Circuit “operated in excess of its jurisdiction and, specifically, without an
appropriate waiver of sovereign immunity.” 73 Fed. Cl. 650, 673 (2006), appeal
pending, No. 2007-5083 (Fed. Cir. docketed March 15, 2007). The appeal was
submitted for consideration by a panel of the Federal Circuit on December 3, 2007,
and by order dated June 4, 2009, the Federal Circuit, by its own action, announced
its intention to consider the appeal en banc. Oral argument en banc was held on
September 18, 2009, and a decision is pending as of the instant Opinion.

       While recent government actions may question Yucca Mountain as the means
and method of performance, utilities are precluded from declaring a repudiation or
total breach. “As this court has already acknowledged, the NWPA and the terms of
the Standard Contract foreclose any claim for total breach.” Yankee II, 536 F.3d at
1280 (citing Ind. Mich. II, 422 F.3d at 1374).

      The NWPA itself, and the Standard Contract’s terms drafted pursuant to
      it, compelled Indiana Michigan to bring an action for partial, not total,
      breach. Had Indiana Michigan brought an action for total breach, DOE
      would have been discharged from further responsibility under the
      contract, a situation apparently not desired by appellant and foreclosed
      by statute. The NWPA directed that DOE and all nuclear utilities enter
                                         -22-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 23 of 150




       into Standard Contracts, 42 U.S.C. § 10222(a)(1), and concomitantly
       conditioned the issuance and renewal of [NRC] operating licenses upon
       the execution of those contracts, id. § 10222(b)(1)(A). Additionally, the
       NWPA provided that DOE was exclusively responsible for SNF
       collection and disposal in the United States, thereby prohibiting Indiana
       Michigan or any other nuclear utility from seeking alternative disposal
       means. See 42 U.S.C. § 10131(a)(4), (b)(2); Roedler, 255 F.3d at 1350.
       Therefore, Indiana Michigan had no choice but to hold the government
       to the terms of the Standard Contract while suing for partial breach.

Ind. Mich., 422 F.3d at 1374.

       Causation

      DOE’s failure to perform its contractual obligations was the “but for” and
substantial causal factor in WE’s dry storage decisions and expenditures in the breach
world. In the non-breach world, if DOE had performed at the rates in the 1987 ACR,
WE would not have built dry storage.

      In 1983 and at least for a time thereafter, WE relied on DOE’s timely
performance. Both Mr. Sol Burstein19/ and Mr. Howard Shimon,20/ in industry groups


       19/
          The late Sol Burstein, who passed away in 2002, joined WE in 1965 when Point Beach was
in the planning stages. He was a Senior Vice President and headed nuclear operations for 23 years.
In 1973, he became Executive Vice Chairman of WE and continued in that role until he retired in
the late 1980s. Mr. Burstein held a patent for a boiling water reactor super heat cycle and was a
fellow with the American Society of Mechanical Engineers. Mr. Burstein was WE’s primary
decision-maker regarding nuclear issues. He was one of the early champions of commercial nuclear
power and was very well known and respected nationally. He was frequently called upon to speak
on behalf of the nuclear industry. Mr. Burstein was a member of the Utility Nuclear Waste
Management Group (“UNWMG”) Steering Committee and DOE appointed him to a technical
review committee to develop criteria for an MRS.
       20/
         Howard Shimon has a B.S. in industrial engineering and an M.B.A. from Cornell
University. He joined WE in September 1971 where he remained until February 1995. He was
responsible for spent fuel storage at WE from 1976 to 1990, and was the Manager of Nuclear Fuels
and Administrative Services from approximately 1985 until 1990, where he was responsible for
departmental budgets and administrative services, including issues related to the Standard Contract.
Mr. Shimon testified regarding WE’s two rerackings; his involvement and leadership in nuclear
                                                                                       (continued...)
                                               -23-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 24 of 150




and communications with DOE, emphasized the importance of (1) the January 31,
1998 contract start deadline; (2) OFF; and (3) an acceptance or performance rate that
would preclude the need for additional at-reactor storage or at least keep up with the
industry annual discharge of around 2000 MTU.21/ While these statements are
unilateral, they provide background and are probative on causation in the breach
world. At the Atomic Industrial Forum in March of 1985, Mr. Burstein expressed the
nuclear industry’s hopes that DOE would accept at least 2000 MTU annually, the
industry discharge rate: “[The industry’s] desire is to have the receiving rate in 1998
at a level at least equivalent to the discharge rate. This receiving rate must be
increased to allow all backlog material to be delivered within the first twenty years
of the program.” (PX 81 at 7-8.) WE’s storage planning was based on DOE’s
performance and Mr. Burstein was apprehensive. “We are not totally satisfied with
[DOE’s] efficiency to date, nor with the fact that scheduled dates are being missed.
Our on-site storage programs are based on the contractual promise we have with
DOE that they will start taking spent fuel no later than 1998. That date must be
held firm and inviolate.” (Id. at 8 (emphasis supplied).)

       On March 19, 1987, Mr. Burstein submitted a statement on behalf of Edison
Electric Institute (“EEI”), the American Nuclear Energy Council, the Utility Nuclear
Waste Management Group, the Electric Utility Companies’ Nuclear Transportation
Group and the Atomic Industrial Forum, to the Subcommittee on Energy Research
and Development Committee on Science, Space and Technology of the United States
House of Representatives. Noting that WE had at that time paid $85 million dollars
in fees under the Standard Contract, he reported that “[t]he industry is extremely
concerned over the current state of affairs surrounding the NWPA implementation.
After electric utilities with nuclear energy programs have collected from electricity


       20/
          (...continued)
industry groups, particularly regarding enactment of the NWPA and promulgation and
implementation of the Standard Contract; WE’s SNF management considerations and decisions in
the late 1980s; and the composition of WE’s Nuclear Power Department from the late 1970s until
the early 1990s.
       21/
          As the court in Carolina Power I observed in discussing DOE’s rate of performance at the
level the government touted, “the Court cannot accept that Plaintiffs would have agreed to pay the
same staggering fees under the Standard Contract in exchange for 70 percent less performance from
DOE (acceptance of 900 MTUs per year, instead of 3,000 MTUs per year). At an acceptance rate
of 900 MTUs per year, DOE would never achieve the goals of the NWPA, because the acceptance
rate would be less than one-half of the waste generated in any year.” 82 Fed. Cl. at 40.
                                               -24-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 25 of 150




consumers and paid $2.7 billion into the [NWF], DOE is facing unprecedented
opposition to the continuation of NWPA implementation.” (PX 116 at 2-3 (emphasis
added).)

       In Congressional testimony in March 1987, Mr. Burstein again expressed his
concern over DOE’s lack of progress. (PX 132 at 1 (Representative Udall
characterized DOE’s implementation of the NWPA as in “shambles”).) Testifying
on behalf of EEI, a trade association of nuclear utilities including WE,22/ he urged
Congress not to link an MRS to authorization of the repository construction as was
being proposed at the time. “Doing so would make the start-up of the MRS less
certain, because it would await not only its own licensing, but also that of the first
repository” (PX 134 at 3) and would “raise a significant question whether DOE will
be able to meet its statutory and contractual commitment to begin to accept spent fuel
in January 1998.” PG & E II, 536 F.3d at 1287.

       Beginning in 1988, WE started exploring long-term storage options23/ including
building another spent fuel pool and consolidating spent fuel rods. In 1988, WE,
Sierra Nuclear (a cask manufacturer) and Electric Power Research Institute (“EPRI”)
participated in a DOE demonstration project for a new ventilated storage cask
(“VSC”) that held 17 assemblies – the VSC-17.24/ WE’s budget for this project was
$50,000 in 1988 and $150,000 in 1989; EPRI contributed $200,000; Sierra Nuclear,
$400,000 and DOE, $400,000 (out of the NWF). In WE’s May 6, 1988 internal


       22/
            “In March of 1983, the member utilities of EEI provided approximately 78% of the
nation’s electricity and served over 67 million customers.” PG & E I, 73 Fed. Cl. at 345. n.14
(citations to record omitted).
       23/
         Characterizing WE’s storage needs as “long-term” is relative in that DOE’s delays were
then-contemplated to be measured in years. DOE’s contractual and statutory “long-term” disposal
obligation, on the other hand, is measured in millennia.
       24/
         Th e VSC cask included a welded steel basket designed to hold fuel assemblies in storage
sleeves. The basket is placed in a steel-lined concrete cask; the concrete cask is ventilated, allowing
for air flow through four bottom vents and through the gap between the basket and the concrete cask
liner, and out through four vents in the top of the cask. The flowing air removes heat from the SNF’s
radioactive decay. The inner steel basket has one inch thick walls coated to reduce corrosion and
allow for easy removal of contamination. The inner steel basket has a multilayer shield and a
structural lid, both welded to the top of the basket. A thick cover plate is on the top of the cask. The
reinforced concrete walls of the cask are 29 inches thick. The casks are 17.5 feet tall and 11 feet in
diameter. Each weighs 132 tons when loaded. (PX 346 at 3551-53.)
                                                   -25-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 26 of 150




memorandum authorizing participation in this project, annual savings were estimated
at two million dollars compared to the cost of existing metal storage casks. DOE’s
then-current plan, described as “optimistic and risky”( PX 145 at WISC00061023),
was for limited operation at a repository in 2003. Storage at least through 2003 was
accordingly anticipated, and “[t]hrough 2003, it will be necessary to provide for the
storage of 504 fuel assemblies that cannot currently be accommodated in the spent
fuel pool.” (Id.) The cask demonstration project was successful and the VSC-17 was
the precursor to the VSC-24 later used at Point Beach. (Tr. 1333:18-1334:4 (Shimon)
(explaining that the project successfully established the reliability of the codes that
would permit the VSC cask to be licensed for commercial use).)

       By letter, dated August 26, 1988 WE submitted comments on DOE’s 1988
Draft Mission Plan Amendment statement that performance was not going to start in
1998 and probably would not commence until 2003 with an MRS. WE’s comments
insisted it was imperative that DOE commence acceptance by January 31, 1998, and
reminded DOE of its contractual commitments for which at that time WE had paid
over $93 million. (PX 156 (signed by C.W. Fay, Vice President, Nuclear Power).)

      In its 1988 Form 10-K, WE disclosed it was exploring storage alternatives
because of DOE’s delay.

      [I]n June 1988 the DOE reported that it would not be able to accept
      utility spent fuel for disposal before 2003. [WE] is reviewing the
      options, including advanced technologies for on-site storage and the
      availability of away-from-reactor storage, for the storage of spent fuel
      generated at Point Beach after 1995 until the DOE accepts deliveries of
      spent fuel for disposal.

(PX 801,Tab 18 at 10.)

       In May of 1989, WE commenced its dry storage project with its internal
$53,362,878 work order requisition which stated that “we are not certain when the
[disposal] service [by DOE] will be provided. DOE has announced a schedule that
calls for the operation of a repository in 2003.” The preferred plan was for a dry
storage facility with a capacity to hold about 45 casks, sufficient to store all WE’s
SNF until the end of its then-current operating license. (PX 170, 171 at 1.)
Cost/benefits analyses of various options were summarized. An advantage of an
ISFSI was its modular nature compared to the higher cost and inflexibility of building
                                         -26-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 27 of 150




an additional spent fuel pool.25/ Assuming DOE was not going to start performance
until 2003, it was estimated that approximately 20 VSC-24 casks would be needed,
to hold a total of 480 assemblies. (PX 171 at 9.)

       In July of 1989, Mr. Shimon spoke publically and critically about DOE’s delay.

     The latest schedule we have seen for OCRWM’s transportation activities
     shows the first shipment of spent fuel to a repository or to monitored
     retrievable storage beginning in 2003. It is generally considered
     optimistic to assume that a repository will begin operation by that date.
     With regard to monitored retrievable storage, there is the possibility that
     a federal facility could be operational earlier than 2003 if a host state
     were supportive of the project and shipments were not constrained by
     current linkages to the repository schedule. However, many issues must
     be resolved before a firm planning base for an MRS facility can be
     established.
(PX 178 at 2-3.)

      In its 1989 Form 10-K, WE again disclosed that dry storage was being
considered because of DOE’s delay at that time until 2010. (PX 801 at
KRGWE000192-93.) WE’s 1990 Form 10-K included DOE’s November 1989
admission that acceptance at a repository would be delayed until 2010, and WE’s
storage options. (PX 801 at KRGWE000202.)

      At two industry meetings in November of 1990, Mr. Shimon stated that WE
and other utilities were building dry storage because of DOE’s delays. (PX 208 at 6;
PX 209; Tr. 1321:25-1323:7; 1323:25-1325:10 (Shimon).)

       PSC proceedings

      WE sought PSC approval for a dry storage facility. Significant effort at trial
was expended by both parties on WE’s statements to the PSC that additional storage
was needed by 1994 or 1995. The government argues these statements are proof that
DOE’s delays were not the reason WE built dry storage and that if DOE had timely
commenced performance WE would still have built dry storage. Statements cited by

       25/
         Dry storage is passive with higher initial costs but lower operating and maintenance
expenses compared to wet pools. Accordingly, economics favor dry storage long-term.
                                             -27-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 28 of 150




the government include those of WE Vice President Robert Link.26/ Mr. Link was
mindful of the public antagonism faced by Northern States Power in connection with
its dry storage project in neighboring Minnesota. “Northern States ran into very
contentious issues before their own Public Service Commission and had significant
intervention in their case as well.” (Tr. 369:8-11 (Link).) The opinion in Northern
States Power Co. v. United States, 78 Fed. Cl. 449, 453 (2007), notes that following
“long and difficult” administrative proceedings that took almost two years, the
Minnesota Public Service Commission granted permission to load no more than 17
casks – enough to sustain operations through 2001, the year DOE was then projecting
commencement of performance. Litigation ensued resulting in a ruling invalidating
the Commission’s Order. In re Application of Indep. Spent Fuel Storage Installation,
501 N.W.2d 638, 648 (Minn. Ct. App. 1993). Action by the Minnesota legislature
a year later allowed a 17-cask facility, but only under significant and expensive
conditions. 78 Fed. Cl. at 453-54. Wisconsin had a moratorium on any new nuclear
power plants and serious opposition to dry storage was anticipated. (Tr. 332:2-5
(Link).) WE made conservative assumptions in its PSC application in part, because
of expected scrutiny. Witnesses also testified that a heightened sense of urgency –
almost a worst case scenario – was necessary because of long lead times and
unknowns. WE wanted a timely ruling on the application – not a deferral until WE’s
needs were more desperate – or DOE’s delays more apparent.

       Similarly, WE’s characterization to the PSC concerning when its wet pool
would be “full” depends on the definition of that term. Assumption of either a one
or a two FCR (121 and 242 spaces respectively) alters predictions about when the
pool would be “full.” In this context, the record evidence shows that WE’s
predictions of a “full” pool did not mean each rack space in the pool was filled, but
“full” included a reserve of 121 or 242 spaces for unloading one or both cores. Also,
some rack spaces may have been empty, but were damaged or had some protrusion


       26/
         Robert Link was the Vice President of WE’s Nuclear Department from May 1992 to late
1996. Mr. Link has a B.S. in nuclear engineering from Kansas State University. He completed
continuing education courses in finance and business from the University of Wisconsin and strategic
marketing courses at Harvard University. Except for a brief period, Mr. Link worked at WE from
the time he graduated from Kansas State University until late 1996. While at WE, Mr. Link
supervised the engineering, quality and regulatory affairs relative to Point Beach for about five years.
He then was appointed assistant manager in systems planning which was responsible for analyzing
future generation, transmission and distribution facilities and developing long-range plans required
by the PSC.
                                                -28-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 29 of 150




that prevented their use. Additional spaces were filled with material other than SNF
that could have been removed and stored elsewhere, thus making the spaces available.

       The evidence demonstrates that while FCR was desirable and used by WE in
its conservative advocacy before the PSC, it was not an absolute requirement either
historically or operationally. Mr. Gary Krieser,27/ former WE Manager of Industry and
Regulatory Services, testified:

       Q. If Point Beach had operated until 1998 without dry storage, would
       Point Beach have had [FCR] in the permanent storage areas of the pool
       throughout that time?
       A. There would have been times, certainly, as we approach 1998, where
       we would not have had FCR, but, again, like I say, it was a goal, and I
       think, overall, we would have been comfortable with that condition.

(Tr. 1532:3-11 (Krieser).) Regulators did not require FCR as noted in Yankee II, 536
F.3d at 1275: “[i]n addition to reserving space to accommodate SNF in pools,
utilities ideally maintain sufficient pool capacity to permit discharge of all fuel
assemblies from the reactor core into the pool to accommodate maintenance and
repair operations. Though the [NRC] does not require utilities to maintain such a
‘full core reserve,’ it encourages them to do so.”

       Planning for storage needed because of DOE’s delays was at that time fraught
with unknowns. Dry storage was relatively new. Only a few nuclear power plants
initiated dry storage prior to 1998.28/ Sys. Fuels, 79 Fed. Cl. at 49. The length of time
needed for regulatory approvals, construction and acquisition of necessary casks and
ancillary equipment, simply could only be estimated. This was a complex


       27/
          Mr. Krieser received a B.S. in nuclear engineering from the University of Wisconsin at
Madison in 1972. Mr. Krieser began working at WE in the summer of 1977. He was the Manager
of Industry and Regulatory Services from 1992 until late 1996, reporting directly to Mr. Link. Mr.
Krieser also was the Director of Nuclear Fuel Services for NMC from 2000 until July 2002, at which
time he joined Wisconsin Electric Power as Manager of Project Quality Assurance.
       28/
         This is not to say that dry storage was not foreseeable and the government does not argue
to the contrary. As early as April of 1978, DOE wrote that dry storage was among the options
addressed in an upcoming generic environmental impact statement. (PX 6 at WISC 00128762
(memorandum to all nuclear power reactor licensees).) Indeed, the foreseeability of dry storage is
recognized in the Yankee trio, each of which involved the construction of dry storage.
                                                 -29-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 30 of 150




engineering project with many variables. The massive structures involved were not
off-the-shelf commodities. (Tr. 2735:23-2736:10 (Anundson29/) (“[I]t turned out to
be quite complex with all the different areas that were required. . . . There was no
‘Dry Storage for Dummies’ books. It was starting from scratch.”).) WE could not
wait until storage was needed and look to the market to immediately supply needs.
Just-in-time inventory was neither realistic nor reasonable.

       In pre-application meetings with the PSC, WE proposed an ISFSI with 48
casks, sufficient to store all WE’s SNF through the end of its then-current operating
license. WE reduced that number to 12 at the Commission’s urging, in the hopes of
facilitating approval. The proposed ISFSI pad, however, retained a 48 cask capacity.

      On November 15, 1991, WE filed its application with the PSC for approval to
construct dry storage and purchase 12 VSC-24 casks and related equipment for
$12,865,000. (PX 236.) In a five-page cover letter, Mr. David Porter,30/ Senior Vice
President, summarized WE’s consideration of alternatives. He wrote that the
requested additional storage was needed by 1995 in order to maintain FCR, and that
DOE’s performance was delayed until 2010.

       Additional spent fuel storage capacity will be required at Point Beach in
       1995 to allow for the continued operation of the plant while maintaining
       the capability to discharge one full-core of fuel assemblies to the spent
       fuel pool should the need arise.

       [WE] has a contract with [DOE] for the removal and disposal of all
       spent fuel generated at Point Beach. The contract requires the DOE to
       begin acceptance of spent fuel in 1998. Currently, there is no federal
       facility for storing or disposing of the spent fuel. While the DOE is
       searching for a volunteer state to host an interim storage facility, it does

       29/
          Kevin Anundson has a B.S. in mechanical engineering from the University of Wisconsin.
He testified regarding his role as the project manager for WE’s dry storage project. Mr. Anundson
joined WE in January 1987 and the Nuclear Power Department in 1991. He left WE and the utility
industry in 1997.
       30/
          David Porter, after serving in the Navy nuclear program, joined WE’s nuclear projects
office in 1969. He worked at WE until he retired in 2002. Mr. Porter served as an inside director
of WE from 1989 to 2000, and was Senior Vice President when he signed WE’s PSC dry storage
application.
                                               -30-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 31 of 150




      not expect that a disposal facility will be operational before the year
      2010.

      The [ISFSI] will provide for additional interim storage through at least
      1998, and could be expanded as required to provide additional storage
      capacity until the DOE begins removal of spent fuel from the Point
      Beach site.

(PX 236 at 1.)

      The dry storage facility proposed consisted of two concrete pads, each 50' wide
by 250' long, 3' thick, surrounded by an 8' security fence and located about one-half
mile from the plant. The project also included a shielded transfer cask and
transporter. Some relatively minor modifications to the plant would also be
necessary. (Id. at WISC 00014728, 14739.) WE proposed to load two casks in June
of 1995, 1996 and 1997, and one cask in 1998.

      As noted, although requesting only 12 casks, WE designed the ISFSI pad to be
large enough to handle 48 casks, enough to store SNF through the end of Point
Beach’s then-licensed life. “[WE] believes that it is necessary to plan for the
possibility that the DOE may not meet its schedule . . . . Due to the uncertainties of
the development and operation of the federal Waste Management System, [WE]
believes that construction of an ISFSI provides appropriate assurance that [SNF] can
be stored safely with minimal cost. Additional spent fuel storage capacity can be
added if and when needed to ensure continued plant operation.” (PX 236 at 4.)

       Robert Link was promoted to Vice President of WE’s Nuclear Department in
1992 and re-evaluated the dry storage application at that time. From his extensive
experience in plant operation and regulatory matters, particularly with the PSC, he
viewed the then-pending PSC application as “critical” and a“life-and-death” project
for WE. He knew Wisconsin had a nuclear moratorium; the PSC staff was not then
particularly pro-nuclear; and he expected a number of groups would intervene to try
to stop either the dry storage project or the replacement of the steam generator in Unit
2 (discussed later herein), either of which would effectively shut down Point Beach.
He asked for staff evaluations to assure himself that these projects remained
appropriate. He had overseen the replacement of the steam generator in Unit 1 and
was cognizant of requirements there. He wanted to become familiar with long-term
storage solutions, so different strategies were evaluated in light of then-expectations
                                          -31-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 32 of 150




concerning DOE’s delays. Even if and when the PSC approved the project, WE was
not obligated to proceed. (Tr. 351:24-25; 352;1-6 (Link).) Mr. Link testified that
other fuel management options were considered, including building another wet pool;
expanding the existing pool; reracking to allow for a greater density or array of fuel;
extending fuel cycles; fuel consolidation – taking the rods out of and collapsing the
fuel assembly so that it takes up less space; changing the reactor core design; and
using a temporary rack in the cask pit area. (Tr. 515:14- 519:6 (Link).) His
conclusion was that WE’s pending PSC application should be implemented if
approved. (Tr. 335:4-13 (Link) (“We evaluated different strategies, different
opportunities in that regard, as well as what the status of DOE was in terms of
meeting its obligation in 1998, and through those assessments and evaluations, I was
satisfied that the already filed, actually, application for dry fuel storage that [WE] had
filed, actually previous to my tenure as vice president, was the appropriate strategy
to go forward with.”);Tr. 570:18-571:5; 579:23-580:3 (Zabransky) and 323:20-324:7
(Link) (Sol Bernstein, vice president of nuclear, and later Robert Link, also vice
president of nuclear, had the authority to bind WE).)

      The court credits trial testimony, including that of Mssrs. Link and Krieser,
which together with the preponderance of the evidence, supports the conclusion that
DOE’s delays were the substantial causal factor for dry storage and that “but-for”
DOE’s delays, WE would not have pursued it. Mr. Link testified:

      Q. Given the results of the briefings that you received and the fact that
      [WE] could operate until 1998, as you indicated, why did you decide to
      proceed with the dry storage application?
      A. It was clear in my mind that DOE was not going to be picking up fuel
      as required in 1998. As I mentioned before, to assure the continued
      viability of Point Beach as an asset to serve its customers and its
      stockholders, it was necessary to implement a strategy that was safe and
      efficient and had characteristics that would be compatible with being
      integrated to DOE’s responsibility to take the spent nuclear fuel. Dry
      fuel storage had the attribute of modularization, and that is, as I
      mentioned before, you could build and grow it as necessary, but that
      means you wouldn’t have to overextend your commitment in terms of
      storage capability.
       Q. And why was it clear to you that DOE was not going to be picking
      up fuel as required in 1998?
      A. I’m sorry. Could you repeat that?
                                           -32-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 33 of 150




       Q. Why was it clear to you that, I believe you said it was clear to you
       that – I’m sorry, the Department of Energy would not be picking up in
       1998, and I’m asking you the basis for that statement.
       A. Well, my own personal knowledge, as I’ve stated before, in terms of
       interactions with [Nuclear Energy Institute], my colleagues of the
       industry, our own assessments, but DOE itself, in their proclamations,
       said they were not going to be ready until, at the earliest, 2003, and then
       later, later dates were pronounced. The Public Service Commission staff
       assessed that they would not be performing as well as the intervenors,
       essentially assessed that they would not be performed.

(Tr. 352:7-25; 353:1-22 (Link).)

     That these assessments were made in the breach world was confirmed by Mr.
Gary Krieser.31/

       So [WE] had already made a decision at that point, prior to Bob [Link]
       becoming vice president, to proceed with an application for the [PSC],
       for a dry storage facility at Point Beach, so when Bob came in, we were
       already on that path. When Mr. Link came into that position, we were
       already heading down that path. Bob was a pretty pragmatic person, I
       think, in many respects, so he wanted very clearly to understand what
       the situation was at Point Beach, as far as the spent fuel situation and the
       spent fuel pool and things of that nature. He wanted to, you know, to
       make sure that he clearly understood what the situation was and what
       the conditions were that we were dealing with. He also was very
       familiar with the [PSC] process for obtaining approval for projects, and
       he knew that the process was going to be a very contentious one. There
       was certainly going to be opposition, and it was going to be just a huge
       effort that we would have to put forth to gain approval for that project.
       So he wanted to, you know, make sure that in fact that was the right path


       31/
         Mr. Krieser received a B.S. in nuclear engineering from the University of Wisconsin at
Madison in 1972. He began working at WE in 1977. Mr. Krieser was the Manager of Industry and
Regulatory Services from 1992 until late 1996 and reported directly to Mr. Link. He was the
Director of Nuclear Fuel Services for NMC from 2000 until July 2002, at which time he joined
Wisconsin Electric Power as Manager of Project Quality Assurance. Mr. Krieser testified regarding
WE’s spent fuel management activities from 1992 through 2000.
                                              -33-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 34 of 150




      to be on. So he requested people, myself and people that reported to me,
      to conduct an evaluation of all the circumstances, number one, to
      evaluate whether or not dry storage was the right path to be on. We also
      looked at various other options and alternatives, such as extended fuel
      cycles, what would be the benefit of that, changing some of our core
      designs, taking into effect higher enrichments, higher burn-ups of fuel,
      that type of thing, looking at the fuel pool to determine if we had
      actually maximized the capacity of the pool, were there spaces that
      could be recovered for fuel purposes. And we looked at other things
      too, like the use of temporary racks in various parts of the pool, and the
      cask laydown area was one area, the fuel transfer canal, there were areas
      within the pool that we felt could be used for fuel storage, at least in a
      temporary basis, if we needed it.
      Q. And what were the results of these evaluations that Mr. Link
      requested your group to perform?
      A. I would say, in a nutshell, the conclusion was – and, of course, again,
      this was based on the fact that DOE was not going to be there in 1998.
      We needed to address the situation in a long-term fashion, so we needed
      a long-term solution, we essentially confirmed that that was certainly the
      case, and we also concluded that dry storage was really the best option
      to solving that particular problem.
      Q. And why would you believe that dry storage was the best option for
      solving that particular problem?
      A. Well, again, we needed a long-term solution. We were going to need
      considerable amount of additional storage space. Dry storage, at least
      the system that we were pursuing, was essentially a modular system.
      We could add it incrementally, cask-by-cask. The costs were
      reasonable, and it did offer the opportunity for substantial amount of
      additional storage.
      Q. And I believe you mentioned that it was the opinion of folks at [WE]
      and possibly most, if not all, of the industry that DOE would not be
      performing in 1998, do you remember that discussion?
      A. Yes, I do.

(Tr. 1521: 24-1524:25 (Krieser).)

      Mr. Link was specific in his testimony before the PSC that Point Beach could
operate until 1998 and a “full” pool by 1995 included a reserve of 121 spaces for
                                         -34-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 35 of 150




FCR. “[T]he pool will be full and the plant would have to be shut down in 1998
without additional storage capacity . . . . In order to maintain [FCR] in the spent fuel
pool, additional capacity must be made available in 1995.” (PX 907 at 425-26.) In
pre-filed testimony for an October 11, 1994 PSC hearing, Mr. Link testified that Point
Beach could make it to 1998. “Given the number of assemblies currently in the pool
and the current rate of additional spent fuel generation, the pool will be full and the
plant would have to be shut down in 1998 without additional storage capacity.” (PX
355 at 6.) That DOE had a contractual as well as a statutory obligation to take the
SNF did not mean that WE expected DOE to begin performance in January of 1998.
It bears repetition that this October 1994 testimony was five months after DOE’s May
1994 Federal Register announcement that it would not begin performance by 1998,
and did not have a legal obligation to do so in the absence of a repository.

       The court also credits testimony of other witnesses generally in accord. David
Zabransky, DOE’s contracting officer and government witness, admitted that WE
represented to the PSC that Point Beach could operate until 1998 without dry storage
albeit without room to unload the reactors. (Tr. 1164:16-1165:14 (Zabransky).)
Others testified similarly. (Tr. 1530:19-1531:3 (Krieser) (“Q: Wasn’t it your
understanding at this time that, if DOE had performed under the [S]tandard
[C]ontract, that [WE] would not have built dry storage? A: There’s no question in my
mind that that’s what we believed, and that was certainly my understanding, yes. Q:
And does that remain your understanding today? A: Yes, it does.”); Tr.
2813:25-2814:18 (Conry)32/ (It was the general understanding of the nuclear power
department that Point Beach could operate until 1998 without dry storage.); Tr.




       32/
         Marlin Conry was employed at WE from November 1983 through January 2000 as a
chemical engineer and later as Supervisor of the Chemical Engineering and Mechanical Engineering
groups. Mr. Conry spent more than 16 years in the nuclear power department at WE and was the
project manager for the Unit 2 steam generator replacement project. Mr. Conry has a B.S. in
chemical engineering from the University of Missouri and is a member of the American Institute of
Chemical Engineers and the American Society of Mechanical Engineers.
                                                 -35-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 36 of 150




2552:3-2553:6 (Farron)33/ (Point Beach could have operated until 1999 without dry
storage).)

       The PSC required an environmental impact statement (“EIS”), and issued a
draft EIS in February of 1994, soliciting public comments. Alternatives to dry
storage, including operating only during peak demand, were considered to extend the
time before the pool would be full. While staying within NRC limits, the draft report
stated that with a seven percent increase in “burnup” of fuel in the reactor core
starting in 1995, Unit 1 could operate until 1998 and Unit 2 until 1999. (PX 326 at
WISC00003940.) Replacement power, while technically feasible, would be more
expensive than the proposed dry storage, and take up to eight or more years to
implement. (Id.) The draft EIS concluded: “Point Beach would be shut down in
1999 if DOE does not begin taking spent fuel. If DOE begins taking spent fuel under
present policies in 1998, Point Beach may be able to continue to operate.” (PX 326
at WISC 0003939.) The ESR pointed out that WE could delay the need for the dry
storage proposed based on a combination of alternative, but that “the uncertainties of
federal acceptance plans limit the meaningful assessment” of alternatives; therefore
WE “has not attempted to evaluate these potential alternative combinations.” (PX
236 at 59.)




       33/
          Paul Farron received a B.S. in nuclear engineering from the University of Wisconsin in
1974 and at the time of trial was working toward a master’s degree in mechanical engineering at that
institution. From 1976 to 1982, Mr. Farron worked at Commonwealth Edison as a nuclear engineer
and became a licensed Senior Reactor Operator. From 1982 to 1984, he was employed in the NRC
Office of Inspection and Enforcement and was responsible for communicating with power plants in
response to events and managing escalated enforcement actions for proper operation of nuclear
plants. Mr. Farron also worked as a consultant with Nuclear Energy Consultants, performing
consulting services on a number of projects for nuclear utilities, DOE, and the NRC.
         Mr. Farron has been employed at WE since June 1995. He joined WE as the Manager of the
Strategic Issues group, a position he held until 2000. He was responsible for resolving issues that
could impact Point Beach’s continued viability including spent fuel storage issues and WE’s dry
storage project. He was heavily engaged in the Nuclear Energy Institute (“NEI”), Electric Power
Research Institute (“EPRI”), and the Institute for Nuclear Power Operations (“INPO”). Mr. Farron
served as the principal liaison with DOE regarding Standard Contract issues from 1995 until 2000.
In 2000, Mr. Farron became WE’s Manager of State and Regulatory Affairs, a position he held at
the time of trial. He is responsible for seeking PSC approval of major projects, engaging in state
regulatory compliance issues before the PSC. He has been involved in more than 100 PSC
proceedings.
                                                 -36-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 37 of 150




      Nuclear generation supplied approximately 25 percent of WE’s electricity.
(DX 3 at 6; Tr. 108:2-21 (Baumann).)34/ This generation was emission-free and
comprised WE’s most cost-efficient power source. The PSC staff estimated that if
Point Beach was shut down in 1998, it would cost approximately $300 million ($25
million annually) in additional costs to the ratepayers for replacement energy. (PX
326 at WISC 00003885.) If Point Beach was converted to a coal-fired plant, sulfur-
dioxide, nitrogen oxides, particulates, ash and carbon dioxide emissions would
increase dramatically. (PX 326 at WISC 00003950-54.)

       The PSC’s final EIS published in August of 1994 was consistent with the draft.
(PX 346 at WISC 00003553, 3588, 3634, 3650, 3661-65.) Shut-down of Unit 1 was
predicted for spring of 1998 – Unit 2 in the fall of 1998. The EIS assumed no timely
DOE performance at any removal rate.35/ These estimates are consistent with Mr.
Hennessy’s calculations discussed subsequently, and as prepared by the PSC, they
independently corroborate WE’s position that Point Beach could operate to 1998 with
its existing spent fuel pool.

      Some three years after WE’s application was submitted, the PSC issued an
Order in February 1995, authorizing the ISFSI construction and the purchase and
loading of 12 VSC-24 casks. Confirming Mr. Link’s predictions about the level of
opposition, and supporting the conclusion that DOE’s delays were the substantial
causal factor for dry storage, the PSC’s Final Order stated (in part):

            The question of whether nuclear waste should be stored at Point
       Beach outside the existing plant building created intense controversy

       34/
         WE’s service area totals 12,600 square miles with a population of over one million in
southeast, east central and northern Wisconsin and the Upper Peninsula of Michigan. In addition
to Point Beach’s nuclear plant, WE’s power generation system includes hydroelectric and fossil.
(PX 374 at KRGWE002334.) “Except for hydroelectric facilities and one coal plant, these nuclear
units provide some of the lowest cost generation on [WE’s] system and are therefore operated in
base-load service at full capacity whenever they are available.” (Id.)
       35/
          The final EIS noted DOE’s then recent-announcement that it did not have a legal obligation
under the Standard Contract to commence acceptance absent an operational federal repository or
storage site, and the PSC’s participation in litigation against DOE seeking declaratory and other
relief. (PX 346 at WISC 00003604.) The EIS also stated that WE did not believe longer operation
using fuel with more uranium was possible. “[WE] does not see a way to reduce the size of a batch
to 24 fuel assemblies while staying within the spent fuel pool rack enrichment limit of 4.75 percent.”
(Id. at WISC 00003634, 3651.)
                                                 -37-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 38 of 150




      among the public, in the local area, throughout the state, and beyond the
      state’s borders. The Commission granted $253,122 in intervenor
      compensation to citizens’ groups to insure that all points of view were
      adequately represented. Several hundred people appeared at the
      hearings, and some of them attended more than two weeks of hearing.

              The public and intervenor parties raised serious questions about
      the potential for an ISFSI to become a de facto permanent repository,
      perhaps for more waste than is generated at Point Beach. The length of
      time that spent nuclear fuel remains at Point Beach is not a function of
      the storage method. It is a function of the federal government’s actions
      in siting and licensing a permanent repository or retrievable storage
      facility, and taking possession of the waste. This Commission has
      consistently urged the DOE to proceed with shouldering these
      responsibilities, and has supported legislation and participated in
      litigation to further that end.

(DX 82 at WISC00011696.)

       DOE’s delays from 1998 to 2010 and perhaps beyond, and WE’s ability to
operate until 1998 were recited. WE needed additional storage by 1995 in order to
maintain FCR and “[w]ithout additional storage capacity to accommodate discharged
spent fuel from continued operation, the plant would have to be shut down in 1998.
At that point, it would have filled the storage capacity of the spent fuel pool and both
reactors.” (Id. at WISC 00011684-00011685.) “By 1998, assuming the present level
of plant operation, the spent fuel pool and both reactors will be required to store the
[SNF] generated at Point Beach. Without removing some of the spent fuel, it will
become impossible to operate the plant past 1998.” (DX 82 at WISC 00011701.)

      The PSC acknowledged that (1) DOE was obligated to perform under the
Standard Contract, but was not going to start in 1998; (2) WE had paid more than
$130 million to date (costs that had been passed on to ratepayers); and (3) “[i]t is
unlikely that the DOE will have a permanent spent fuel repository in operation before
the year 2023. When or whether DOE will begin taking spent nuclear fuel is a matter
of speculation.” (DX 82 at WISC 00011702.)

      In its February 9, 1995 Final Order approving WE’s application to build the
ISFSI and purchase and load VSC-24 casks, the PSC concluded that: (1) without
                                          -38-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 39 of 150




additional storage, Point Beach would have to shut down in 1998 and additional
storage would be needed to decommission the plant; and (2) Point Beach provides
low-cost electricity, and its loss would have a major effect on the provision of
electricity at reasonable rates. (PX 374.) The PSC summarized its analysis and
conclusions that there were no viable alternatives to the ISFSI given DOE’s failure
to perform its contractual obligations. (PX 374 at 22.) “Dry cask storage for the
[SNF] generated at Point Beach is superior to all the other storage options available
at this time from an environmental, engineering and economic standpoint.” (Id. at
23.)

       The public convenience and necessity require [WE] to construct an
       ISFSI consisting of two concrete pads and 12 model VSC-24 casks,
       along with other ancillary construction as described in the findings of
       fact, for the purpose of storing 288 spent fuel assemblies from the Point
       Beach Nuclear Generating Plant, at an estimated cost of $10,678,000.

(Id. at 24.)

       The government does not question foreseeability with respect to WE’s decision
(and the PSC’s approval) to purchase the VSC-24 system. Indeed, DOE’s
participation with WE in an early VSC demonstration project speaks to its foreseeable
use and supports WE’s initial decision to utilize that cask, one of only a few at that
time approved by the NRC. The PSC noted that “[n]o cask which is currently
licensed by the NRC has been shown to be clearly superior to the VSC-24 in
engineering, safety, or environmental impact.” (PX 374 at 22.) The VSC-24 was also
used by at least one other utility during this time. Sys. Fuels, 79 Fed. Cl. at 49; see
also Kelley v. Selin, 42 F.3d 1501, 1510-21 (6th Cir. 1995) (affirming NRC’s approval
of the VSC-24 cask at the Palisades nuclear plant).

       The government takes the position that WE would have constructed an ISFSI
even if DOE commenced performance in 1998. However, much of the evidence
relied on by the government for its position that WE’s expenditures were not caused
by DOE’s delays (and similarly would have been incurred in the non-breach world)
reflects DOE’s impending breach. At least by the late 1980’s WE was aware of and
responding to anticipated delay in DOE’s performance. WE’s actions and statements
are viewed with this awareness. A plausible hypothetical but-for or non-breach world
must be free of any taint of impending breach. For “measuring what, hypothetically,
would have happened,” the non-breach world must be “offense-free.” LePage’s, Inc.
                                         -39-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 40 of 150




v. 3M, 324 F.3d 141, 165 (3d Cir. 2003); see also Bonjorno v. Kaiser Aluminum &
Chem. Corp., 752 F.2d 802, 812 (3d Cir. 1984) (noting that a hypothetical world free
of alleged trade restraint should be “free of the defendants’ exclusionary activities”);
In re Aluminum Phosphide Antitrust Litig., 893 F. Supp. 1497, 1501 (D. Kan. 1995)
(comparison to actual world is to one “absent illegal conduct”). The Federal Circuit
acknowledged that even the 1987 ACR – the standard for the non-breach world –
could, to some extent be, tainted. PG & E II, 536 F.3d at 1291-92 (“This court has
considered that even the 1987 report could reflect some distortion, given its
preparation nearly contemporaneous with the 1987 Amendments Act. . . . The 1987
ACR process [nevertheless] provides the best available pre-breach snapshot of both
parties’ intentions for an acceptance rate.”).

       As previously noted, the government relies on Mr. Link’s PSC testimony that
WE would need dry storage even if DOE performed. In his second day of PSC
testimony, under cross-examination by counsel for intervenors, Mr. Link testified that
“[w]e still need an ISFSI prior to 1998 which is the first date by which we believe
DOE is obligated to take fuel. Yes, we considered DOE obligated to take fuel starting
in 1998. That does not negate the need for the ISFSI.” (PX 907 at 534.) In other
words, regardless of what the Standard Contract requires – DOE is not going to start
performing on time and the ISFSI is needed. The government’s citation to, and
interpretation of this testimony, does not take into consideration the context in which
it was presented – the near certainty that contract performance would not commence
for some period of years after 1998.

        In support of its position that WE still believed DOE was going to begin
performing in 1998, thus the pursuit of dry storage was unrelated to an anticipated
breach, the government cites a WE internal newsletter “Synergy,” DX 283, published
on June 26, 1992 (after WE’s PSC application was filed) which summarized the
project and expected political opposition, citing the Minnesota dry storage project.
(Id. at WEP006 0501.) The article entitled “Spent Fuel [–] What happens when the
pool is full?” remarked that “[b]y mid-1995, the pool will be full.” (Id.) Again,
however, “full” includes 121 spaces reserved for FCR. (Id. at WEP0060502.) The
article’s inclusion of historical pool space, expectation that 53 previously unavailable
spaces may become available with the purchase of a special handling tool, and
anticipated political opposition to the PSC application, are not inconsistent with other
statements WE made and do not detract from the preponderant evidence supporting
DOE delay as the substantial factor causing WE’s dry storage project.

                                          -40-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 41 of 150




       WE’s mention in internal planning documents that DOE might perform in 1998
does not equate with reliance that DOE would begin to perform in 1998. The court
credits witness testimony and documents, particularly DOE’s notice to utilities that
it would not be performing by 1998; assertion it had no obligation to do so in the
absence of a repository, and WE’s clear statement that DOE’s delays were the reason
dry storage was needed in its PSC Application and Forms 10-K for 1988 through
1991.

       Other documents also inform the court’s conclusion that DOE’s delays caused
the dry storage decisions and expenditures. An October 26, 1992 letter from Larry
Martin, of the law firm of Quarles & Brady (WE’s counsel in the PSC application)
to Lynda Dorr, Assistant PSC Secretary, concerned a request by intervenor Citizens
Utility Board (“CUB”) for $91,000 to perform several tasks. Mr. Martin proposed
eliminating three of the tasks which would reduce the requested fee (and fees,
including those of intervenors, are paid by WE and passed through to ratepayers).
One of the proposed tasks was to review DOE’s plans and likelihood of performance.
Unnecessary, Mr. Martin asserted. DOE’s plans were public, whether or when DOE
would perform was a matter of great speculation and CUB would not be able to add
substantively to that conjecture to assist the Commission. “Indeed, it is the
uncertainty with respect to DOE’s plans which prompted [WE’s] development of the
flexible spent-fuel storage installation plan proposed in this proceeding. That
uncertainty will not be resolved in this proceeding by paying for CUB’s speculation.”
(PX 266 at 2.) Mr. Link was copied on the letter.

      The court determines on the basis of record evidence that DOE’s substantial
delay was the “but-for” cause and the substantial factor underlying WE’s dry storage
project.

The non-breach world

       WE must also establish that the mitigation costs it seeks would not have been
spent in the plausible non-breach world – the hypothetical universe where DOE
performed starting on or before January 31, 1998 at the rates in the 1987 ACR.
Yankee II, 536 F.3d at 1274 (“[T]his court interprets the Standard Contract as
requiring the Department to accept SNF and HLW in accordance with the 1987
[ACR] process.”); PG & E II, 536 F.3d at 1292 (“[T]his court concludes that the
Standard Contract required DOE to accept SNF/HLW in accordance with the 1987
ACR process.”).
                                        -41-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 42 of 150




      While contesting the premise with rigorous cross-examination, the government
did not introduce evidence of what WE would have done in the non-breach world.
The government’s expert Mr. Hamal did not opine on this matter. (“Q: So you never
evaluated whether or not [WE] believed earlier in time like in the ‘80s or ‘90s
whether DOE was going to be substantially delayed. And if so whether that would
have impacted [WE’s] analysis of its spent fuel storage alternatives, correct? A: I
haven’t offered an opinion on that, no.” (Tr. 5970:12-20 (Hamal).)

       For the following reasons it is concluded that dry storage would not have been
built had DOE commenced performance by no later than January 31, 1998 at the 1987
ACR rates. If DOE had timely performed at the rates under the 1987 ACR, WE
would have had a total of 482 assemblies removed through 2002 which would have
alleviated WE’s storage problems.

       The PSC’s Findings of Fact, Conclusions of Law, Certificate,36/ Order and
Interim Order includes findings on the need for the ISFSI. (PX 374 at
KRGWE002335–36.) Despite DOE’s 1998 contractual start date, “there is no federal
facility for storing or disposing of the spent fuel nor is one expected to be operating
by 1998. DOE does not expect that any disposal facility will be operational before
the year 2010. Other estimates range from 2023 to indefinite.” (PX 374 at
KRGWE002335.) Consequently, the PSC concluded, dry storage was needed in 1995
in order to maintain one FCR and the pool would be completely full in 1998.
Alternatives were “very limited” “[b]ecause of the anticipated failure of the federal
government to fulfill its promises.” (Id. at KRGWE002343.)

       The range of options in the non-breach world would not have been so
constrained with full government performance commencing in 1998. WE had several
alternatives it could explore. It could have reduced discharge quantity or frequency;
used fuel management techniques; made previously unusable spaces usable;
purchased a temporary cask pit (the cost of which WE deducted from its requested


       36/
        Under its authority and responsibility the PSC “certified” that:
               The public convenience and necessity require [WE] to construct an [ISFSI]
      at its Point Beach Nuclear Generating Plant, which facility shall consist of 12 model
      VSC-24 dry casks and two concrete pads, with associated facilities as set forth in the
      findings of fact, at an estimated cost of $10,678,000, subject to the conditions set
      forth in the order below.
(PX 374 at KRGWE002357.)
                                               -42-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 43 of 150




recovery); reduced generation; tolerated less than FCR; or a combination thereof so
as to avoid dry storage.

      Nuclear engineer William Hennessy,37/ employed by WE since 1989, was
involved with core design, the acquisition of the offset fuel handling tool, dry storage
and spent fuel management. He was promoted to Supervisor, Reactor Engineering
in 1993 when WE’s PSC dry storage application was pending. His responsibilities
included “keeping track of the items that are placed in the spent fuel pool, knowing
where they are, knowing what they are, and performing annual inventory of those
components.” (Tr. 845:25; 847:1-3 (Hennessy).) He understood at that time that
DOE’s performance would not start in 1998, therefore WE was constructing dry
storage in order to continue operations. The court credits his testimony in concluding
that DOE’s delays caused WE to build dry storage, and that but-for these delays, in
the non-breach world, dry storage would not have been built.

      WE inventories its wet pool annually, using underwater cameras and other
sophisticated equipment to count assemblies and check for damage, leaks or other
problems in the assemblies or racks. Mr. Hennessy performed and signed WE’s 1993
inventory, his first as Supervisor of Reactor Engineering. (PX 311.) Following the
spring 1993 refueling, there were 1221 assemblies in the pool.

       A December 16, 1993 internal memorandum (the Fieldhack memo, PX 321)
utilized data from Mr. Hennessy’s Reactor Engineering Group (he was copied on the
report) and concluded that the pool had 1502 spaces: 1249 spaces filled with
assemblies; 217 empty and “good:”and 36 used to store other than SNF. Of those 36
spaces (identified by grid numbers), two spaces, SA-23 and SA-62 were “inaccessible
under the canal doors,” because they were under the door hinges of the spent fuel
pool canal doors and could not be used to store assemblies. Seventeen spaces
contained debris baskets filled with radioactive materials from past modifications or
maintenance. These non-fuel components could have been taken to a low-level
disposal site in Barnwell, South Carolina or stored in an on-site mausoleum, thereby
freeing those spaces. (Tr. 858:17-861:2 (Hennessy).)


       37/
         Mr. Hennessy has a B.S. and a master’s degree in nuclear engineering from Iowa State
University and has been a licensed professional engineer since approximately 1986. Mr. Hennessy
has numerous plant operating certifications and worked on spent fuel pool issues at three other
nuclear plants (Plant Vogtle in Georgia, the Duane Arnold plant in Iowa, and the Seabrook plant in
New Hampshire – all owned by other utilities) prior to his employment at Point Beach.
                                               -43-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 44 of 150




       A dummy assembly and a location spacer were stored in two spaces. The
spacer was removed. WE could have removed the dummy assembly which is not
highly radioactive. It could have been rinsed, bagged, tagged and stored somewhere
out of the pool. Accordingly, these two spaces could have been cleared. (Tr. 862:4-
22 (Hennessy).)

        Nine spaces were categorized as damaged, including spaces that had protruding
metal that could harm an assembly. These spaces were reinspected. Seven could be
used without restriction; two could be used with restriction. (Tr. 862:25-864:13
(Hennessy).) Six spaces with brackets, used to hang tools or equipment, were listed
as “[a]ccessible with OFHT38/ after modification.” The brackets were removed and
all six spaces used to store assemblies. (Tr. 864:18-865:13 (Hennessy).)

       In total, 251 spaces were either empty, emptied or could have been made
available with minimal effort. Because there was adequate space in the pool at that
time these actions were not taken. (Tr. 866:24-867:6 (Hennessy).) That does not
mean that in the non-breach world, those spaces could or would not have been
emptied. Subtracting the two spaces that were under the canal door hinges, WE’s
effective pool capacity was 1500 spaces. (PX 381 (RW-859 NRC report at
AHQR3640809.)

       At trial, Mr. Hennessy methodically computed WE’s historical pool inventory
starting in July of 1991 with 1109 fuel assemblies after the spring refueling discharge.
This number is contained in the Environmental Screening Report (“ESR”)39/ submitted
with WE’s PSC application in November of 1991. (PX 236 at WISC 00014796.)
While elsewhere in the ESR it is reported that 1126 spaces are filled with SNF
assemblies or other waste components, Id. at WISC 00014753, the accommodating
and remedial measures to free-up spaces that could, and in some instances, were
taken, accounts for the 17 space difference. As part of his trial testimony, with a

       38/
         Offset fuel handling tool.
       39/
          Although an ESR was not required, it was prepared by WE at the request of the PSC staff.
The ninety-one page report includes detailed (1) description, environmental and cost analysis of the
proposed ISFSI project; (2) consideration of alternatives including taking no action, reducing
operations, conserving, using other dry cask technology, increasing pool storage, shipping to other
locations, reprocessing, using higher burnup fuel (each assembly would provide more energy, stay
in the reactor longer, thereby prolonging the time between refuelings and consequent discharge into
the pool) and a combination of these. (PX 236 at WISC00014784-805.)
                                                 -44-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 45 of 150




starting pool inventory of 1109, Mr. Hennessy assumed a 28 assembly-discharge for
one reactor in the spring and a 28 assembly-discharge for the other reactor in the fall
(replaced with new fuel assemblies inserted in the particular reactor core) which
added to the total. Future pool inventory was predicted:

                             After spring discharge After fall discharge
                     1991                   1109                1137

                     1992                   1165                1193
                     1993                 122140/              1249
                     1994                   1277                1305
                     1995                   1333                1361
                     1996                   1389                1417
                     1997                   1445                1473
                     1998                   1501

(Tr. 872:6-873:20 (Hennessy).)

      Mr. Hennessy concluded that even without any fuel management techniques,
change in the number of assemblies discharged in each reload or the length of time
between refueling cycles, Unit 2 could have operated until the fall 1998 discharge and
Unit 1 until the spring 1998 discharge. (Tr. 873:21-874:7 (Hennessy).)

      As the supervisor of Reactor Engineering during this period, and having the
opportunity to observe his demeanor, Mr. Hennessy’s testimony is given considerable
weight. His conclusions are also independently supported by other evidence.

       Furthermore, in addition to freeing-up spaces, discharges into the pool could
have been reduced by fuel management to extend the intervals between refueling to
postpone discharges and prolong available pool space. “Yes, there would have been
strategies that could have been employed to get us to through to 1998 and beyond.”
(Tr. 874:24-875:1 (Hennessy).)


       40/
         This is the same number that was in the September 1993 annual spent fuel inventory. (Tr.
873:2-9 (Hennessy).)
                                               -45-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 46 of 150




      Q. Let’s talk first about capacity changes that might have been possible
      in the pool. Describe those.
      A. In the spent fuel pool, we could have increased the capacity of the
      pool by installing small racks in locations that had available holes in
      them, such as the periscope location and the tool storage location.
      Q. What about fuel management strategies?
      A. Regarding fuel management strategies, at that time, we were
      operating under 28 reload core designs, and we could have reduced the
      number of reloads to 24, for example, and gained four fuel assemblies
      per unit, per year. The sooner we started that strategy, the more we
      would have gained. If we could have gained eight fuel assemblies per
      year, beginning early on, you can see that there would have been quite
      a few – fewer fuel assemblies in the spent fuel pool over time.
      Q. Any other strategies, besides shifting to the 24 feed – any, would
      there be any other fuel variables that could be changed to operate
      longer?
      ...
      Q. For example, to make the fall outage occur later in time, could any
      steps have been taken to do so?
      A. The unit could have been coasted down to make the fall outage run
      longer, which means a reduction in power as the fuel is burned up, and
      we have done that in the past.

(Tr. 875:3-876:15 (Hennessy).)

      Mr. Hennessy testified that if DOE had started performance in 1998, dry
storage would not have been built.

      Q. Let’s talk a little bit about what [WE] would have done if DOE had
      actually performed. If DOE had taken spent fuel starting in 1998 from
      Point Beach, would Point Beach have needed dry storage?
      A. No, sir.
      Q. What was your basis for saying so?
      A. My basis for saying so is that, knowing we recovered spaces in the
      spent fuel pool and also that we could have changed our core operating
      strategy, had we chose to do so, we could easily have made it to 1998
      without dry storage.

                                        -46-
Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 47 of 150




Q. If the racks had become – if dry storage had not been used, would
there have been any problem with in-service testing or other
requirements for the Point Beach spent fuel pool?
A. In-service tests and other types of tests are planned activities, the
status of the spent fuel pool would have been known well ahead of time,
and the planning of those activities could have been, could have
accommodated conditions in the spent fuel pool.
Q. Would Boraflex testing have prevented Point Beach from operating
until 1998?
A. No, Boraflex testing would not have prevented Point Beach from
operating until 1998.
Q. Mr. Hennessy, are you familiar with the term [“FCR”]?
A. Yes, I am.
Q. And could you please just define [FCR]?
A. [FCR] is a strategy to maintain enough open spaces in the spent fuel
pool to unload a reactor core.
Q. Was there a [FCR] policy at Point Beach[?]
A. There is no [FCR] policy at Point Beach.
Q. Has Point Beach operated without [FCR] while you’ve been at Point
Beach?
A. Yes, twice, I believe.
Q. Why isn’t [FCR] a requirement?
A. I’m sorry, please repeat that.
Q. Is there a reason why [FCR] is not required?
A. [FCR] is not required because the reactor coolant system and decay
heat removal systems in the reactor are perfectly capable of removing
decay heat and maintaining the fuel assemblies safely in that condition.
[FCR] is a business decision, it’s not a safety decision. Therefore,
there’s no requirement for it.
Q. Would it have been possible to preserve [FCR] through a temporary
rack and a cask pit?
A. Yes, it would be.
Q. And would there have been any operational impacts to having a cask
pit rack for full core offload capability?
A. The operational impacts would be that, if we needed to load a cask,
we would have to remove the cask pit rack.
Q. And would that have been a problem?

                                  -47-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 48 of 150




       A. It would have required some additional work, but not a great deal of
       additional work.
       Q. Was there any limit on how many times the plant could have operated
       with the pool configured with a cask pit rack with 121 spaces?
       A. No the temporary rack would be qualified to the same extent that the
       permanent racks are, and therefore, there would be no limit to the
       number of times that we could use that.
       Q. Would there be any limit on the duration of how long a cask pit rack
       could be used?
       A. No.

(Tr. 892:9-25;893:1-25;894:1-25;895:1-16 (Hennessy).)

       WE took some of these actions in the breach world which supports the
plausibility and probability that WE would have taken these or similar actions in the
non-breach world. In October of 1993, Mr. Hennessy worked with WE’s fuel
department (the 24 feed feasibility team) to evaluate switching from a 28 to a 24
assembly reload.41/ (Tr. 877 (Hennessy); PX 313 at 1 (“Reducing the number of feed
assemblies is desirable to minimize the amount of high level waste produced at the
plant.”).)

       Mr. Hennessy also helped develop the procedures for loading the VSC-24
casks and was familiar with the hydrogen ignition incident which led to the NRC’s
ban on use of that cask, addressed supra. He was tasked with recovering pool space
in case the NRC did not lift the ban. He returned to the Fieldhack memo, PX 321, re-
examined spaces, and on July 3, 1996, reported that seven of the nine spaces
identified as damaged were immediately usable. The other two were later recovered
with restrictions. (PX 423; Tr. 885.) Ten spaces that held trash baskets or other
slightly contaminated low-level material were also recovered. WE contracted with
WMG, Inc. to remove HLW from the pool which recovered four more spaces. (Tr.
885:23-887:6; PX 459 (June 1997 Report to WE from WMG, Inc.).) A vacuum
device and a reactor vessel specimen basket were moved to the spaces under the door
hinges, which as noted previously, were unuseable for SNF, resulting in two more
available spaces. (Tr. 887:9-16 (Hennessy).) Removing brackets in late 1997 made
six additional spaces available. (Tr. 887:19- 888:10 (Hennessy); PX 461.) A spacer

       41/
         Reducing from a 28 to a 24 assembly reload would correspondingly reduce the number of
assemblies discharged to make room for the reload.
                                              -48-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 49 of 150




was removed, adding another space. Two more spaces (holding the dummy fuel
assembly) could have been made available easily but were not. In sum, a total of 32
spaces were actually made available (and could have been available earlier) and
another two could have been cleared, which would have brought the total additional
spaces to 34. In the breach world, when a possible need was anticipated, WE found
additional storage. WE would have reacted similarly in the non-breach world.

       WE also considered installing racks in the periscope location, the tool location
and the cask loading area. (Tr. 890:17-21 (Hennessy).) Mr. Hennessy testified that
he investigated these possibilities because of the concern that dry storage might be
halted again by the PSC. (Tr. 890:17-25; 891:1-2.) A mini-rack in the periscope
area, if approved by the NRC, could hold four assemblies. Six assemblies could fit
in the fuel elevator space and the tool storage area could hold a mini-rack with 16
assemblies. (Tr. 959:7-25; 960:1-6 (Hennessy).) Use of these mini-racks in the non-
breach world would have increased pool capacity to 1526.

       Mr. Michael Baumann,42/ Manager of Nuclear Fuel Commodities and Supply,
performed a similar projected pool inventory starting after the spring 1994 discharge,
with 1277 assemblies in the pool.43/ Discharges from the two reactors are staggered
over time. Generally, one unit would discharge in the spring and the other in the fall.

       42/
          Mr. Baumann has a B.S. in nuclear engineering from the University of Wisconsin in
Madison and worked for WE or NMC since 1986, first in radiological engineering, then in nuclear
licensing. At various times he was Manager of Nuclear Fuel Services, Manager of HLW issues, and
Manager of Nuclear Fuel Commodities and Supply.
       43/
          The government quarrels with the assumption of a 28 assembly discharge in each refueling
cycle, asserting that Point Beach had 36, and then 32 assembly discharges, and it was only relatively
recently that discharges were reduced to 28 assemblies.
        The pool inventory was 1277 as of August of 1994 as reported in WE’s Annual Inventory
of Fuel Assemblies and other Devices. (PX 360.) Analysis of alternatives to dry storage in the EIS
attached to WE’s November 15, 1991 PSC application, recited the then-current use of a 28 assembly
reload, significant cost savings from reducing reloads from 32 to 28 (up to a million dollars per year),
commitment to continuing to explore even higher-burnups, and explanation that several options
which could eliminate the need for dry storage were not explored because of DOE’s delay. (PX 236
at 56-59.) Mr. Zabransky who was responsible for compiling the Dry Storage Capacity
Requirements section of the EIS testified, that in November of 1991, a 28 assembly discharge was
a reasonable projection. (Tr. 644:6-646:24 (Zabransky).)
        The court credits witness testimony that 28 assembly discharge per reactor every twelve
months was reasonable and indeed conservative. At the time of trial, WE was using 18 month cycles
with a 36 assembly discharge per reactor for that period. (Tr. 125:15-18 (Baumann).)
                                                 -49-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 50 of 150




(Tr. 124:12-126:1 (Baumann).) Assuming a twelve-month cycle with 28 assemblies
discharged per reactor per year, he calculated that at the end of 1997 there would have
been 1473 assemblies in the pool, and following the spring 1998 discharge, the pool
inventory would be 1501. (Tr. 166:4-171:4 (Baumann).) He concluded that Unit 2
could have operated through the fall of 1998, and by unloading 24 rather than 28
assemblies from the reactor core in the fall, Point Beach could have stayed within the
1500 space pool capacity and operated “somewhat short of the spring of 1999.” (Tr.
170:14-171:1-4 (Baumann).) Also consistent with Mr. Hennessy’s testimony, Mr.
Baumann testified there were fuel management techniques that could have reduced
discharges into the pool and prolonged the time until the pool was full which would
and could have been done if DOE’s timely performance was expected. Coasting
(operating the core at less than capacity for four to six weeks) could also have
extended times between reloads. Changing enrichment levels, using fatter diameter
rods, higher burn-up assemblies or longer fuel cycles, and other measures could also
have been used to maximize and extend pool capacity. (Tr. 171:6-173:2 (Baumann).)
Those measures were not taken in the breach world because given no DOE
performance they would not have alleviated the critical long and short-term needs that
had to be addressed to prevent Point Beach from shutting down which would then
require substituting replacement energy at a higher cost both economically and
ecologically. WE “did not focus” on short-term storage solutions because, like the
comparable situation in neighboring Minnesota, they “would not have satisfied the
utility’s need for a long-term storage solution.” N. States, 78 Fed. Cl. at 461.

        The evidence demonstrates that if DOE commenced full performance by no
later than January 31, 1998, additional SNF storage on site would not be needed, and
that WE’s acceptance allocations would gradually decrease pool inventory. As Point
Beach has some of the oldest fuel, it has significant allocations in the first two years
of DOE acceptance – 1998 and 1999. Mr. Shimon, former Manager of Nuclear Fuels
and Administrative Services, testified:

      The January 31, 1998 date for commencing removal was critical to [WE]
      because we expected to be able to provide our own storage through that
      date, and if the program commenced on January 31, 1998, we would not
      have to build additional storage. There was also an ordering philosophy
      in that contract that had to do with removal of oldest fuel first. And
      being one of the older nuclear plants in the country, we also had some
      of the oldest fuel, and this would entitle us to more of the early
      shipments than some of the newer plants.
                                          -50-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 51 of 150




(Tr. 1241:10-23 (Shimon).)

       We were aware of the number of storage spaces that we had in the pool.
       We knew how many spaces were occupied, and we were able to project
       from our fuel cycles the number of spent fuel assemblies that would be
       discharged to the pool. Based upon all of those factors, the pool – we
       were convinced that the pool capacity would not be exceeded by January
       31, 1998. . . . The rate would be sufficient to preclude utilities from
       having to add additional spent fuel storage capacity after January 31,
       1998 and would work off the backlog of spent fuel over a reasonable
       period of time. . . . Based upon all of the discussions we had with DOE
       at that time and pronouncements that they made, we believed that they
       were in agreement with us.

(Tr. 1245:7-1246:10 (Shimon).)

       An inventory of pool space over time in the non-breach world was prepared by
WE’s economic expert Mr. Richard Sieracki,44/ starting in 1998 with 1422 assemblies.
This differs from Mr. Hennessy’s and Mr. Baumann’s inventory at the beginning of
1998 of 1473. This difference, while not material, is attributable to the “lost year of
production” in the breach world where both reactors were shut down for a year;
accordingly, there were no discharges of assemblies into the pool in that year. The
court uses an earlier inventory perspective because WE’s planning would been prior
to 1997 recognizing the need for a long lead time for storage decisions, approvals and
acquisitions. This lost year of production does not alter the result in this regard.

      Other witnesses testified that WE would not have built dry storage if DOE had
performed. (Tr. 427:12-17 (Link) (Q: “If DOE had performed, would [WE] have

       44/
          Richard Sieracki, Chief Executive Officer of The Kenrich Group LLC (“Kenrich”),
graduated from the University of Illinois with a B.S. in civil engineering with a primary focus on
construction management. His damage experience includes analyzing cost and schedule issues in
connection with power plant project disputes. Mr. Sieracki has testified as an expert in numerous
cases involving power plants, including several SNF cases. He was qualified by the court as an
expert in damages analyses and construction cost estimating in the regulated public utility nuclear
power and government contract areas. The scope of his work and testimony included development
of a fuel management model to assess WE’s spent fuel requirements in breach and non-breach
scenarios, assisting WE personnel in developing the necessary technical and cost inputs, determining
WE’s breach on-site storage costs and non-breach temporary cask pit rack costs.
                                               -51-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 52 of 150




avoided the need to construct dry storage? A. Yes, if DOE performed under their
obligation of the contract, we would not have pursued dry storage.”); Tr. 1527:12-19
(Krieser) (“Q: Did your group ever make a determination as to whether Point Beach
could have operated until 1998 without dry storage? A: We evaluated that issue
extensively and regularly, and we always were able to conclude that we could make
it to 1998, and even slightly beyond, in some instances, without a dry storage
facility.”); Tr. 2813:25-2814:18 (Conry) (It was the general understanding of the
nuclear power department that Point Beach could operate until 1998 without dry
storage.); Tr. 2511:11-24 (Farron) (“Q: When you joined [WE], did you gain an
understanding regarding why [WE] had submitted its dry storage project application
to the [PSC]? A: Basically, from the minute I took a position with [WE], I was
informed that DOE was not going to pick up spent fuel in 1998, and it was a major
concern for the utility because, after 1998, the plant did not have permanent storage,
spent fuel storage capability in the spent fuel pool.”); Tr. 2552:23-2553:6 (Farron)
(Point Beach could have operated until 1999 without dry storage); Tr. 2577:6-9
(Farron) (“Based on my knowledge and understanding, definitely the utility would
have preferred to use something other than dry fuel storage in the nonbreach world.”);
Tr. 1164:16-1165:14 (Zabransky) (WE indicated to the PSC that Point Beach could
operate until 1998 without dry storage).)

       Just because WE built dry storage and started loading casks in 1995 does not
mean WE would have done the same in the non-breach world. The court credits
witness testimony that once PSC approval was obtained, there was no reason to wait,
particularly given DOE’s ever-receding predictions of the start of performance. (Tr.
1491:9-13 (Shimon) (“What I’m saying is that the date on which we made the facility
operational was no longer relevant because there was no point in trying to get to 1998
since DOE was not coming.”); Tr. 1529:2-1531:3 (Krieser) (“So if you accept that
there really was no reason to wait to construct the facility because we were going to
need the facility under any circumstances at that point, and so it really made no sense
whatsoever to wait . . . until the eleventh hour and cause us to have to rush to
implement the system.”) And, pre-1998 loading restored or allowed for the
maintenance of FCR, which was not required, but is preferred.

      WE’s non-breach world position requires Point Beach to operate for a while
without FCR. The government points to WE’s PSC application for the dry storage
project that stressed the need to maintain FCR, and argues WE would not have
operated without FCR and thus would have built dry storage and purchased and
loaded casks in the non-breach world. By letter dated May 22, 1992, responding to
                                         -52-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 53 of 150




an inquiry by CUB as to why FCR was a goal even though it is not required by the
NRC, WE responded with the advantages of FCR:

      [WE] believes that maintenance of at least one [FCR] is a good
      operating practice because of the flexibility that this reserve affords
      during normal operations and maintenance activities.

      • From time to time, it is necessary to remove all the fuel assemblies
      from the reactor vessel in order to perform NRC-required in-service
      inspection of the reactor vessel. Such an inspection is being performed
      on Unit 1 during the current (Spring 1992) refueling outage.

      • The NRC also requires periodic surveillance of the spent fuel storage
      racks in order to verify the continued performance of the neutron
      absorbing material [Boraflex] used in the racks. The surveillance is
      performed on randomly selected storage cells and requires that spent
      fuel be moved at least five spaces away in all directions from the test
      cell. This involves the movement of up to 120 fuel assemblies.

      Neither of these activities would be possible without the maintenance of
      at least one [FCR].

     • In the past it has been necessary to perform maintenance activities on
     the reactor vessel or primary systems inside the containment. These
     activities have included the replacement of the Unit 1 steam generators
     and the upflow modification performed on both Unit 1 and Unit 2
     reactor vessels. These projects would not have been possible without
     the availability of at least one [FCR].
(DX 54 at WISC 00003436.)

       Before the PSC however, Mr. Link testified that Point Beach operated without
FCR on several occasions – May through September of 1974, November 1974, March
1975 and mid-October through mid-December, 1979. (PX 907 at 505.) And, as
noted FCR is not required. Yankee II, 536 F.3d at 1275 (“[U]tilities ideally maintain
sufficient pool capacity to permit discharge of all fuel assemblies from the reactor
core into the pool to accommodate maintenance and repair operations. Though the
[NRC] does not require utilities to maintain such a “full core reserve,” it encourages
them to do so.”).
                                         -53-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 54 of 150




       The government argues that FCR was needed for Boraflex testing. The racks
contain a chemical, Boraflex to addresses criticality. WE used to have mandatory,
periodic testing of the effectiveness of Boraflex which required a FCR. These tests
were done about every five years. In responding to questions posed by CUB, WE
asserted that FCR was needed for Boraflex testing. Subsequently however, WE
discontinued the use of Boraflex, and contends there is no reason why it could not
have discontinued use of Boraflex earlier. While the government disagrees, this issue
is essentially mooted in that WE asserts a temporary rack would have been used to
achieve FCR in the non-breach world which would have accommodated any Boraflex
testing. DOE defers to the utility whether and how to maintain FCR. (PX 44 (DOE’s
June 1983 letter asking the NRC “not discourage utilities from encroaching on FCR
at their own discretion.”).)

       As noted, in the non-breach world, WE contends it would have maintained
FCR capability with the purchase of a temporary rack capable of holding a full core
that could be used in the cask pit area of the pool if needed. The cask pit would be
required for loading to DOE casks so the cask pit rack would be inserted only if and
when it was needed. WE deducts the cask cost from damages claimed. (PDX 60-
Sieracki 62; PX 805 at KRGWE003346.)

      DOE encouraged the use of a cask pit rack for FCR.

      The definition of [FCR] is understated if it excludes the capacity
      represented by the cask laydown area. The only argument against the
      use of the latter is that when doing so, it is not possible for ship [sic] in
      or out of the pool. This would not appear germane to a utility whose
      primary problem is to pull a core and make a reactor repair as
      expeditiously as possible. Inclusion of cask laydown area postpones
      loss of FCR by one to five years.
      . . .
      The cask laydown area should be put into use as temporary storage as its
      use can provide a significant postponement in the need for additional
      spent fuel storage.

(PX 774 at 2-3 (Oct. 1983 DOE memo).)

      “Cask pit racks are typically used to provide a temporary increased spent fuel
storage capacity, particularly when spent fuel pools have large fuel inventories.
                                          -54-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 55 of 150




Holtec has designed cask pit racks allowing a utility to preserve full core discharge
capabilities.” (PX 827 at 3 (June 2006 Singh revised written testimony).) In PG &
E I, a temporary cask pit rack was considered as a mitigation contingency in case the
dry storage application was not approved. 73 Fed. Cl. at 424-25. See TVA v. United
States, 69 Fed. Cl. 515, 532 (2006) (noting possible use of temporary cask pit rack
to restore FCR).

      A cask pit rack would have provided sufficient space for temporary storage
needs until 1998 (and beyond if needed), and in the non-breach world would have
provided space in 1996 to unload the core of Unit 2 to replace the steam generator.
Mr. Hennessy testified that the rack would have become integrated with plant
operations and posed no hindrance or appreciable workload increase to these routine
fuel management activities such as refuelings or inspections.

      The court credits the testimony of Messrs. Link and Farron that in the non-
breach world, WE would have favored a temporary rack over dry storage.

      Q: Would you have preferred to use a temporary rack, rather than build
      dry storage, if DOE had performed under the standard contract?
      A: Yes. If DOE would have performed, the temporary rack concept had
      advantages over dry storage. One of the first ones would have been
      cost. Another one would have been, at least in my opinion, the overall
      risk profile of the strategy, and what I mean by that is a temporary rack
      is rather simple in concept, and I’ll even use the word ‘traditional,’ in
      concept.
             Racks were being, we had reracked the pool, as I said, twice
      already, a temporary rack is no more than another type of rack, so it was
      a more simple type of technology to employ, while dry storage offered
      more complexities and was actually still a developing technology.
             It also would have mitigated the need to unload fuel that would
      have been put into dry storage, which would have cost additional dose
      [sic] and other costs and risks.

(Tr. 429:14-430:12 (Link).)

      A: I think I’ve already stated that, and if DOE would have performed
      under the contract, we would have essentially gone forward without the

                                        -55-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 56 of 150




      dry fuel storage and relied on the temporary strategy, if necessary, to
      retain the ability to get [FCR].
      Q: And would a temporary strategy, such as a temporary rack, have
      permitted you to have maintained [FCR]?
      A: Yes, it would have.

(Tr. 549:19-550:6 (Link).)

      A temporary cask pit rack would have provided these benefits at a fraction of
the cost of dry storage without the political contentiousness and uncertainties
involved in building a new dry storage structure. It would have cost $2,048,000
including labor, versus the ISFSI and 12 casks with a price tag of $12.8 million in the
PSC application and an actual nominal cost of $20,683,000.

      Additionally, the use of a temporary rack, the costs associated with a
      temporary rack would likely be less than what it is for dry storage,
      which I think we’ve since confirmed. What that means is we would not
      have to go on to the [PSC] for approval, so we would have avoided all
      the hearings, all the intervention that took place, that actually took place
      beginning of 1991 with the first application. It was also generally
      accepted that using wet storage, being a temporary rack or interim one,
      it was a lot easier to implement than dry fuel storage, and the ongoing
      O&M [operations and maintenance] costs with using a temporary rack
      were also much, much less, so I think there’s clearly a number of
      reasons why [WE] would have elected to use an alternative if DOE was
      going to show up in 1998.

(Tr. 2577:23-2578:16; 2658:5-2569:20 (Farron) (indicating that if FCR was needed
after 1996, WE would probably have installed a temporary rack in the cask laydown
area of the pool); Tr. 344:17-347:3 (Link) (“Q: Could a temporary rack hold a full
reactor core’s worth of assemblies? [objections omitted] A: I was more than satisfied
that a temporary rack could hold at least 121 fuel assemblies.”); Tr. 549:19-550:6
(Link) (predicting that WE would have relied on a temporary rack to preserve FCR).)

      Q. If you had thought that DOE was coming in 1998 and you were not
      going to build dry storage, are there things you could have taken or
      actions that the company could have taken to preserve or maintain
      [FCR]?
                                          -56-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 57 of 150




              . . .
        THE WITNESS: I mentioned earlier the fact that we had looked into the
        possibility of temporary racks. As we approach 1998 and we didn’t
        have actual [FCR] in the permanent part of the pool, we certainly could
        have utilized a temporary rack if the need for [FCR] was required.

(Tr. 1532:12-1534:13 (Krieser).)45/

       While recognizing that Mr. Zabransky did not recall discussions concerning a
temporary rack, the court credits the testimony of Marlin Conry, the engineer
responsible for the steam generator replacement project, that in the breach world he
and Mr. Zabransky considered using a temporary rack to provide FCR and found no
structural or cooling limitations. (Tr. 2817:5-2819:3; 2833:5-19; 2832:2-17 (Conry).)
No “show-stoppers” to NRC approval were identified. (Tr. 2817:5-2819:12 (Conry).)
In the breach world, when PSC approved WE’s dry storage, there was no reason to
pursue a temporary rack.

        A temporary cask pit rack was feasible

      The government counters that a temporary rack was not technically feasible,
therefore WE would have built dry storage to maintain FCR. WE in turn, presented
expert testimony that a temporary rack was feasible and could have provided FCR in
the non-breach world.




        45/
          The court overruled the government’s objection that the question called for speculation.
“THE COURT: [T]he government[’s] position is that the burden of establishing the but-for world
is on the Plaintiff, and apparently, the objections are designed so they can’t prove that . . . . I think
the objection is inconsistent with the government’s legal position in this regard.” (Tr. 1533:10-24.)
                                                  -57-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 58 of 150




       Expert witness Dr. Krishna Singh,46/ opined that, based on his analysis of
structural, criticality and shielding criteria, it was technically feasible for WE to have
installed a 121 assembly temporary rack in the cask pit area in the mid-to-late
1990s.47/ “[B]ased upon extensive experience with NRC wet storage licensing efforts,
it is my opinion that the NRC would have approved WE’s application to amend its
operating license to add the 11x11 rack in the cask pit of the [Point Beach] pool.”48/
(PX 827 at 5.) The project posed “no intrinsic challenge” and “there would have been
no technical basis to deny the license amendment.” (Id. at 20.) It would not be nearly
as challenging as racking projects at other plants during this time. (Id. at 19.) “It
could have been done. That’s the bottom line, that . . . they could have added a cask
pit rack, and it would have been, as I said before, a project, a mundane project, it was
not a challenge.” (Tr. 4396:15-20 (Singh); PX 827 at 19.)




       46/
          Dr. Krishna Singh is the President, Chief Executive Officer and founder of Holtec
International (“Holtec”). He has masters and doctoral degrees in mechanical engineering from the
University of Pennsylvania and is a fellow in the American Society of Mechanical Engineering. He
has more than 30 years of engineering experience, including over 20 years in design and installation
of wet pool storage racks. He has initiated more than 50 NRC operating licensing amendment efforts
which required safety analyses, calculations, plant specification modifications, documentation and
responses to NRC questioning. He holds numerous nuclear storage technology-related patents and
has written dozens of publications concerning SNF storage. He has been qualified as an expert
witness more than 10 times. Immediately prior to his trial testimony, Dr. Singh was in Ukraine
where Holtec was awarded a contract to place Chernobyl’s nuclear fuel, which was stranded since
a1986 accident and plant shutdown, in dry storage.
        Holtec has designed and manufactured spent fuel storage racks since 1986 when Dr. Singh
founded the company. More than 70 percent of SNF produced in the United States in wet storage
is in Holtec racks. Holtec has participated in several projects involving temporary cask pit storage
racks. WE’s original SNF racks were manufactured by Wachter Associates which was purchased
by US Tool & Die in 1981. Holtec subsequently acquired US Tool and Die.
        Dr. Singh was qualified as an expert witness in: (1) engineering evaluation of SNF storage
rack technology, (2) the NRC review process and criteria for SNF rack technology and operating
license amendments, (3) the duration and extent of NRC review of operating license amendments,
and (4) cost estimating related to SNF storage rack technology.
       47/
          The spent fuel pool includes an empty area, the cask pit, approximately eleven feet square,
used for the insertion and loading of a transfer cask.
       48/
            The use of the temporary rack, because it would increase storage, would require NRC
approval.
                                                -58-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 59 of 150




       Dr. Singh was instructed to assume installation by January of 1996 in time for
the steam generator replacement. He testified that the design, engineering, licensing,
manufacture and installation would take a total of 30 months. (PX 827 at 4.) His
conclusions were based on review of technical data of WE’s pool and his experience
with dozens of license amendment applications for other pool racking projects. “The
NRC has never rejected an [Operating License] amendment application to equip a
pool or cask pit with Holtec-designed racks.” (PX 827 at 20 (emphasis in original).)
He estimated the cost for the design, engineering and manufacturing of the rack at
$1,837,272, NRC fees of $66,500 (approximately 500 hours of staff time), and
internal labor at $144,199, for a total cost of $2,048,000 which WE deducted from its
damages as costs that would have been incurred in the non-breach world. (Id. at 4,5;
PX 805 at KRGWE003346.)

       Dr. Singh explained that a temporary cask pit rack for Point Beach would have
held 121 assemblies, a full core, and would be free-standing which would aid in
insertion and removal. The rack could be removed, cleaned with high pressure water,
stored on the pool deck and reinserted as needed, which would allow for other uses
of the cask pit area.

       There are two types of spent fuel storage racks – Region I and Region II.
Region I racks are designed to hold SNF with any level of burn-up. Region II racks
hold older fuel that has been burned longer or has been out of the reactor longer and
is therefore less reactive – less hot. Region II racks are more closely spaced and
allow the storage of more spent fuel assemblies in a given space compared to Region
I racks. WE would have used a Region II cask pit rack. While fuel in the reactor core
might not meet the Region II specifications because it would be too hot, other
assemblies could be placed in the temporary rack, which would free spaces for the
more reactive fuel coming from the core, which responds to the government’s
objection that fuel from the core could not have been placed in the temporary rack.

        The government also questions the plausibility of a temporary cask pit rack due
to: (1) weight issues; (2) difficulty in removing an existing anti-tipping frame which
would be necessary to use the space; and (3) insufficient cooling capacity. The
government also notes that WE rejected the idea of a temporary rack in the breach
world which it argues renders its suggestion it would have pursued this path in the
non-breach world disingenuous.



                                         -59-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 60 of 150




        Weight would not have precluded NRC licensing

       Asserting a temporary cask pit rack would be too heavy for the Point Beach
pool, the government points to a study done by Bechtel Power Corporation in 1977
in connection with initial reracking, that a fraction of the supporting piles may be
overstressed by seven percent with respect to the design yield. (DX 351 at 3.)

       Approximately thirty years later, Dr. Singh analyzed the pool structure and
concluded it would have no difficulty supporting the 93 ton weight of a loaded cask
pit rack. (Tr. 4393:3-19 (Singh); PX 827 (June 2006 expert report).) The pool slab
was built on grade – not elevated – thus the weight of a loaded temporary cask pit
rack was “simply not an issue.”49/ (Tr. 4399:5-7 (Singh).)

       In the breach world, in December of 2005 in considering transferring from the
VSC-24 to the Nuclear Horizontal Modular Storage (“NUHOMS”) cask which is
heavier than a loaded temporary cask pit rack,50/ WE engineers concluded that “the
spent fuel pool structure including piles are adequate to support the NUHOMS
transfer cask.” (PX 1045 at 10.) Both the VSC-24 and NUHOMS calculations were
“QA [quality assurance]-scope calculations.” (PX 391 at WISC00123960 (QA-Scope
box checked ); PX 1045 at WISC 1045-001 (QA-scope box checked).) These safety-
related calculations are subject to retention requirements and NRC review. (PX 652
at WXE0001 0156; 10 C.F.R. § 50.59.) James Becka,51/ Project Manager, Dry Fuel


        49/
          One third of the pools in this country are elevated, making structural concerns more serious.
Point Beach’s addition of a temporary rack would be “entirely mundane.” It is a relatively small
pool and narrow. The width of the pool determines its structural capacity. The slab is five feet, eight
inches thick which is substantial for a pool of this size, and has steel and concrete piles into bedrock.
(Tr. 4382:9-24; 4385:10-4386:7 (Singh).)
        50/
          The NUHOMS transfer cask is heavier (208,520 pounds – PX 1045 at 6) than a VSC-24
transfer cask (156,467 pounds – PX 391 at WISC00123962)) or a loaded temporary cask pit rack (93
tons – 186,000 pounds (Tr. 4393:3-19 (Singh).) A NUHOMS weighs as much as a 777 airplane
(about 140 tons). (Tr. 5529:9-18 (Brewer).)
        51/
       Mr . Becka worked at Point Beach since 1992. As the Project Manager, Dry Fuel Storage
Group, he supervised the fabrication of VSC-24 Cask Nos. 13-16 and the procurement of the
NUHOMS. He was involved in the loading of all the casks at Point Beach except for the first two
VSC-24s. Mr. Becka has a degree in civil engineering from Purdue University and has been a
licensed Professional Engineer since 1986. He was a Captain in the United States Navy Reserve and
                                                                                    (continued...)
                                              -60-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 61 of 150




Storage Group, had no hesitancy about adding this load to the slab. (Tr. 1851:3-8
(Becka).)

       The government relies on Mr. Krieser’s 1994 PSC testimony that “analysis at
that time []indicated that we were approaching limits on the spent fuel pool structural
conditions.” (Tr. 1599:24-1600:1 (Krieser).) He stated in deposition that the pool
was essentially at its maximum weight. (Tr. 1600:12-22 (Krieser).) His comments,
however, were directed to possible rod consolidation – repackaging SNF rods in a
higher density array – which would be long-term storage, not the temporary cask pit
usage proffered. And, his pre-filed PSC testimony, while discounting rod
consolidation because of weight considerations, and because consolidation was not
then widely used and was labor intensive, nevertheless concluded that “limited
additional spent fuel could be accommodated.” (PX 356 (Krieser’s October 11, 1994
PSC testimony).)

       That additional weight could be accommodated is confirmed not only by the
NRC approval and subsequent use of two different heavy cask systems, but also
confirmed by Dr. Singh. The court credits WE’s position that in the non-breach
world, with DOE performing its removal obligations, a temporary cask pit rack would
have been used for the relatively short time needed for the replacement of the steam
generators, for FCR or other contingencies. The rack could have been removed as
needed for loading to DOE’s casks.

       Cooling capacity would not have prevented licensing of a temporary rack

       The court also rejects the government’s position that insufficient cooling
capacity would have precluded licensing of the temporary cask pit rack. Mr.
Hennessy testified that WE’s Reactor Engineering Department concluded that the
pool had sufficient cooling capacity to handle both a full pool and a loaded cask pit
rack, and the discharge of a core into a cask pit rack would have no impact on a
typical refueling schedule. He calculated that the maximum heat load of the pool,
assuming 1502 filled spaces (a conservative number because, as noted, two of the
spaces were not accessible) and a fully loaded cask pit rack (121 assemblies), would



       51/
       (...continued)
commanded several units, including a nuclear submarine squadron and a nuclear submarine base.

                                            -61-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 62 of 150




not be exceeded.52/ (Tr. 909:9-13 (Hennessy) (“The result was that the discharge of
a full core in this hypothetical situation in the cask pit, with all permanent cells filled,
for a total of 1623 fuel assemblies was within the capacity of the pool cooling
system.”).) Mr. Link, who was the project manager for the installation of Point
Beach’s improved cooling system in approximately 1979-1980, testified similarly.

       The anti-tipping frame could have been removed

        The government argues that the existing anti-tipping frame in the cask pit could
not have been removed; therefore, a cask pit rack could not have been inserted in this
area. The frame was not attached to the walls of the cask pit. Shims were placed
between the frame and the pool walls and there are lift lugs on the top of the frame,
all of which would aid in its removal. The frame could be removed with remote tools;
divers would not be necessary. (Tr. 4392:4-11; 4407:6-12 (Singh).) If divers were
needed, potential exposure to radiation could have been reduced by rearranging fuel
in the pool so that cooler fuel was closer to the cask pit area, or using a lead shield or
other devices. (Tr. 4445:17-4446-18 (Singh).)

       The original rationale for the anti-tipping frame, to prevent a cask placed in the
pit from falling and hitting a wall or an adjacent fuel rack, was faulty. Dr. Singh
explained that parametric studies confirm that earthquake response on a large mass
is less than on a smaller mass; therefore the massive casks that would be placed in
that pit area really would not be impacted by the anti-tipping frame which he
described as a technological dinosaur, a vestige of prior technology, a “useless
appurtenance.”

       The frame is shimmed to the walls, adjacent walls. The concept being
       that if there were an earthquake, the load from the racks will transfer to
       this frame, bottom of the frame here, the anti-tipping frame, that is, and
       then that load will ultimately get transmitted to the walls. That’s the
       concept behind this frame . . . . The concept was that a cask put in that
       space will be restrained from hitting adjacent racks if there were an


       52/
         Applying the heat standards of the American National Standards Institute (ANSI), the
September 2006 decay heat calculation assumed a full pool (1502 assemblies) and a temporary rack
with 121 assemblies from a full core offload as of December 5, 1998, for a total of 1623 fuel
assemblies. (PX 739; PX 505 (heat calculation software manual); Tr. 897:16-909:23 (Hennessy).)

                                             -62-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 63 of 150




      earthquake while the cask was in the pool. Unfortunately, the notion
      that this frame would support the cask is fundamentally flawed. The
      frame actually takes up space and, the small movement that a cask will
      sustain will cause the cask to hit the frame, which will in turn indeed hit
      the racks. The reality is that for the earthquake at Point Beach, if this
      frame were not there, the racks will be better off because the casks were
      subjected to the earthquake. They want movement. We have done a lot
      of cask simulations, and we know that the movement will be very small.
      So the bottom line, the basic statement is that I’m presenting for your
      consideration, is that this frame is not a safety device. It is a relic of the
      past, and it should be removed, whether or not a cask pit rack is put in.

(Tr. 4388-90 (Singh).) Responding to concerns about divers being used to help
remove the frame, Dr. Singh testified that remote tools can be used. His company has
removed as many as a thousand racks and appurtenances from pools using divers or
remote means. The court credits his opinion and conclusion that removing the anti-
tipping frame was well within the expertise of underwater construction capabilities
at that time.

      Cursory consideration of a temporary cask pit rack in the breach world
does not preclude its use in the non-breach world

       The government observes that there is no evidence WE seriously considered
using a temporary cask pit rack. Of course not, WE responds. WE was operating in
the breach world from about 1988. Nuclear utilities simply do not speculate about
or analyze imaginary worlds. DOE’s delays required a long-term solution which
would not include a temporary cask pit rack. The PSC subsequently approved dry
storage, providing the long-term storage needed, thereby avoiding earnest
consideration of this option.

      A temporary rack would have been used in the non-breach world

       Dr. Singh’s analysis was robust, not cursory, as suggested by the government.
Also, that he did not opine that WE would have taken this action in the plausible non-
breach world, is understandable and does not make his opinion as to the technical
feasibility of this action, irrelevant.



                                           -63-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 64 of 150




      Relying particularly on the thorough testimony and excellent credentials of Dr.
Singh, a highly qualified expert, the court finds that a temporary rack for the cask pit
area was a feasible means for WE to provide for whatever additional SNF storage
needs would occur prior to the timely commencement of full government
performance, the standard mandated by the Federal Circuit. PG & E II, 536 F.3d at
1292; Yankee II, 536 F.3d at 1273.

       The government’s expert witness, Warren Brewer,53/ did not dispute that a 121
assembly temporary rack could be installed in the cask pit area. (Tr. 5569:8-5570:10
(Brewer) (“Q: In fact, based on studies to-date, it’s your view that a temporary rack
most likely could be installed in the Point Beach pool, correct? A: I suspect a
temporary rack of some size could be installed with whatever limitations come with
that rack. . . . Q: Based on the studies to-date, isn’t it your view that a temporary rack
having 121 spaces most likely could be installed in the Point Beach pool? A: I think
it’s possible.”).) Mr. Brewer described difficulties in removing the frame because the
space is not plumb, but admitted that even if the frame had to be cut and removed in
pieces, it could be done. While he believed the licensing process could be longer than
Dr. Singh predicted, it could be done. Rather, his opinion was that a temporary rack
would not meet WE’s storage needs. “[M]y opinion is not, nor has it ever been, that



       53/
           Mr. Brewer has a masters degree in nuclear engineering from Massachusetts Institute of
Technology, and a bachelors degree in electrical engineering from Louisiana Tech University. He
also attended graduate courses at the Bettis Reactor Engineering School. Mr. Brewer has extensive
experience in nuclear power plant operations and management, and has analyzed damage claims in
other SNF cases before this court. Mr. Brewer is a principal and owner of ABZ, Inc. (he is the “B”
in the title) which has a permanent staff of four engineers, none of whom are licensed professional
engineers. Approximately 85 to 90 percent of ABZ’s work has been for the government in SNF
litigation. He was qualified as an expert in the field of nuclear engineering, including reactor
regulation, nuclear plant and equipment design and cost estimating relating to nuclear facilities. Cf.
PG & E I, 73 Fed. Cl. at 432-34 (granting motion in limine to preclude Mr. Brewer as an expert
witness) and Dairyland Power Co-op v. United States, No. 04-106C, 2008 WL 5122339, at *12-13
(Fed. Cl. June 20, 2008) (denying motion to exclude Brewer’s critique of utility’s expert report of
the increased costs of removing the reactor pressure vessel from the plant due to the presence of
SNF); Boston Edison Co. v. United States, 80 Fed. Cl. 468, 477 n.12 (2008) (reciting that Mr.
Brewer testified as a decommissioning cost expert); Sys. Fuels, 78 Fed. Cl. at 796-97 (citing to Mr.
Brewer’s expert opinion whether certain costs were incremental to DOE’s partial breach); Boston
Edison Co. v. United States, Nos. 99-447C, 03-2626, 2007 WL 4748060 (Fed. Cl. June 1, 2007)
(denying motion in limine to exclude Mr. Brewer’s testimony); TVA, 69 Fed. Cl. 515, 535 (2006)
(citing Brewer’s analysis).
                                                 -64-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 65 of 150




such a rack is simply technically infeasible. That has never been my comment and
isn’t now.” (Tr. 5571:11-14 (Brewer).)

        The court concludes that in the non-breach world with DOE fully performing
at the rates in the 1987 ACR, WE would not have built a separate dry storage facility,
but rather would have taken measures to prolong available pool space for the short
time until DOE started removing substantial amounts of SNF from its pools. Any
space shortages and any need for FCR would have been accommodated with a
temporary cask pit rack.

In the non-breach world, the PSC would not have approved the dry cask storage
project; it would not have been built; the costs therefore would not have been
incurred

       Having found that WE met its burden to establish what it would have done in
the non-breach world if DOE timely performed at the rates in the 1987 ACR and the
costs thereof, it is further found that, in the non-breach world, the PSC would not
have approved a WE dry storage project. The record of the PSC proceeding on WE’s
application in the breach world clearly shows that DOE’s failure to perform was the
key factor behind the PSC approval. With DOE fully performing, the PSC’s statutory
obligation not to approve construction of any project greater than necessary to meet
the ratepayers’ minimum needs would have doomed any WE request to spend some
ten million dollars to meet, at the outside, a short-term shortage that could have been
ameliorated by the fuel management techniques mentioned and/or the use of a
temporary cask pit rack.




                                         -65-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 66 of 150




      WE could not construct a dry storage facility without the approval of the
PSC. Under Wisconsin law, dry storage would not have been approved if the PSC
      54/


found it would provide excess capacity.

        The commission may refuse to certify a project if it appears that the
        completion of the project will do any of the following:
        1. Substantially impair the efficiency of the service of the public utility.
        2. Provide facilities unreasonably in excess of the probable future
        requirements.
        3. When placed in operation, add to the cost of service without
        proportionately increasing the value or available quantity of service
        unless the public utility waives consideration by the commission, in the
        fixation of rates, of such consequent increase of cost of service.

Wis. Stat. § 196.49(3)(b).

       The PSC’s lengthy EIS, reciting these requirements slightly differently, stated
that for approval, the Commission had to find that the ISFSI and 12 casks would not:

        1. Substantially impair the efficiency of providing electricity;
        2. Provide more facilities than are reasonably needed in the future; or
        3. Increase the cost of power disproportionately to the increased or more
        valuable power provided by the project.




        54/
           The government does not deny PSC approval was required. (Def.’s Resp. Pl.’s PFF [388]
at 241 (“PSCW approval is necessary for any capital expenditure, such as the ISFSI project or steam
generator replacements, to be included within [WE’s] rate base.”).) The government contends PSC
approval was required for “any modification.” (Id. at 188 (citing Tr. 2589:22-2590:7 (Farron)); see
also DX 15 at 2 (ISFSI Work Order Requisition of May 3, 1989 stating that “[a]pproval of the Public
Service Commission of Wisconsin (PSCW) is required.”). The cost threshold for required approval
is a project cost of over $100,000 for an electric utility with operating revenues of less than
$5,000,000 in the prior year. With operating revenues of between 5 and 250 million dollars, any
project with estimated gross costs of more than 2 percent of revenue must be approved. With
operating revenues of more than $250 million, any project with estimated gross costs of more than
five million dollars must be approved. After 2000, these amounts were adjusted for inflation. Wis.
Adm. Code § PSC 112.05 (1995). This Code section was cited in WE’s November 15, 1991 PSC
application cover letter. (PX 236 at 1.)
                                               -66-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 67 of 150




(PX 346 at 15.) The PSC approved the dry storage project because DOE’s breach
required additional storage, reasoning that although WE had contracted with DOE to
begin removing SNF in 1998, DOE had no storage or disposal facility and did not
expect one until 2010; other estimates ranged from 2023 to indefinite. (PX 374 at 4,
12, 22.) Absent the breach, with DOE performance, there would exist no basis on
which the PSC could approve the construction of a controversial separate dry storage
facility. As WE hypothesized: “it is hard to conceive that the [PSC] would not have
jumped at the opportunity for Point Beach to avoid dry storage in the non-breach
world.” (Pl.’s Reply Br. [407] at 47.)

      The PSC proceedings were lengthy and contentious. The draft EIS generated
532 comments from a myriad of organizations and individuals. (PX 346 at
WISC0003830-38.) Following extensive investigation, response to questioning and
other vetting, public hearings were held on October 11-28, 1994. (PX 374 at 3.)
Several hundred people attended. “The Commission granted $253,122 in intervenor
compensation55/ to citizens’ groups to insure that all points of view were adequately
represented.” (Id. at 6.) Intervenors raised serious questions about the proposed
ISFSI becoming a permanent repository, perhaps for SNF from other than Point
Beach. (Id.) CUB sued to enjoin the project. The Dane County Wisconsin Circuit
Court in a thirty-seven page decision dated December 22, 1995, invalidated PSC’s
approval, finding the EIS was inadequate. (PX 481 (CUB v. PSC, No. 95 CV 676
(Dane County Cir. Ct. Dec. 22, 1995).) The Court of Appeals reversed, giving
deference to the PSC’s finding that the EIS was adequate. Citizens’ Util. Bd. v. PSC,
565 N.W.2d 554, 562-63 (Wis. Ct. App. 1997). Nevertheless, the PSC supplemented
the EIS and held additional hearings. Supplemental findings included that the ISFSI
and 12 VSC-24 casks were necessary to meet the reasonable needs of the public for
power and “will not . . . provide facilities in excess of probable future
requirements, or add to the cost of service without proportionately increasing the
value and available quantity of service.” (DX 3 at 28 (emphasis added).)

       The original EIS in August of 1994 also considered possible excess capacity
and reviewed alternatives to the proposed ISFSI, including building a second pool to
hold all the SNF produced until the then-end of the respective licenses. That option,
with an estimated cost of $24 million and annual operating costs of $500,000, was
rejected as creating excess capacity if DOE performed. “This means that [WE] would
have to spend money now for a pool that could hold 1152 fuel assemblies and a

      55/
        Presumably, this amount was added to the rate-base and recovered from rate payers.
                                           -67-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 68 of 150




transport cask loading/unloading space. If fuel shipment to DOE begins before the
end of license, money spent on excess capacity would be wasted.” (DX 26A at 87.)
These concerns certainly would have been magnified if it was considered that DOE
would fully perform at the 1987 ACR rates. In that event, SNF would have been
picked up quickly in the first two years when WE’s pool would otherwise be close to
maximum capacity, and DOE’s removals would then more than keep up with the SNF
discharge, resulting in a reduction of pool inventory.

       The statutory standards against overbuilding were also cited in the PSC’s
subsequent approval of an additional thirty-six casks on March 27, 2001. The PSC
found these additional casks “will not provide facilities unreasonably in excess of
[WE’s] probable future requirements[;] . . . the value or available quantity of [WE’s]
electrical service will increase by an amount that is proportionate to the increase in
cost-of-service[;] . . . [and] [t]he public convenience and necessity require completion
of this project.”56/ (PX 592 at 3.)

      The PSC rejected another utility’s proposal because cost was out of proportion
to the value to the utility. In Wisconsin Power & Light Co. v. Public Service
Commission of Wisconsin, 437 N.W.2d 888 (Wis. Ct. App. 1989), the court upheld
the PSC’s finding that the proposed construction project “‘would not significantly
improve the efficiency or reliability of the [company’s] electrical system, and
consequently it would add to the cost of electric service for all ratepayers without
proportionately increasing the value of service.’” Id. at 893 (alteration in original).

       As noted, WE has established that in the non-breach world, with DOE timely
commencing performance at the rates in the 1987 ACR, WE would not have incurred
the dry storage and other attendant incremental costs awarded herein. Yankee II, 536
F.3d at 1273 (citing Glendale Fed. Bank, FSB v. United States, 239 F.3d 1374, 1380
(Fed. Cir. 2001) (“instructing that plaintiffs bear the burden of demonstrating ‘what
might have been’”) and Bluebonnet Sav. Bank FSB v. United States, 67 Fed. Cl. 231,
238 (2005) (“‘[B]ecause plaintiffs in this case are seeking expectancy damages, it is


       56/
         Indicative of the scrutiny and analysis, WE’s application to acquire thirty-six additional
casks was filed on May 2, 2000. Public hearings were held in two locations on December 18 and
20, 2000. The public comment period closed on January 16, 2001. Briefing was completed on
February 5, 2001. Interested parties included CUB, the Lake Michigan Coalition, Fawn Shillinglaw,
the Local International Brotherhood of Electrical Workers and the Wisconsin Paper Council. (PX
592.)
                                               -68-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 69 of 150




incumbent upon them to establish a plausible ‘but-for’ world.’”)). Construction of
an ISFSI and purchase and loading of casks to cover any brief shortfall would run
afoul of Wisconsin state law by creating a capital asset unreasonably in excess of
WE’s probable future requirements, and the value to WE’s electrical rate-payers
would not increase proportionately to the massive expenditures required. The venting
of a WE application in the breach world would have likely been more strident in that,
with relatively inexpensive alternatives available, the construction of a concrete
football field-sized ISFSI with huge concrete casks, which would eventually have to
be demolished when the plant was decommissioned, would not have passed
regulatory scrutiny. Accordingly, it is found that it is highly unlikely that the
expenditures for which judgment is granted herein would have been incurred or, with
the existing regulatory regime, have been authorized to have been incurred, had DOE
timely commenced full performance at the rates in the 1987 ACR. Slattery v. United
States, 583 F.3d 800, 817 (Fed. Cir. 2009) (concluding the government did not
establish clear error in the finding that it was “unlikely” the bank would have failed
in the hypothetical non-breach world free of the government’s breach). Awarding
these costs does not place WE in a better position than if DOE had performed.

WE met its non-breach world burdens – application of the 1987 ACR

       The government asserts in supplemental briefing that, by not specifically
applying the 1987 ACR rate at trial, by not having a witness predict what WE would
have done if DOE had performed at the rates in the 1987 ACR, WE failed in its
burden of proof, citing from Yankee II that “‘[w]ithout record evidence about the
Yankees’ condition with full Government performance, the Court of Federal
Claims could not perform the necessary comparison between the breach and non-
breach worlds and thus could not accurately assess the Yankees’ damages.’” (Def.’s
Supp. Br. at 5 [415] (emphasis in original) (citing Yankee II, 536 F.3d at 1273).) The
Federal Circuit selected the 1987 ACR from among several possible performance
standards, recognizing it was not perfect, but was a prediction of the first ten years
of performance made fairly close in time to contracting, when both parties for the
most part assumed timely performance, even though amendment of the NWPA was
necessary and there was already talk of delay. Neither party however advocated the
1987 ACR as the non-breach world standard.57/ Not to have predicted this particular
rate for the hypothetical non-breach world was neither a failure of proof nor of

       57/
         The 1987 ACR, which like other ACRs issued by DOE, stated that it was not contractually
binding, had not at that time been either argued or selected as the non-breach world standard.
                                                -69-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 70 of 150




defense. See Carolina Power II, 573 F.3d at 1275 (rejecting the government’s
position that the utility waived the opportunity to prove damages under the 1987 ACR
rate by not anticipating the Federal Circuit’s sua sponte selection of that rate).

       On August 7, 2008, the court ordered supplemental briefs following the Yankee
trio. On August 14, 2008, the government filed a motion for a status conference and
an enlargement to time to file its supplemental brief. In that motion, the government
stated that it learned that WE intended to present supplemental expert analysis in
response to the Yankee trio during closing arguments (which had not yet been held).
The government objected to this “trial supplementation by surprise.” (Def.’s Status
Conf. Mot. [410] at 2.) WE responded that it did not seek to introduce new expert
reports but only calculations confirming that the 1987 ACR rate did not affect WE’s
position on causation. (Pl.’s Resp. Status Conf. Mot. [411] at 3.) While
Supplemental Reports of experts Supko,58/ and Sieracki, were attached, WE’s
Response stated they were not necessary for the court to conclude on the then-
existing record that the 1987ACR would not impact WE’s causation analysis or its
damages. (Id.) In the telephone status conference held on August 15, 2008, counsel
were informed that the court had been able to apply the 1987 ACR rate to pre-existing
record evidence without expert assistance.

       Unspecified claims of prejudice or error are rejected. In Carolina Power II, the
Federal Circuit declined the utility’s request to apply the minimal difference between
the 1987 ACR and the rate used by the trial court because “the practical equivalency
of the 1987 and 2004 rates [advocated at trial] may well be a matter that can be tested
by fairly simple arithmetic, it is nonetheless a factual issue properly within the
purview of the trial court.”). 573 F.3d at 1276. While somewhat tedious, the
application of the 1987 ACR rates to known quantities and ranking of SNF is not
difficult, and does not require expert testimony. There is ample evidence in the
record of what WE would or could have done, or been allowed or required to do to
meet short-term storage needs if DOE had performed at various levels, both greater

       58/
          Ms. Supko’s numbers vary a bit from the utility-specific allocations in the 1987 ACR
because the discharge data did not include government-owned and non-utility company SNF
included in subsequent DOE publications. See Supko Supplemental Expert Report filed on
November 6, 2008 in Power Authority v. United States, 00-703, p. 7 n.6; see also Pl.’s Supp. Br.
[416] at 11 n.5. The differences are not significant. The first variation is not until 2002, five years
after WE’s critical need. Using either set of numbers, WE’s yearly allocations exceed its annual
discharges after the first couple of years.

                                                 -70-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 71 of 150




and less than the 1987 ACR. The 1987 ACR is in the record (PX 123; DX 542) as
are costs, options, analyses, opinions and predictions as to actions that could or would
have been taken. Application of the 1987 ACR rate was addressed at final argument.
Applying the 1987 ACR rates caused the government to adjust the WE damages it
conceded upwards because of the additional SNF which would have been picked-up
under the more robust 1987 ACR, a concession that demonstrates conclusions can be
readjusted with a change in assumptions.

       The 1987 ACR includes a Table with an ordinal ranking of all domestic
commercial SNF, chronologically by date of discharge from the reactor, with a
separate entry for each discharge, starting with oldest. (PX 123, App. B.) The utility
is identified along with the amount of SNF discharged on that date (in both number
of assemblies and MTU), and in the far right-hand column, aggregate industry
cumulative in MTU. Illustratively, the Table starts with 4.58 MTU discharged from
Commonwealth Edison’s Dresden I reactor in September of 1969, and continues
through 22 pages, aggregating to 18,599.75 MTU with the last entry being 1.620
MTU discharged from the Houston Lighting and Power’s South Texas reactor in
January of 1989. (Id., B.1- B.25.)

       Under the 1987 ACR DOE picks up a total of 1200 MTU in 1998, which under
OFF means that first 1200 MTU of allocations is available to the utilities with the
oldest 1200 MTU. The industry cumulative total of 1186.70 MTU59/ (closest to 1200
MTU) is reached with the approximately 58 MTU discharged from Maine Yankee’s
reactor in May of 1975. (Id. at B.5.) Discharges above that line receive the initial
allocations.

       WE’s allocations for 1998 are determined by simply selecting WE’s discharges
in that grouping of the oldest 1200 MTU. Annual allocations under the 1987 ACR
are in MTU. Utility discharges are in MTU and number of assemblies. Cumulative
aggregate data is only in MTU. Illustratively, WE’s allocations under the 1987 ACR
for 1998 are 16.279 MTU (41 assemblies – discharged in September of 1972); 28.632
MTU (74 assemblies – discharged in April of 1974) and 14.373 MTU (36 assemblies
– discharged in October of 1974). (Id. at B.3-4.) These three discharges total 59.28
MTU (151 assemblies).



       59/
       1200 MTU is accepted in 1998. The next oldest fuel would bring the cumulative total over
1200 MTU.
                                          -71-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 72 of 150




       For ease of reference, Appendix A of the 1987 ACR also lists the total annual
allocations by utility gleaned from the previous exercise. WE’s allocations for 1998
(“Year 1”) are 151 assemblies/59.28 MTU explained immediately above. The next
nine years allocations are provided in the same fashion. (Id. at A.1-42.)

       Although the Standard Contract requires DOE to begin removal no later than
January 31, 1998, and the 1987 ACR allocates on an annual basis, the contract is
silent as to when during the “year” DOE would perform. The Standard Contract
requires the parties to “seek to negotiate mutually acceptable schedule(s).” (PX 41
at Art. V.B.2; PX 1052 (Milner Dep. Desig. 5/1/02 Tr. 82:2-85:24 (“My personal
opinion of [the DOE objectives on page 29 of the June 1985 Mission Plan] was that
given the limitations of the spent fuel pools of various utilities, that in essence we
would pick up the fuel before a utility ran out of pool storage capacity which would
then force it to shutdown.”).) Reasonableness and good faith are presumed as
confirmed by testimony and evidence. S. Nuclear, 77 Fed. Cl. at 436 (“[A] provision
which calls upon the parties to a contract to agree in the future on a specified point
or contract term . . . imposes an obligation on the parties to negotiate in good faith.”)
(citations omitted).

      Given two SNF discharges into the pool each year (one per reactor, each
increasing the pool assembly inventory by 28), there are three possible scenarios
during a “year” for DOE to remove WE’s SNF allocation: (1) before the spring
discharge; (2) after the spring discharge; or (3) after the fall discharge. The following
timetable graphs depict the condition of WE’s pool inventory with full government
performance under the 1987 ACR. Applying WE’s undisputed allocations under the
1987 ACR to pool assembly inventory starting after the 1997 fall discharge, the
graphs illustrate why WE would not have built dry storage. Conservatively
calculating, without any fuel management techniques or augmentation under the
Standard Contract (such as the plus or minus twenty percent provision) and assuming
28-assembly discharges at both the spring and fall outages (a number that could have
been reduced), while approaching capacity and possible need to use the temporary
cask pit rack (which WE asserts it would have done in the non-breach world), DOE’s
performance would have quickly decreased pool inventory, providing additional
storage space, thereby eliminating the need for dry storage.




                                          -72-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 73 of 150




       DOE collection prior to spring discharge

       Table A and Graph A assume DOE removes WE’s 1998 allocations from the
1987 ACR before WE’s 1998 spring discharge. Starting with Mr. Hennessy’s
inventory of 1473 assemblies60/ after WE’s 1997 fall discharge, Table A chronicles
the rise and fall in the number of assemblies, with additions to, and subtractions from,
the wet pool. DOE removes 151 assemblies (WE’s 1998 allocation from the 1987
ACR) before WE’s 1998 spring discharge, reducing the wet pool inventory to 1322
assemblies. With 28 assemblies discharged in the spring of 1998, pool inventory
increases to 1350 assemblies, and 1378 assemblies after the 1998 fall discharge.
Before the 1999 spring discharge, DOE removes 119 assemblies (WE’s 1999
allocation in the 1987 ACR), reducing the pool inventory to 1259 assemblies. With
28 assemblies discharged in the spring of 1999, pool inventory increases to 1287
assemblies, and 1315 assemblies after the 1999 fall discharge. Successive inventory
calculations for 2000 through 2007 (the last year in the 1987 ACR) are detailed using
the same convention.

      The series of bars in Graph A illustrate this plausible non-breach world of full
government performance. In contrast, the background shading depicts WE’s breach
world’s storage situation – what would have happened if WE, like the government,
had done nothing. Capacity is rapidly exceeded. This comparative depiction (and the
others following) illustrates that the absence of contract performance by the
government was the actual and the substantial causal factor for SNF dry storage, and
demonstrates that in the non-breach world of the 1987 ACR, dry storage would not
have been needed.




       60/
         Mr. Hennessy’s inventory was in assemblies, not MTU. Accordingly, the chart arithmetic
uses assemblies from his inventory and WE’s allocation of assemblies in the 1987 ACR.
                                             -73-
Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 74 of 150



        (Table A) - 1987 ACR DOE Removal Before Spring Discharge Using
        1997 After Fall Discharge Inventory of 1473
                                                Spring                       1987 ACR
                     SNF Pool Inventory                     Fall Discharge
                                             Discharge (28                      DOE
                   (assemblies) after DOE                  (28 assemblies
                                              assemblies                     Removal
                 Removal (shaded column)                   added to pool)
                                            added to pool)                 (assemblies)

         1998     1473 - 151 = 1322             1350           1378            151
         1999     1378 - 119 = 1259             1287           1315            119
         2000      1315 - 92 = 1223             1251           1279            92
         2001      1279 - 62 = 1217             1245           1273            62
         2002      1273 - 58 = 1215             1243           1271            58
         2003      1271 - 98 = 1173             1201           1229            98
         2004     1229 - 109 = 1120             1148           1176            109
         2005     1176 - 131 = 1045             1073           1101            131
         2006      1101 - 96 = 1005             1033           1061            96
         2007       1061 - 64 = 997             1025           1053            64
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 75 of 150




      DOE collection after spring discharge

       Table B and Graph B assume DOE removes WE’s 1998 allocations from the
1987 ACR after WE’s 1998 spring discharge. Starting with Mr. Hennessy’s
inventory of 1473 assemblies after WE’s 1997 fall discharge, Table B chronicles the
rise and fall in the number of assemblies, with additions to, and subtractions from, the
wet pool. With 28 assemblies discharged in the spring of 1998, pool inventory
increases to 1501 assemblies. DOE removes 151 assemblies (WE’s 1998 allocation
in the 1987 ACR), reducing wet pool inventory to 1350 assemblies. With 28
assemblies added in the 1998 fall discharge, inventory increases to 1378 assemblies.
With 28 assemblies added in the 1999 spring discharge, inventory increases to 1406
assemblies. DOE removes 199 assemblies (WE’s 1999 allocation in the 1987 ACR),
reducing inventory to 1287. With WE’s 1999 fall discharge of 28 assemblies,
inventory increases to 1315 assemblies. Successive inventory calculations for 2000
through 2007 (2007 being the last year in the 1987 ACR) are detailed applying the
same convention.

      The series of bars in Graph B illustrate this plausible non-breach world of full
government performance. In contrast, the background shading depicts the breach
world’s storage situation – what would have happened if WE, like the government,
had done nothing. Capacity is rapidly exceeded. This comparative depiction (and the
others following) illustrates that the absence of contract performance by the
government was the actual and the substantial causal factor for SNF dry storage, and
demonstrates that in the non-breach world of the 1987 ACR, dry storage would not
have been needed.




                                          -74-
Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 76 of 150



        (Table B) - 1987 ACR DOE Removal After Spring Discharge Using
        1997 After Fall Discharge Inventory of 1473
                     Spring                                                1987 ACR
                                    SNF Pool Inventory    Fall Discharge
                  Discharge (28                                               DOE
                                  (assemblies) after DOE (28 assemblies
                   assemblies                                              Removal
                                Removal (shaded column) added to pool)
                 added to pool)                                          (assemblies)

         1998        1501         1501 - 151= 1350            1378           151
         1999        1406         1406 - 119 = 1287           1315           119
         2000        1343         1343 - 92 = 1251            1279            92
         2001        1307         1307 - 62 = 1245            1273            62
         2002        1301         1301 - 58 = 1243            1271            58
         2003        1299         1299 - 98 = 1201            1229            98
         2004        1257         1257 - 109 = 1148           1176           109
         2005        1204         1204 -131 = 1073            1101           131
         2006        1129         1129 - 96 = 1033            1061            96
         2007        1089         1089 - 64 = 1025            1053            64
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 77 of 150




       Both Table and Graph B depict a brief minor encroachment on pool capacity
(1501 assembly inventory following the 1998 spring discharge) one graphically, one
numerically. To reiterate, using fuel management techniques to reduce the number
of assemblies going into the pool, WE could and would have avoided exceeding the
1500 assembly capacity, or could and would have utilized a temporary cask pit rack
to accommodate any SNF assembly causing the pool to exceed capacity, and for any
other contingencies, worked with DOE to accelerate pickups, or utilized exchanges
or other measures to avoid shutdown.

       DOE collection after fall discharge

        Table C and Graph C assume DOE removes WE’s 1998 allocations from the
1987 ACR after WE’s 1998 fall discharge.61/ Starting with Mr. Hennessy’s inventory
of 1473 assemblies after WE’s 1997 fall discharge, Table C chronicles the rise and
fall in the number of assemblies, with additions to, and subtractions from, the wet
pool. With 28 assemblies discharged in the spring of 1998, pool inventory increases
to 1501 assemblies. With 28 assemblies discharged in the fall of 1998, pool
inventory increases to 1529 assemblies. DOE removes 151 assemblies (WE’s 1998
allocation in the 1987 ACR), reducing the pool inventory to 1378 assemblies. With
28 assemblies discharged in the spring of 1999, inventory increases to 1406
assemblies and 1434 assemblies with the fall 1999 discharge. DOE removes 119


       61/
          It is not clear whether DOE removals would ever be after fall discharges in the non-breach
world regardless of annual rates applied. The Standard Contract defines a year as the “period which
begins on October 1 and ends on September 30.” (PX 41 at Art. I (20).) Utility reporting of
discharges was also on a fiscal year basis. (Id. at Art. IV.A.1.) Most of WE’s fall discharges were
predicted to be in September. Certainly in the non-breach world if DOE’s pickup was on September
30, the very end of the fiscal year, that discharge would likely be postponed if necessary for a short
time to allow for the reduction in pool inventory afforded by DOE’s collections. (Id. at
KRGWE002165 (ten-year discharge forecast for Unit 2 with six of ten years predicted to be in
September).) WE’s RW-859 with data as of December 31, 1992 for Unit 2 (the fall discharger)
projected shutdown dates of September 25, 1993; October 8, 1994; September 30, 1995; and
September 28, 1996, each with a 28 assembly discharge. (PX 280 at WISC00098967.) WE’s RW-
859 dated February 10, 1994 for Unit 2 projected shutdown dates of September 24, 1994; September
30, 1995; September 28, 1996; October 4, 1997; and October 3, 1998 with discharges from 24 to 28
assemblies. (PX 327 at HQR3640788.) Accordingly, in the non-breach world, in most instances,
DOE’s annual pick-ups would be (or could likely have been) before fall outages and consequent
additions to the pool. WE’s Final Delivery Schedule (“FDS”) submitted in December of 1997
estimated delivery of WE’s 1998 allotments between December 30 and 31, 1998, was in the breach
world, where performance was not anticipated.
                                                  -75-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 78 of 150




assemblies (WE’s 1999 allocation in the 1987 ACR), reducing inventory to 1315
assemblies. Successive inventory calculations for 2000 through 2007 (2007 being the
last year in the 1987 ACR) are detailed applying the same convention.

      The series of bars in Graph C illustrate this plausible non-breach world of full
government performance. In contrast, the background shading depicts the breach
world’s storage situation – what would have happened if WE, like the government,
had done nothing. Capacity is rapidly exceeded. This comparative depiction (and the
others following) illustrates that the absence of contract performance by the
government was the actual and the substantial causal factor for SNF dry storage, and
demonstrates that in the non-breach world of the 1987 ACR, dry storage would not
have been needed.




                                         -76-
Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 79 of 150



        (Table C) - 1987 ACR DOE Removal After Fall Discharge Using
        1997 After Fall Discharge Inventory of 1473
                     Spring                                               1987 ACR
                                 Fall Discharge    SNF Pool Inventory
                  Discharge (28                                              DOE
                                (28 assemblies   (assemblies) after DOE
                   assemblies                                             Removal
                                added to pool) Removal (shaded column)
                 added to pool)                                         (assemblies)

         1998       1501           1529         1529 - 151 = 1378           151
         1999       1406           1434         1434 - 119 = 1315           119
         2000       1343           1371          1371 - 92 = 1279            92
         2001       1307           1335          1335 - 62 = 1273            62
         2002       1301           1329          1329 - 58 = 1271            58
         2003       1299           1327          1327 - 98 = 1229            98
         2004       1257           1285         1285 - 109 = 1176           109
         2005       1204           1232         1232 - 131 = 1101           131
         2006       1129           1157          1157 - 96 = 1061            96
         2007       1089           1117          1117 - 64 = 1053            64
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 80 of 150




       Both Table and Graph C depict two brief minor encroachments on pool
capacity (1501 assembly inventory following the 1998 spring discharge and 1529
following the 1998 fall discharge) one graphically, one numerically. To reiterate,
using fuel management techniques to reduce the number of assemblies going into the
pool, WE could and would have avoided exceeding the 1500 assembly capacity, or
could and would have utilized a temporary cask pit rack to accommodate any SNF
assembly causing the pool to exceed capacity, and for any other contingencies,
worked with DOE to accelerate pickups, or utilized exchanges or other measures to
avoid shutdown.

      For the reasons previously stated, it also is highly unlikely that the PSC would
have allowed WE to build the ISFSI regardless of the timing of DOE’s collections.

       The circumstance that WE’s allocations were not calculated using the 1987
rates is irrelevant. At trial, the government advocated the lower rates of the 1991
ACR; WE used the higher rates advanced by its expert witness Eileen Supko.62/
Under the 1987 ACR, WE has more allocations (270 assemblies) in the first two years
(1998 and 1999) than either the Supko or the 1991 ACR rates (151). Following the
Federal Circuit’s PG & E II decision, as noted, WE submitted supplemental affidavits
of Supko and Sieracki applying the 1987 ACR rates showing no relevant changes.63/

       At trial Ms. Supko opined that in the non-breach world of the ERI rate, WE
would not have run out of storage space and would not have built dry storage. She
subsequently, post-trial, opined to the obvious – that with more SNF collected, WE
still would not have run out of storage space and still would not have built dry
storage. This is not new evidence; this is application of record data in a different
fashion using a rate adopted by the Federal Circuit after trial. Under these
circumstances, the absence of oral testimony as to a specific hypothetical, when the



       62/
          Expert witness Eileen Supko, has a B.S. in Nuclear Engineering from Pennsylvania State
University. She is a Senior Consultant and owner of Energy Resources International, Inc., (“ERI”)
a consulting firm with extensive expertise in the nuclear power industry. She has testified as an
expert in many SNF cases. (Tr. 3017; 3062:14-16 (Supko).)
       63/
         Alternatively and cumulatively, were it to be determined that DOE’s performance in the
non-breach world would have been at the rates in the 1991 ACR as the government has consistently
argued in this court and to the Federal Circuit, the court’s findings and conclusions would be the
same. The Appendix to this Opinion by graphs illustrates the application of the 1991 ACR rate.
                                                -77-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 81 of 150




record contains the application of a similar, but more restrictive hypothetical, is of no
relevant moment, particularly when computations are essentially ministerial.

       The following illustrates WE’s allocations under the 1987 ACR compared to
the respective rates presented at trial. To repeat, WE’s allocations in the early years
are greater than those used by both the government and WE’s expert, particularly in
1998 and 1999, when as trial evidence and the graphs above illustrate, capacity
concerns would have been the greatest. Evidence that WE would not have built dry
storage given government removals at lower removal rates clearly demonstrates that
WE would not have built dry storage if the government removed still more SNF.

        Year            1987 ACR64/        WE’s Expert Trial     Gov’t’s Expert Trial
                                                Rate65/                 Rate66/
                    Assemblies   M TU     Assemblies   M TU      Assemblies   M TU

            1998      151         59.28       41        16.28        41         16.28
            1999      119         46.83     110         43         110          43.01
            2000        92        36.74       82        32.557       50         19.77
            2001        62        24.83     162         64.2         69         27.07
            2002        58        23.28     125         50.17        92         36.74
            2003        98        39.41     142         57.01        62         24.83
            2004      109         43.75       75        29.93        25         10.04
            2005      131         52.52     135         53.73        32         12.84
            2006        96        38.48     100         37.82        40         16.07
            2007        64        24.15     103         37.68       54          21.73
     Totals 1998-      270       106.11     151         59.28      151          59.29
          1999
     Totals 1998-      980       389.27    1075        422.377     575         228.38
          2007



      64/
        (PX 123.)
      65/
        (PX 791, Table 3.) Ms. Supko used the 3000 MTU annual rate with a five-year ramp-up
(400 MTU in 1998; 600 MTU in 1999; 1200 MTU in 2000; 2000 MTU in 2001; and then 3000
MTU steady state. (Id. at 6.).
      66/
         (PX 237 at 5.) The 1991 ACR rates used by the government were 400 MTU in 1998; 600
in 1999 and 900 MTU annually through 2007.
                                            -78-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 82 of 150




       WE’s position at trial was that in the non-breach world, DOE would have
picked up SNF at “a substantial rate,” to preclude any additional at-reactor storage
after January 31, 1998, and then robust enough to work-off the backlog. (Pl.’s Resp.
Status Conf. Mot.[411] at 1.) Rather than “new” evidence or new opinion, WE
simply had the 1987 ACR rate applied “through Ms. Supko’s spent fuel allocation
model (PX 791) and through the Kenrich fuel management model (PX 796) to
confirm that the PG & E [1987 ACR] acceptance rates do not change WE’s
damages in this case.” (Id. at 4 (emphasis in original).)

      The government is very familiar with the work of Supko and Kenrich from this
and other SNF cases. Analysis by these experts travels a well-worn path. These
experts were examined in deposition and at trial at length regarding models used to
calculate Point Beach SNF allocations and pool inventories. The models did not
change. The affidavits were supplied to the government ten days prior to the then-
scheduled post-trial oral argument.

       In turn, on September 17, 2008, prior to oral argument, the government filed
its Supplemental Brief and expert reports from Messrs. Warren Brewer, Cliff Hamal67/

       67/
           Cliff Hamal received his bachelor’s degree from the United States Merchant Marine
Academy, with dual majors in marine engineering (power systems and power plants as they apply
to merchant ships) and marine transportation, and his Master of Science degree from
Carnegie-Mellon University in industrial administration (economics, risk and business decision-
making), subsequently re-titled a Master’s in Business Administration. He was trained in nuclear
power operations, attended a 13 month DOE course administered by General Electric that lead to
certain qualifications in operating DOE nuclear power plants. He worked in power plant operations
in cargo ships, then for General Electric at a DOE facility for three years in operations and training
related to power plant operations. Mr. Hamal was then employed by Westinghouse, where he taught
nuclear engineers and operators in various aspects of commercial nuclear operations, including
reactor engineering, and then as a project engineer assigned to oversee services, including nuclear
fuel and refueling operations, that Westinghouse provided to two commercial nuclear power plants,
including Point Beach. He was qualified as a senior reactor operator, nuclear plant engineer,
engineer officer of the watch and third assistant engineer. At the time of his testimony, Mr. Hamal
was a consultant with LECG, an economic and finance consulting firm and had been since 1989.
His consulting work concerning the economics of the electricity industry includes investment and
anti-trust analyses. His experience includes electricity market design, including rate base prudence
of a nuclear power plant; replacement power issues regarding an extended outage at a nuclear power
plant; decision-making whether to modify a nuclear power plant, international nuclear fuel issues,
and power plants profitability strategies. Mr. Hamal qualified as an expert witness more than 20
times. Mr. Hamal was qualified as an expert related to business decision-making, economic analysis,
                                                                                        (continued...)
                                                -79-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 83 of 150




and Stephen Kiraly68/ applying WE’s allocations under the 1987 ACR. Mr. Brewer
opined that WE would have loaded 221 truck casks for delivery of allocated SNF to
DOE between 1998 and 2006. Because the contract requires WE to bear the cost of
loading to whatever mode of transportation DOE brings to the site to take away the
SNF, Mr. Kiraly calculated that WE avoided loading costs totaled $8,168,515.69/
(Def.’s Supp. Br. [415] at 12.) The validity of claiming this asserted cost as an offset
is addressed infra.

       In addition to using the 1987 ACR rates to urge higher avoided loading costs,
the government also increased its concession of WE’s minimum damages. The
government’s position at trial was that because of DOE’s failure to begin collection
at the 1991 ACR rates, WE would have built dry storage in the non-breach world and
some casks purchases were attributable to DOE’s delays. The government initially
conceded that WE was entitled to mitigation costs of $10,259,004 (the difference in
the costs incurred in the breach world and the costs that would have been incurred in
the non-breach world). With the Federal Circuit’s adoption of the 1987 ACR as the
non-breach world standard, while continuing to assert WE would have built dry
storage, with the more robust acceptance schedule, the incremental difference in costs
is greater. As a result, the government concedes that under the 1987 ACR WE’s
minimum damages equal $12,405,189. (Id. at 17.)

       67/
         (...continued)
and the analysis of damages claims in the electric industry.
       68/
           Stephen Kiraly is a managing director at LitCon Group, LLC, a fifteen employee
consulting firm with offices in Alexandria, Virginia and Pittsburgh, Pennsylvania, that provides
financial analysis, forensic accounting and valuation services. He has a B.S. degree in accounting
and an MBA with a concentration in accounting, both from the University of Tampa in Florida. He
holds a Florida CPA license and has extensive accounting experience. He has performed damages
analysis in a variety of contract cases, including claims for equitable adjustments in government
contracts, false claims and allowable costs under government contracts. He calculated damages and
testified in several other spent nuclear fuel cases. He was retained by the government to review
WE’s claimed costs, assess whether they had been incurred and attributable to the partial breach –
compare costs that were incurred in the breach world and costs that would have been incurred in the
non-breach world. He was qualified as an expert in damage analysis of construction and government
contract cases and cost and pricing data relating to incurred costs and financial analysis. (Tr. 6073:3-
6090:22 (Kiraly).)
       69/
         According to the government, Mr. Brewer’s supplemental affidavit is based only on
evidence in the pre-existing trial record. Mssrs. Hamal’s and Kiraly’s reports are offered only in the
event that the court admits the supplemental affidavits of Supko and Sieracki.
                                                 -80-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 84 of 150




        As noted, the circumstance that trial evidence of WE’s condition was not
specifically directed to DOE’s performance at the 1987 ACR level does not alter
conclusions reached. WE did not argue that under the 1987 rate its response to the
non-breach or the breach world would have been any different and neither did the
government. The government did not dispute WE’s allocations. The SNF removed
numbers may vary, but the resultant responses and costs in the non-breach world are
the same. While the government objects to including the supplemental expert reports
in the record, no cognizable prejudice is alleged. Moreover, absent the expert reports,
the record contained the requisite data enabling counsel and the court to perform the
simple math. See Astoria Fed. Sav. & Loan Ass’n v. United States, 568 F.3d 944, 955
(Fed. Cir. 2009) (instructing trial court on remand to apply data in record to determine
amount of increased federal agency fees thrift would have paid on asserted lost
profits). “Whether additional trial proceedings should be conducted to permit further
development . . . is a matter for the trial court to decide in the exercise of its
discretion.” Fla. Power & Light Co. v. United States, 307 F.3d 1364, 1370 (Fed. Cir.
2002). See also Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321, 331-
32, (1971) (Reopening record “to submit additional proof is addressed to [the trial
court’s] sound discretion.”). The supplemental expert reports submitted by the parties
are admitted.

Statute of limitations

       The government asserts that any costs incurred more than six years before the
filing of WE’s Complaint on November 16, 2000, are barred. (Def.’s Ans. 2nd Am.
Compl. [231] at 7.) The issue was also raised by the court at the beginning of trial.
(Tr. 49:24-50:6.) The six year statute of limitations of 28 U.S.C. § 2501,70/ is a
jurisdictional prerequisite to suit in the United States Court of Federal Claims that
cannot be waived. John R. Sand & Gravel Co. v. United States, 552 U.S. 130,134-35,
128 S. Ct. 750, 754-57, 169 L. Ed. 2d 591 (2008).

       WE has costs that date back to 1988, although initial expenditures were
relatively modest: $14,195 in 1988; $80,963 in 1989; $68,644 in 1990; $150,444 in
1991; $217,487 in 1992; $481,787 in 1993; and $1,501,072 in 1994. (PX 1029 at
KRGWE003832.) The court credits evidence that beginning in the 1980s, WE was


       70/
         “Every claim of which the United States Court of Federal Claims has jurisdiction shall be
barred unless the petition thereon is filed within six years after such claim first accrues.” 28 U.S.C.
§ 2501.
                                                  -81-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 85 of 150




well aware that DOE’s performance would be significantly delayed which was a
substantial and “but-for” cause of its investigation of additional spent fuel storage
beginning in 1988 and attendant expenditures, which would not have been incurred
if DOE had commenced full performance at the levels of the 1987 ACR. Many of the
same events WE cited as the basis for its reasonable belief prior to 1998 that the
government would not timely perform are the same as those later cited by the Federal
Circuit as supporting the Yankees’ reasonable belief that commencing in the mid-
1980s, DOE’s performance would be delayed. In Yankee II, the Federal Circuit
declined to limit recoverable mitigation expenses to those incurred after 1994, the
year cited in Indiana Michigan II when it was “beyond debate that because the
government unequivocally announced in 1994 that it would not meet its contractual
obligations beginning in 1998, the utilities were in fact obligated to take mitigatory
steps.” 536 F.3d at 1274-76 (citing the record relied upon by the trial court in Yankee
I, which included many of the events relied on by WE).

       WE’s pre-breach mitigation costs are recoverable even though incurred more
than six years before WE’s Complaint. While a party’s obligation to mitigate may
arise before performance is due, its claim does not. Franconia Assocs. v. United
States, 536 U.S. 129, 144-45, 122 S. Ct. 1993, 2003, 153 L. Ed. 2d 132 (2002)
(holding a claim “first accrued” not on the date of repudiation, but on the date
performance was due). Accordingly, WE’s claim for partial breach accrued no later
than January 31, 1998 – the last date for commencement of performance under the
Standard Contract. Its filing on November 16, 2000 was within the six year statutory
period. N. States, 78 Fed. Cl. at 458-60 (including in mitigation costs, expenses in
1988 when, on facts presented, the utility has reason to know of impending breach).

Expenses

       In addition to contesting causation for the dry storage project and associated
cask loadings, the government contests several discrete categories of expenses for
other reasons.




                                         -82-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 86 of 150




       Costs of efforts to license VSC-24 for transportation

       The PSC approved WE’s construction of dry storage and the purchase of 12
VSC-24 casks. As a storage only cask, the VSC-24 would have to be returned to
WE’s wet pool and the fuel assemblies then transferred to an approved transportation
cask before being shipped offsite. Movement of SNF involves costs and risks. As
noted, after the acquisition of the VSC-24, the then-industry norm became dual-
purpose casks – licensed for storage and transportation. Accordingly, in September
of 2002, WE and two other utilities paid for efforts to license the VSC-24 for
transportation. (PX 639 (Sept. 18, 2002 proposal to VSC-24 owners for
transportation licensing feasibility evaluation).) Although not successful, the efforts
were reasonable. (Tr. 5627:3-14 (Brewer).) They are direct costs incurred as a
consequence of DOE’s breach that would not have been expended in the non-breach
world. Accordingly, awarding these costs would not place WE in a better position
than if DOE had performed. The government’s proposed deduction from damages
for those costs is not supported by the preponderant record evidence.

       TN-32Bs

       Because of problems that developed after WE purchased 12 VSC-24 casks, WE
contracted to acquire a different cask system – the TN-32B. The government contests
the inclusion of costs associated with this second system.

      In late 1994, WE purchased 12 VSC-24 casks and loaded the first in December
of 1995.71/ As noted, state court litigation concerning the adequacy of the EIS
developed by the PSC, halted further loading for a year. The Dane County Wisconsin
Circuit Court vacated the PSC’s dry storage authorization and remanded for further
evaluation.72/ On remand, the PSC prepared two supplemental EISs, held additional


       71/
           PSC approval included the purchase and loading of 12 VSC-24 casks. The NRC requires
either a site-specific license or a notice of use of approved equipment. The NRC had approved the
VSC cask, PX 346 at 14, so WE was able to proceed under that license.
       72/
          The Dane County Circuit Court found that Point Beach could have operated until 1998
without dry storage. (PX 481 at WISC048-0002- 03 (“The pool will be filled by the fall of 1998 if
no additional storage is provided. If no on-site facility is approved, it appears most likely that the
plant will be required to cease operation in 1998, and would thereby cease generating additional
waste.”). Deferring to the fact-finding of the PSC, the Wisconsin Court of Appeals reversed the
                                                                                       (continued...)
                                                -83-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 87 of 150




hearings and issued an order in May of 1996 authorizing WE to continue loading the
VSC-24 casks and placing them on the ISFSI.

       There was an explosion in May of 1996 when WE was loading the third VSC-
24 cask. Reaction between boron in the pool water and the cask’s carbo-zinc coating
produced hydrogen which ignited during welding of the cask lid, lifting the five ton
lid several inches, leaving it in place but tipped at a slight angle. WE immediately
reported this incident to the NRC which sent an inspection team to the site to gather
information and monitor WE’s internal investigation. On June 3, 1996, the NRC
issued a confirmatory action letter (“CAL”) which prohibited WE from loading any
more VSC-24 casks until the cause of the accident was determined and a solution
approved. (PX 1034 (CAL 96-0005).) Although there were no injuries or
radiological releases, and no apparent damage to the SNF or the cask, the NRC was
concerned about the potential for more severe consequences. (Id.) WE stopped
loading, secured the site and analyzed whether there were any concerns with the two
casks that already had been loaded and placed on the ISFSI pad. WE also formed an
internal recovery group which devoted considerable effort to study the event, identify
causes and seek a solution to the hydrogen build-up. (PX 424 (eleven member
Recovery Team Charter dated July 6, 1996).)

       After extensive investigation, we concluded that the cause of the
       ignition was the production of hydrogen that was the result of a reaction
       between the zinc based paint on the inside of the cask and the fuel pool
       water, which is slightly acidic. That produced hydrogen, and eventually,
       the hydrogen became explosive and was ignited by the weld arc.

(Tr. 1556:23-1557:1-6 (Krieser).)

      This was “a significant event, not only for the station, but really for the
industry.” (Tr. 2020:14-16 (Holzmann)73/.) “It was a fairly serious incident. It

       72/
         (...continued)
underlying conclusion that the EIS was inadequate, but repeated the finding that Point Beach’s pool
would not be full until 1998. CUB v. PSC, 565 N.W.2d 554, 564 (Wisc. App. 1997).
       73/
         Michael Holzmann graduated from the University of Wisconsin, Eau Claire in 1985 with
degrees in math and physics. He then served more than 6 years in the United States Navy as a
Nuclear Submarine Officer before starting his employment at Point Beach in 1992. In 1999, he was
                                                                                   (continued...)
                                               -84-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 88 of 150




basically shut us down from conducting dry storage operations until we resolved
several safety issues with the cask.” (Tr. 1685:10-13 (Becka).) WE proposed
continuous purging of hydrogen gas during loading to prevent build-up and drafted
revisions to its loading procedures. Costs of these remedial efforts are included in
requested mitigation damages. Alternatives were discussed in case the VSC-24 could
not be used, focusing on the TN-32B cask which had been used successfully at other
plants. (Tr. 202:25-204:24 (Baumann).)

       On May 16, 1997, the NRC issued another CAL to Sierra Nuclear directed to
weld issues noted during inspection of cracking at the Palisades and Arkansas
Nuclear One nuclear plants (owned by other utilities) which “may have far-reaching
generic implications regarding the continued viability of the VSC-24 for dry spent
fuel storage.” (PX 1035 at 1 (CAL 97-7-01).) Sierra Nuclear was required to find the
root cause, assess the potential for delayed cracking in the welds in the 19 VSC-24
casks then in use, and propose remedial measures. WE was copied on the CAL.

       On the same day, the NRC issued a CAL to WE with the same weld concerns
and required WE “provide reasonable assurance that cracking, including possible
undetected or delayed cracking, will not occur in the welds sealing the shield lid and
structural lid to the MSB [multi-assembly sealed basket]” at least fourteen days before
loading another VSC-24 cask.” (PX 453 (CAL 97-7-04) at 2.) WE was required to
document its commitment to preclude loading until corrective actions were identified
and implemented. (PX 1036.) WE could not load VSC-24s until these issues had
been resolved to the NRC’s satisfaction. (Tr. 2022:8-11 (Holzmann).)

       The CALs were eventually lifted. On September 12, 1997, approving WE’s
procedures and remedial measures, the NRC closed-out CAL 96-0005. (PX 477.) On
November 6, 1997, the NRC required Sierra Nuclear to respond to additional
questions and expressed concern over lack of confirmatory testing, suggesting
ultrasonic. (PX 1037.) On August 13, 1998, the NRC closed-out CAL 97-7-004A
with conditions. WE was required to ultrasonically test the two VSC-24s then in use
and inform the NRC of the results. Three conditions were placed on the fabrication
and use of this cask. (PX 525.) WE was required to implement procedures to
minimize gas generation and ignition and to respond to any ignition events. (PX
477.) WE had to implement controls on future cask welds. While testing did not

       73/
         (...continued)
the Dry Cask Loading Supervisor.
                                         -85-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 89 of 150




reveal any weld cracks, WE reasonably believed that if they had, the NRC would
have again imposed restrictions on loading. (Tr. 1583:11-1584:8 (Krieser); Tr.
2063:7-2064:5 (Holzmann).)

       Prior to the conditional resolution of CAL 97-7-004A, on August 11, 1998, the
PSC authorized WE to purchase and load up to six TN-32s74/ in lieu of eight VSC-24
casks, if the VSC-24s were not then available, and the NRC approved the TN-32s.
“The purchase of these casks, as a method of ensuring the reliability of Point Beach
by providing a back-up option in case the VSC-24 cask remains unavailable to [WE],
is reasonable.” (PX 524 at KRGWE002387.) The PSC’s approval merits
consideration. Yankee I, 73 Fed. Cl. at 269, 292. While six were approved, WE
contracted to acquire only three for $5 million, costs included in mitigation damages.

      In addition to the serious technical issues with the VSC-24,WE was concerned
about the financial stability of its manufacturer, Sierra Nuclear, even after the
company was acquired by British Nuclear Fuels, Ltd. (“BNFL”). WE was also
concerned about the level of support that BNFL would provide for the single-purpose
VSC-24 in view of a dual-purpose cask it was developing. Dual-purpose was rapidly
becoming the dry storage norm.

      From a technical nature, there were other concerns from the VSC-24
      about the ability of Sierra Nuclear to continue to operate or function as
      a company because they didn’t have a lot of resources or money, and
      they clearly weren’t selling casks during this period of time. . . . But the
      industry was never sure whether or not BNFL bought that company out
      to continue to support the VSC cask 24s or to market another design.

(Tr. 2598:18-2599:11 (Farron). WE’s concerns regarding Sierra Nuclear and the
VSC-24 cask were not alleviated. (Tr. 2602:13-24; 2604:22-2605:4 (Farron).)

      Sierra Nuclear was also having considerable difficulties from an
      economic and a commercial standpoint. . . . So there were lots of
      problems being experienced from a quality assurance standpoint, as well
      as a commercial standpoint. In early ‘98, I think Sierra had gotten to the
      point where they really had a skeleton crew of employees, they were


      74/
        Any difference between a TN-32B and a TN-32 is not apparent.
                                          -86-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 90 of 150




       down to seven or eight employees, and they were very rapidly becoming
       a nonplayer, if you will, in the cask marketplace.

(Tr. 1561:23-25; 1562:10-18 (Krieser).)

       We were very concerned about the continued viability of Sierra Nuclear.
       In fact, they were, as I had mentioned earlier, in very dire straits at this
       point. . . .
       Q: And did you have any concerns about whether the BNFL might be
       interested in Sierra Nuclear, but not necessarily the VSC-24 cask?
       A: For sure. BNFL’s primary interest in Sierra Nuclear, I believe, was
       their dual-purpose technology. They expressed interest in continuing to
       support the VSC-24 design, but clearly, their objective, primary
       objective was the dual-purpose casks.

(Tr. 1564:23-1566:5 (Krieser); Tr. 2051:17-2052:8 (Holzmann) (“They were
interested in Sierra Nuclear, not in the VSC-24 design, the storage only design.
[BNFL] was interested in Sierra Nuclear because of the transportable design.”).)

       Sierra Nuclear, at the time, there was some question at our company
       about their continued viability because now, you know, the casks that
       they designed was one that had, frankly, a flaw that nobody really wants
       to live with. The fact that no other, you know, utilities have ever
       ordered or used that canister design again is kind of a tribute to that
       point. So there was some question on the utilities’ part at that time of
       the continued viability of Sierra Nuclear.

(Tr. 1780:16-1781:2 (Becka).)

      WE selected the TN-32B cask because of concerns about the VSC-24s. Mr.
Krieser75/ testified:


       75/
         Gary Krieser received a B.S. degree in nuclear engineering from the University of
Wisconsin at Madison in 1972. He began working at WE in 1977. He was the Manager of Industry
and Regulatory Services from 1992 until late 1996, reporting directly to Mr. Link. Mr. Krieser was
the Director of Nuclear Fuel Services for NMC from 2000 until June 2002, at which time he joined
Wisconsin Electric Power as Manager of Project Quality Assurance. He testified concerning WE’s
spent fuel management activities during the period from 1992 through 2000.
                                               -87-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 91 of 150




      Q: Did you agree with the [PSC] that it was reasonable for [WE] to
      purchase the three TN-32Bs?
      A: Absolutely. If you rewind the tape back to 1996 through the period
      up through 1998, obviously, you’d find a lot of significant issues
      associated with the VSC-24 cask system. Of course, we had the ignition
      incident, we had the lid weld issues, we had quality assurance
      difficulties with Sierra Nuclear, we had commercial and economic
      problems with Sierra Nuclear. It was a very long list of issues. That
      clearly did not give any confidence, quite frankly, that we would ever be
      able to load additional VSC-24 casks, so the approach that we took to
      employ a backup system, to me, was a completely prudent decision. I
      think the [PSC] agreed with that, and so it was totally appropriate, in my
      mind, to pursue that particular course of action.

(Tr. 1582:15-1583:10 (Krieser).)

      The commercial reasonableness of the TN-32 purchase is amply supported.
Indicative of regulatory vigor, the PSC grilled WE about its choice, requesting a
description of alternatives and rationale for its selection of the TN-32. (PX 518.)
WE’s response includes a summary matrix of consideration of twelve different casks
and conclusion that “the TN-32 is the best choice for successful deployment at Point
Beach as an alternative to the VSC-24.” (PX 519 at 2.)

       WE was not alone in switching from the VSC-24. In System Fuels, the utility
started using VSC-24 casks, but before they were all loaded, because the utility “had
to investigate other cask suppliers because Sierra Nuclear was ceasing business
operations and a system had to be found that could provide dry storage for ‘hotter’
fuel. The last VSC-24 cask supplied by Sierra Nuclear was loaded in June 2003.” 79
Fed. Cl. at 49 (citations omitted). While the substituted system was different, the
decision of another nuclear utility to switch from the VSC-24 speaks to the
reasonableness of WE’s decision in this regard.

      The government does not dispute the impact of the VSC-24 CALs, but
questions WE’s position that these concerns lead to WE’s decision to pursue a back-
up cask. Reliance is placed on WE’s optimism that the CALs would be lifted.76/ The

      76/
        The government cites to Mr. Holzmann’s optimism that the NRC would eventually lift the
                                                                              (continued...)
                                           -88-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 92 of 150




government also comments that WE had other problems with the NRC.77/ Regardless,
WE eventually loaded its remaining VSC-24s. In short, the government argues that
WE’s purchase of three TN-32Bs as back-up was not reasonable, foreseeable nor
caused by DOE’s delays.

       The parties also disagree over whether the costs of the TN-32Bs were included
in WE’s rate base. The government points out that both WE’s application and the
PSC approval was for the “use” of the TN-32B without mention of inclusion in rates.
(PX 510; PX 524.) Correspondence from the PSC to an intervenor deferred issues
about inclusion in the rate. (DX 79 (August 28, 1998 letter ) (“Whether ratepayers
will pay for unused casks may be determined in the fuel rate case that would be filed
this fall.”).) There was no fall 1998 rate case.

        Mr. Farron, who worked with the PSC on WE’s nuclear matters for more than
twelve years, testified that the PSC’s August 11, 1998 order was a prudence review
that authorized inclusion of the costs of the TN-32Bs in the rate base. He also
testified that he received a verbal confirmation from the PSC that these costs could
be included in the rate base. The court also notes that, Mr. Metcalfe,78/ WE’s financial
expert, testified that WE advised him that the TN-32B costs were recovered in the
rate base, an assumption in his damages opinion. Regardless of whether or not it was
included in the rate base, WE spent the money.

       The government’s expert witnesses agreed that the acquisition of this
alternative system was reasonable. (Tr. 5651:7-11, 20-23 (Brewer) (“I’ve never taken

       76/
        (...continued)
CALs so that loading of the VSC-24s would continue and to management planning updates that
assumed loading would resume. (Tr. 2123:10-2124:9 (Holzmann); DX 200.)
       77/
         In December of 1996, the NRC fined WE $325,000 “in civil penalties for performance
deficiencies and violations of NRC requirements in various activities.” (PX 801 at KRGWE000274.)
The relevance of these infractions is not clear.
       78/
          Kenneth Metcalfe is a Certified Public Accountant and Certified Valuation Analyst. He
has a B.S. in Business Administration from Georgetown University and is President of the Kenrich
Group, LLC, a national consulting firm, with expertise in accounting, finance and engineering,
including the preparation and evaluation of economic damage claims arising in the public utility
industry. He has testified as an expert witness in several SNF cases and in this case was qualified
as an expert in accounting, financial and economic issues and economic damages in the regulated
public utility, nuclear power and public contract industries.
                                                -89-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 93 of 150




exception, and I don’t think anyone has taken exception to the idea that the concerns
that led [WE] to starting down the TN-32 metal cask path were unreasonable or
irrational . . . . It’s really more, I think that whole issue is really more a question of
at what point, if ever, should they have simply stopped the process.”); Tr. 5898:2-10
(Hamal) (“I start by looking at the situation [WE] found itself in, in the spring of ‘98
when it decided to order the TN-32B casks as a contingency plan in case there were
further problems on the VSC-24 casks. I don’t disagree with that conclusion. I do
not reach – you know, reach an opinion that it was unreasonable for them to order
these casks in the first place.” ).) Furthermore, Mr. Brewer did not offer an opinion
whether it was reasonable for WE to complete the fabrication of the TN-32B casks.
(Tr. 5651: 24-25; 5652:1-3 (Brewer).)

      The court reiterates that the necessity for dry storage was foreseeable. WE’s
acquisition of the TN-32Bs was commercially reasonable, vetted and approved by the
PSC. That they were not used does not exclude these expenses from damages. The
Federal Circuit in Yankee II rejected the government’s request to exclude from
mitigation damages the costs of the additional spent fuel racks purchased because of
DOE’s partial breaches, but subsequently rendered redundant.

             This court also assesses the reasonableness of the Yankees’
      reracks in light of the record evidence that these mitigation efforts
      allegedly began years before necessary and allegedly proved completely
      unnecessary because the reactors shut down early. The record shows
      that the reracks were not premature. Rather, the record shows that the
      Government placed the Yankees in a position requiring immediate steps
      to find alternate storage and to “accept responsibility to guard against
      the environmental impact of improperly-disposed and maintained SNF,
      a situation which the NWPA was enacted to avoid.” [Ind. Mich. II, 422
      F.3d 1375.] In that position, “[i]t would have been improvident for [the
      Yankees] to have waited until January 1998 before deciding what to do
      with [their] nuclear waste.” Id. Accordingly, the trial court found, and
      this court affirms, that in light of the amount of time required to
      engineer, fabricate, and install new racks, the Yankees’ rerack schedule
      was reasonable.

            The record also shows that the reracks were reasonable even
      though early closure of some facilities rendered some of the efforts
      unnecessary. The Yankees are “‘not precluded from recovery . . . to the
                                           -90-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 94 of 150




      extent that [they have] made reasonable but unsuccessful efforts to avoid
      loss.’” Id. (quoting Restatement (Second) of Contracts § 350 comment
      b). Because the rerack efforts were reasonable, foreseeable, and caused
      by the Government’s partial breach, their ultimate success and usage is
      irrelevant. Accordingly, this court affirms the trial court’s findings that
      the Yankees’ rerack decisions were “commercially reasonable” and
      “foreseeable to DOE at the time of contracting.” Yankee I, 73 Fed. Cl.
      at 279, 283.

Yankee II, 536 F.3d at 1276 (first alteration added). See also Home Sav., 399 F.3d at
1353 (upholding fair and commercially reasonable mitigation efforts).

       WE loaded the third VSC-24 cask (the previous loading was aborted with the
flaming incident) on September 10, 1998 and the fourth and fifth by November 1998.
In June 1999 there was another flaming incident at another utility’s plant. (PX 558
(July 23, 1999 report).)

       The government complains that WE could have resumed loading of the VSC-
24s, and with the loading of the third VSC-24 cask on September 10, 1998, WE no
longer faced a potential shutdown by spring of 2000. At that time, WE could have
stopped fabrication of the TN-32Bs as permitted under the purchase order. Also the
flaming incident at another utility’s plant did not prevent WE from loading casks in
1999 through 2003; therefore, WE’s “fears” that the NRC may again stop WE from
loading more VSC-24s were not serious. Accordingly, Mr. Kiraly proposed to reduce
or adjust WE’s claim by $5,058,733 for TN-32B costs considered unnecessary. (Tr.
6155:11-20 (Kiraly); DX 625 at WXE0220135.)

       WE responds that the NRC’s lifting of the CALs was conditional and either
required inspections or ultrasonic testing could have reinstated loading restrictions.
Concerns about the financial stability of Sierra Nuclear continued. And, WE believed
that even if it did not need the TN-32Bs, its ability to sell them to another utility
would be enhanced if the casks were completed. Two of the three were completed.
WE attempted to sell the casks in 2000 without success. (Tr. 1584:12-1586:14
(Krieser); 2608:7-2609:11 (Farron).) Government expert Mr. Brewer admitted it
made sense to complete fabrication to increase marketability, and agreed there are
circumstances where it could be reasonable to have a backup cask. (Tr. 5616:1-16
(Brewer).)

                                         -91-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 95 of 150




       The government correctly points out that WE’s TN-32B contract allowed for
termination. “Buyer may terminate work on this order for its own convenience in
whole or in part by written notice at any time.” (DX 161 at WISC 00064081.) The
price for termination, however, would have been the value of work in progress, profit
of ten percent plus any subcontractor cancellation fees. (Id.) If WE had terminated
in the spring of 2000 as the government suggests, those costs were estimated as from
$2.5 to $3.2 million. (Tr. 6294:22-6304:9 (Metcalfe).)79/

       WE is “not precluded from recovery . . . to the extent that [it] has made
reasonable but unsuccessful efforts to avoid loss.” Ind. Mich. II, 422 F.3d at 1375
(alteration in original). See SMUD II, 293 Fed. Appx. at 772 (“It is the Government’s
burden to show that it was unreasonable for SMUD to pursue dual-purpose storage
canisters to mitigate the Government’s breach.” (citing Old Stone Corp. v. United
States, 450 F.3d 1360, 1370 (Fed. Cir. 2006).) WE would not have had the VSC-24s,
or the problems with the VSC-24s, or the TN-32Bs if DOE had performed in the non-
breach world at the 1987 ACR rate. In the breach world, the acquisition of these
casks, authorized by the PSC, was a commercially reasonable, direct consequence of,
and caused by, DOE’s delays. They would not have been acquired in the non-breach
world of 1987 ACR full performance. Accordingly, awarding these costs would not
place WE in a better position than if DOE had performed. The court concludes that
WE reasonably determined that it could not rely solely on the VSC-24 casks being
free of future problems, technical or otherwise. WE could use the TN-32Bs or they
could serve as a back-up if there were additional problems with the VSC-24s until
WE obtained a successor cask. WE’s concerns about the VSC-24 casks and its
manufacturer, together with its business prediction that completing the casks would
avoid large termination costs, and the completed casks would be easier to sell in a
breach world where the industry was scrambling to find storage, all support the
commercial reasonableness of WE’s decision in this regard. The government’s
proposed damages deduction for TN-32B costs is rejected.

      The government also argues that WE should not recover the cost of these casks
because they were included in its sale of Point Beach to FP&L.




       79/
          The court finds WE’s financial expert, Mr. Metcalfe’s, testimony estimating these
cancellation charges was appropriate rebuttal and limited in scope, and denies the government’s
motion that this testimony be stricken.
                                              -92-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 96 of 150




       WE responds that there is no record evidence that FP&L paid WE specifically
for the TN-32Bs. Also, as the damages cutoff date is prior to the sale to FP&L, any
potential offset after that date is not relevant in this litigation.

        Under the teachings of Indiana Michigan, the instant litigation is limited to
actual incurred costs. To be consistent, any offsets would also be limited to those
arising during that same period. See Carolina Power II, 573 F.3d at 1277 (rejecting
possible future offsets). By its sale of Point Beach to FP&L, WE waived any further
damages arising out of DOE’s partial breach. It is beyond the scope of this litigation
to consider whether the government could assert any TN-32B offset in future
litigation, if any, brought by FP&L.

       The NUHOMS dual-purpose cask

      The capacity of WE’s ISFSI was 48 casks. WE loaded 12 VSC-24 casks as
approved by the PSC and requested PSC authorization to purchase up to 36 additional
casks at an estimated cost of $35.7 million. (PX 575 (May 2, 2000 application); PX
576 (May 10, 2000 corrected application).) To remain flexible, WE did not specify
a cask type, but its preference was to transition to dual-purpose casks, a newer
technology encouraged by the PSC.80/

              Although [WE] would prefer to use dual[-]purpose casks, which
       are certified [by the NRC] both for storing and for transporting [SNF],
       the company stated that it does not have sufficient time to implement a
       dual-purpose system at Point Beach to prevent the loss of full core off-
       load capability in 2002. As a result, [WE] declared that the first four dry
       casks it intends to procure are VSC-24 casks, the same as the 12 it has
       loaded to date. VSC-24 casks are certified for storage only, not for
       transport. The Commission agrees that this decision is reasonable,

       80/
           Advantages of dual-purpose storage systems include reduction in labor and environmental
risks in that the SNF in dry storage would not need to be returned to the spent fuel pool, removed
from the storage casks and placed in a transportation vessel, with transfer taking place in the spent
fuel pool. Earlier, the PSC recognized the advantages of dual-use casks in its February 9, 1995
Order approving the ISFSI stating that the “licensing and fabrication of a multi-purpose cask for
storage, transportation and disposal” appeared to be “environmentally superior to dry cask storage”
because handling of assemblies would be reduced; however, this option was not “available now, or
likely to be available soon.” (PX 374 at 11.)

                                                -93-
       Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 97 of 150




       although it encourages [WE] to consider dual[-]purpose casks in the
       future because they will eliminate the need to unload storage casks and
       place spent fuel assemblies in casks that are certified for transport.

(PX 592 at 9-10 (March 27, 2001 PSC Final Decision).)81/

      WE solicited proposals for dual-purpose casks, receiving responses from
Holtec, Transnuclear, Inc. and NAC International, Inc. Transnuclear’s NUHOMS
cask was selected. NMC entered into a Purchase Order with Transnuclear on March
5, 2002. (PX 692; PX 724.)

       NUHOMS dual-purpose casks are huge, when loaded weighing as much as a
777 aircraft (about 140 tons). (Tr. 5529:9-18 (Brewer).) Unlike the cylindrical casks
encasing the VSC-24s that are placed vertically on the ISFSI, because of their flat
sides and squarish corners, NUHOMS are placed horizontally side-by-side on the
ISFSI. (PX 740.009 (photo of NUHOMS on WE’s ISFSI).)

       WE cites several advantages of the NUHOMS compared to the VSC-24,
including: (1) easier to load due to horizontal rather than vertical design, (2) safer to
load, (3) less time to load and consequent lower loading costs, (4) higher burn-up
capability,82/ and (5) because it was dual-purpose, it had the potential to avoid
repackaging the SNF for shipment off-site, thereby reducing labor and possible
radiation exposure. Also, because other NMC plants were purchasing NUHOMS,
WE received a price advantage. Ms. Supko opined that WE’s decision to acquire
NUHOMS was reasonable and foreseeable. She predicted that dual-purpose
containers would be accepted at the repository; would enhance the ability to ship to
any private fuel storage location; and were contemplated under the 1987 ACR (PX



       81/
          Findings included: “[t]he construction of additional dry casks will not provide facilities
unreasonably in excess of [WE’s] probable future requirements[;]” and “[w]hen the additional dry
casks are placed in operation, the value or available quantity of [WE’s] electric service will increase
by an amount that is proportionate to the increase in cost-of-service.” (PX 592 at 3.)
       82/
         NUHOMS can store hotter SNF. In 2001 when WE chose the NUHOMS system, the VSC-
24 cask was licensed to hold only the older and colder Westinghouse Standard assemblies which had
been discharged from Point Beach reactors through 1987. (Tr. 1773:20-1774:5(Becka).) By 2003,
the NRC expanded the type of fuel that could be stored in the VSC-24, but by that time, the
NUHOMS decision had been made. (Tr. 1567:1-16 (Krieser).)
                                                 -94-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 98 of 150




123 at 2), the Draft EIS for Yucca Mountain (PX 619) and DOE’s Supplement to the
Final EIS for Yucca Mountain, 71 Fed. Reg. 60490, 60492 (October 13, 2006).

      The government responds that dual-purpose casks were neither foreseeable nor
reasonable, and it was and is speculative whether these casks will be an acceptable
waste form under the Standard Contract which requires delivery to DOE of either
bare assemblies or assemblies stored in an approved canister. Rationale that a dual-
purpose system would facilitate shipment to any private or other storage facility is
(and was) conjecture the government adds, and it is asserted, accounting records do
not support the claim that VSC-24 loading evolutions were more labor intensive.
While no other utility was using single-purpose containers, it is argued that this does
not support assessing the higher cost for dual-purpose casks as damages. The
government also asserts that the greater weight of NUHOMS will preclude their
removal from the plant site by either rail or barge. Ms. Supko’s opinion favoring
dual-purpose casks is disparaged as not in her area of expertise and the government
notes that she admitted there is no assurance DOE would accept fuel contained in
dual-purpose systems.

       In SMUD II, the Federal Circuit described the shift to dual-purpose casks as
“near universal,” rejecting the government’s position on foreseeability and
reasonableness. 293 Fed. Appx. at 772 (noting the government did not appeal the
issue in Yankee I or PG & E I). Damages in other SNF cases have included costs for
a switch to dual-purpose casks. In Dominion Resources, Inc. v. United States, 84 Fed.
Cl. 259, 268 (2008), the utility constructed an ISFSI in 1998, initially loading the
TN-32, later the NUHOMS system. See SMUD I, 70 Fed. Cl. at 353-54.

        The use of multi-purpose storage containers was foreseeable and actually
foreseen by DOE. Yankee I, 73 Fed. Cl. at 289. Dry storage of SNF is a complex,
relatively new and evolving technology. Change and improvement is not unexpected.
To limit foreseeability and recoverability of mitigation damages to decades-old
technology is neither reasonable nor desirable. As the Federal Circuit observed,
utilities were forced to was “accept responsibility to guard against the environmental
impact of improperly-disposed and maintained SNF, a situation which the NWPA
was enacted to avoid.” Yankee II, 536 F.3d at 1276 (citing Ind. Mich. II, 422 F.3d at
1375). Responsibility for this ultra-hazardous activity, includes, and indeed requires,
use of technological advances.



                                         -95-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 99 of 150




       The government did not establish that this near-universal shift to dual-purpose
technology was unreasonable. Old Stone, 450 F.3d at 1370. The court concludes that
WE’s decision to switch from the VSC-24 to the NUHOMS cask system was
commercially reasonable, foreseeable and caused by DOE’s delays, and declines the
government’s request to exclude these costs from damages. If DOE had timely
started full performance at the rates in the 1987 ACR, these costs would not have
incurred. Accordingly, awarding these costs would not place WE in a better position
than if DOE had performed. The method, if any, for future removal of WE’s SNF,
stored in NUHOMS, for disposal by DOE, is beyond the scope of this litigation.

Private Fuel Storage

      The government seeks to deduct from damages $1,225,758 in costs WE
incurred from 1994 until 1999 in pursuit of private offsite storage for its SNF. (Def.’s
PFF [386] ¶385.)

       In the mid-1990s, a group of nuclear utilities began to investigate the
       development of an off-site facility at which spent fuel could be
       maintained in dry storage until DOE honored its contractual obligations
       and accepted the spent fuel. Some of those nuclear utilities (including
       WE) formed a company (now named Private Fuel Storage, LLC) to
       pursue an initiative with the Skull Valley Band of Goshutes Indians
       Tribe in Utah to develop and attempt to license a private spent fuel
       storage facility on the Goshute[’]s Reservation.83/

(PX 794 at 19 (May 8, 2006 Revised Expert Report of the Kenrich Group); PX 388
at WISC 00009885 (Acknowledgment and Agreement signed by Mr. Link on May
19, 1995 “to participate in and fund a portion of the costs of the planning of, and the
study of the feasibility of, the Facility”).) This effort became known as Private Fuel
Storage (“PFS”).84/ From 1994 to 1999, WE spent $883,503 on PFS. (DX 625 at
WXE 0220011, 0220080-83.)



       83/
         Negotiations began with the Mescalero Apache Tribe in New Mexico, then with the
Goshute Indian Tribe in Utah.
       84/
        Private Fuel Storage, L.L.C. is a Delaware limited liability corporation, incorporated on
September 6, 1995.
                                              -96-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 100 of 150




      In 1997, WE stopped contributing to PFS when success became questionable
and injection of “additional equity” would be considerable. (Tr. 1552:3-1554:4
(Krieser); Tr. 2657 (Farron); PX 454 (May 1997 letter informing PFS that WE would
not be participating in Stage four).)

       Q. And did you indicate that [WE] has withdrawn as investors from the
       [PFS] project?
       A. Yes, we officially withdrew in 1997. I think we would have
       withdrawn sooner, but the agreement with the utilities was that, at each
       milestone, the utilities could make a decision whether they wanted to
       continue with the project or not, and we had just reached a milestone, I
       believe it was an agreement, the agreement for the site with the host, and
       they agreed with the Goshute Tribe at that point in time. They reached
       agreement.
        Q. The fact that [WE] is no longer an investor in the [PFS] project, does
       that necessarily preclude [WE] from being a customer of a [PFS]
       project?
       A. No, that does not preclude us from being a customer.

(Tr. 2716:24-2717:24 (Farron).)

       These costs were not presented to the PSC; they were not included in the rate
base. (Tr. 4803 (Metcalfe); DX 227 at 1 (PSC letter to intervenor that the cost of
participation in the PFS consortium was disallowed and not included in the rate
base).) The costs were eventually written-down. (Tr. 2998:24-25; 2999:2-3
(Straub85/);Tr. 4803 (Metcalfe).)

      WE also investigated potential storage at Owl Creek, Wyoming and Oak Ridge,
Tennessee and offshore and international disposal with a British company (BNFL)
and the African nation of Cape Verde. (Tr. 1554:5-24 (Krieser); 539:10-24 (Link).)
Roger Newton, an assistant to Mr. Link, developed a proposal for an international



       85/
         Ione Straub has more than 20 years of accounting experience at WE, specifically in the
Nuclear Power Department, including during the development and implementation of the dry storage
project. Ms. Straub joined WE in 1981 after receiving a B.A. in business administration from the
University of Wisconsin, Madison. She retired from WE in 2002 and then worked part-time in a
medical office and as a contract employee for WE in the preparation of its claims in this litigation.
                                              -97-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 101 of 150




repository – the Newton Project.86/ (DX 185; Tr. 537:8-539:9 (Link).) WE spent
$342,255 in legal expenses on these off-site matters. (Jt. Stip. Re. Pl.’s Claim for
Legal Costs [369] at 1.)

        Off-site private storage was reasonably foreseeable. The NWPA references
off-site storage. 42 U.S.C. § 10155(h) (“[N]othing in this chapter shall be construed
to encourage, authorize, or require the private or Federal use, purchase, lease, or other
acquisition of any storage facility located away from the site of any civilian nuclear
power reactor and not owned by the Federal Government [on the date of the
enactment of the NWPA].”). In 1983 when he was DOE’s SNF program director,
Robert Morgan cited as a goal the avoidance of additional off-site as well as on-site
storage costs: “beginning in 1998, utilities will not have to provide any additional
storage facilities on site. During the first year of operation of the repository in 1998,
we should be receiving fuel at a rate so that no utility would have to add any further
storage facilities either on site or at another location.” (DX 493 at SN069599
(emphasis added).) See Ind. Mich., 422 F.3d at 1376 (“DOE should have foreseen
that its breach would force Indiana Michigan to find alternate storage for its SNF.”);
N. States, 78 Fed. Cl. at 466.

       WE asserts that DOE’s delays were the reason why private off-site possibilities
were investigated. WE was concerned whether the PSC would authorize sufficient
storage so that WE could continue to operate until the end of its license. Only 12
casks were initially approved. WE estimated it would need approximately 36
additional casks and believed that the PSC would be more amenable to approving
additional casks if WE was investigating private off-site storage. (Tr. 1551:25-
1553:1 (Krieser) (PFS had the potential to get the SNF off-site and out of
Wisconsin).)


        86/
          The Newton project involved a partnership with France or a French company to develop
an underground repository on an uninhabited French island. While profit potential was mentioned
in this 1995 outline, it was last on a list of several potentials. The primary purpose for the project was
to solve the problem caused by the domestic nuclear industry running out of spent fuel storage, and
absent a storage solution, the industry might cease to exist. Despite at that time some $600 million
paid by ratepayers into the NWF, the Yucca Mountain repository was years behind schedule, billions
of dollars over budget and “it is highly questionable whether the repository will ever open.” (DX
185 at 14.) Any profit motive does not detract from the DOE delays comprising the underlying
substantial cause of these efforts in the breach world. These efforts would not have been expended
in the non-breach world as DOE would collect and dispose of WE’s SNF.

                                                  -98-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 102 of 150




       The PSC and intervenors in WE’s PSC proceedings were concerned that the
ISFSI would become a de facto repository, and advocated private off-site storage as
a possible solution, although it may not have solved WE’s immediate needs. (Tr.
422:15-423:3 (Link); PX 357 at 10 (responding to criticism that the proposed ISFSI
would be permanent, Mr. Link testified before the PSC that WE was pursuing private
off-site storage, including a possible facility on Mescalero Apache tribal land).) The
Lake Michigan Coalition criticized WE for not sufficiently exploring this possibility.
(PX 592 at 8.)

       The court credits witness testimony that pursuit of private storage was in
reaction to DOE’s delay. With DOE’s full performance in the non-breach world,
there would have been no reason to seek a private SNF storage solution.

!     (Tr. 1551:3-24 (Krieser) (“Our strategy to deal with DOE’s lack of
      performance always included an intention to pursue away-from-reactor
      storage facilities, and that would include industry wide initiatives, as
      well as some of our own.”).)

!     (Tr. 422:15-423:13 (Link) (“Q: And what was the thinking in pursuing
      [PFS]? A: Well, as I think we’ve discussed already, one of the
      characterizations by the intervenors and concerns that they represented
      was that the project at Point Beach, the dry fuel storage project at Point
      Beach would ultimately become what they called a de facto permanent
      storage. And they obviously, and the commission staff did not want that
      to happen because of the high speculation as to not only when, but some
      of the intervenors questioned whether if DOE would ever fulfill their
      obligation.”).)

!     (Tr.425:10-20 (Link) (“Q. In participating in PFS, did [WE] have any
      financial motives? A. No, we were primarily motivated to work with the
      industry on resolving basically what I’ll call an interim problem that
      DOE was creating by their nonperformance to take fuel, and so we, like
      some other utilities, were trying to join forces and make some sense out
      of it. It was simply that. We did not anticipate really making any money
      out of it in that regard.”).)

!     (Tr. 1552:3-1555:4 (Krieser) (“Q: And why did [WE] pursue PFS? A:
      I think what I stated just a minute ago was the reason for that. It was an
                                         -99-
        Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 103 of 150




        opportunity, a potential opportunity for us to ship spent fuel from Point
        Beach, it was an away-from-reactor storage opportunity, if you will. Q:
        Did there come a time when [WE] decided to withdraw from PFS? A:
        Yes, there was. We were a very active participant in this project from
        the beginning, up through early 1997, I think I would say. And at that
        point, the project was beginning to run into considerable opposition
        from – there were regulatory issues that were involved. . . . And they
        were going to be requiring a considerable amount of injection of
        additional equity into the project, and considering all the issues that we
        felt were out there affecting the possible success of the project, we
        decided at that point that we were going to withdraw from our
        participation, and we did.”).)

!       (Tr. 1553:25-1554:4 (Krieser) (“Q: And if DOE had performed under the
        standard contract, do you believe that [WE] would have pursued the PFS
        initiative? A: Not at all.”).)

        The record does not show that WE retains any ownership interest in PFS.87/

        The government argues that Indiana Michigan II precludes the recovery of
PFS-related costs. The Indiana Michigan opinion is limited to its facts. Id. 1375-76
(“on these facts, the trial court’s findings that Indiana Michigan is not entitled to
damages is supportable. . . . [and] [t]he credited evidence also showed that the
utility’s investment in the private storage facility was speculative and that the high
cost of the venture was unforeseeable.”). See Yankee II, 536 F.3d at 1273-74
(limiting Indiana Michigan’s holding on timing of duty to mitigate to its facts, not
precluding recovery for earlier mitigation expenses). “The law does not require that
the specific method of mitigation be foreseeable.” SMUD II, 293 Fed. Appx. at 772
(explaining that foreseeability constrains the type of loss – additional SNF storage to
mitigate DOE’s delays – not the specific methods of mitigation) (citing Citizens Fed.
Bank v. United States, 474 F.3d 1314, 1321 (Fed. Cir. 2007) (“If it was foreseeable
that the breach would cause the other party to obtain additional capital, there is no



        87/
              “THE COURT: Do you know if [WE] retains any ownership interest in PFS at the present
time?
        MR. CARNEY: No, it does not, Your Honor.” (Final Arg. Tr. 86:11-14.)

                                                -100-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 104 of 150




requirement that the particular method used to raise that capital or its consequences
also be foreseeable.”).

     Private offsite storage was a commercially reasonable mitigation response.
PFS was cited as a possible future storage solution in a 2001 DOE report to Congress.

       Transport of the SNF to licensed off-site storage facilities has been
       successfully done in the United States for many years. This includes
       transhipment of SNF to other reactor sites owned by the utility.
       Shipments could also be made to a licensed facility owned by another
       company, . . . the proposed Private Fuel Storage (PFS) facility which is
       currently undergoing licensing review by the NRC, or the Owl Creek
       Project planned for Wyoming by the NEW Company.

(PX 590 at 7 (Jan. 2001 DOE, Spent Fuel Management Alternatives Available to
Northern States Power Company, Inc., et al.) (footnote omitted).)88/ PFS was noted
as a possible contingency in DOE’s 2002 draft Yucca EIS. “‘DOE recognizes interim
storage at the [PFS] facility in Utah to be a reasonably foreseeable future action and
has included this proposed action . . . .’” S. Nuclear, 77 Fed. Cl. at 444 (referencing
draft EIS). (PX 786 at Table 7-1 at 4 (noting 1997 Environmental Report for PFS’s
proposed ISFSI license application, NRC initiation of development of a draft EIS and
scoping meeting on June 2, 1998).)

       The NRC granted PFS a license on February 22, 2006.89/
http://www.nrc.gov/reading-rm/doc-collections/news/2006/06-028 (last visited Oct. 21, 2009).
Attaining an NRC license speaks to the commercial reasonableness of this venture.

       Participation by other utilities lends support to a conclusion that WE’s PFS
activity was reasonable in the circumstances involved. See Dairyland Power Coop.
v. United States, 82 Fed. Cl. 379, 381, 387 (2008) (“declin[ing] to find that Indiana
Michigan II precludes the recovery of PFS-related expenses as a matter of law” and

       88/
          DOE produced this report in response to a congressional request to identify “all alternatives
that are available to Northern States Power Company and the Federal Government to allow the
company to continue to operate the Prairie Island nuclear generating plant until the end of the term
of the license issued to the company.” (PX 590 at 3.)
       89/
        Ms. Supko prepared PFS’s spent fuel projections included in the NRC’s EIS. (Tr.
3040:18-25: 3041:1-15 (Supko).)
                                        -101-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 105 of 150




denying the government’s motion for summary judgment on recoverability of more
than $10 million spent towards development of private off-site alternatives for storage
of its SNF); N. States, 78 Fed. Cl. at 465 (finding Indiana Michigan was not
dispositive on this issue and including $24,720,000 in PFS in damages); Sys. Fuels,
Inc. v. United States, 78 Fed. Cl. 769, 782 (2007) (noting that the utility considered
but rejected private fuel storage due in part to its considerable cost); S. Nuclear, 77
Fed. Cl. at 445 (limiting Indiana Michigan to its facts but declining to award PFS-
related costs advanced by the utility’s parent corporation and “on this record,
foreseeability and substantial causation were not established.”); PG & E I, 73 Fed. Cl.
at 429-30 (concluding the utility’s expenditures on PFS were speculative and not
foreseeable); TVA, 69 Fed. Cl. 515, 529 (2006) (noting that TVA evaluated private
storage possibilities); Entergy Nuclear Indian Point 2, L.L.C. v. United States, 64
Fed. Cl. 515, 522 (2005) (noting utility’s mitigation costs included private fuel
storage); Pl.’s Pretrial Mem. [75 ] at 22-23, S. Calif. Edison v. United States, No. 04-
109 (Fed. Cl. Feb. 13,2009) (noting formation of PFS because of uncertainties and
delays in DOE’s performance, potential problems with on-site dry storage and
consequent expenditure of over two million dollars); J. Prelim. Status Rep. [49] at 3-
4, Ill. Power v. United States, No. 04-133 (Fed. Cl. Mar. 5, 2009) (representing
possible future motions concerning recoverability of $1.7 million for exploring
private fuel storage). See generally Devia v. NRC, 492 F.3d 421, 422 (D.C. Cir.
2007) (describing PFS as a “consortium of eight nuclear utilities” that applied to the
NRC to build and operate an ISFSI); Utah v. Dep’t of Interior, 256 F.3d 967, 968
(10th Cir. 2001) (addressing a May 1997 lease between the Skull Valley Band of
Goshute Indians and PFS, a limited liability corporation composed of electric utility
companies); Skull Valley Band of Goshute Indians v. Nielson, 376 F.3d 1223, 1227,
1240-54 (10th Cir. 2004) (describing PFS, a party plaintiff, as a consortium of
utilities and holding federal law preempted state statutes restricting private spent fuel
storage); Bullcreek v. NRC, 359 F.3d 536 (D.C. Cir. 2004) (rejecting Utah’s challenge
to federal statutes and regulations concerning SNF).

      The government contends PFS was not reasonable mitigation because any
private facility was not going to be ready in time to meet WE’s storage needs, and it
was more costly – storage at PFS would be $1,000,000 per cask and $20,000 per cask
annually for O&M, versus $300,000 per cask and $20,000 per cask annually for
O&M at WE’s ISFSI. (Def.’s PFF [386] ¶ 371.)

     Mr. Link testified before the PSC in October of 1994 that WE strongly
supported private storage efforts, and that along with other utilities, was putting
                                          -102-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 106 of 150




together a business plan with the Mescalero Apache Tribe in New Mexico for a
possible ISFSI on tribal land, then-estimated to start in 2003. While he testified this
would be too late for WE’s immediate needs and would be more expensive than dry
storage, he was responding to an inquiry about what WE was doing to avoid the
requested ISFSI from becoming a permanent waste dump. (DX 275 at 15-16.) Even
if PFS was not expected to be ready until 2003, it would have been able to handle or
at least ameliorate WE’s storage needs if the PSC did not approve WE’s second round
of cask loading, and WE needed storage to the end of its license. Moreover, the
Standard Contract requires not only the removal of WE’s SNF, but also its
“disposal.”90/ Action taken to prevent Point Beach from becoming a de facto
repository or disposal facility, with permanent WE responsibility for storage, was
reasonable and foreseeable.

       WE’s PFS decisions and consequent expenses were caused by DOE’s delays.
If DOE had performed at the rates in the 1987 ACR, neither the decisions nor the
expenditures would have been made. WE asserts the government does not contest
causation, only reasonableness of its mitigation choices, and on that accord, the
government bears the burden of establishing that WE’s decisions were not reasonable.
Regardless of whether the government’s points go to causation or reasonableness, the
court concludes that WE has met its burdens in this regard. While PFS was
expensive, it was fundamentally a possible solution for DOE’s delays. The court also
concludes that WE’s PFS decisions and expenditures were foreseeable and
commercially reasonable and the amounts thereof were established with requisite
certainty. Yankee II, 536 F.3d at 1276. See also Home Sav. of Am. v. United States,
399 F.3d 1341, 1353 (Fed. Cir. 2005) (upholding fair and commercially reasonable
mitigation efforts). The expenditures would not have been incurred in the non-breach
world of the 1987 ACR and recovering these costs would not place WE in a better
position than if DOE had performed.




       90/
          DOE “shall accept title to all SNF and/or HLW,” “provide subsequent transportation for
such material to the DOE facility and dispose of such material.” (PX 41 at Art. IV.B.) “Disposal”
is the “emplacement in a repository . . . whether or not such emplacement permits recovery of such
waste” (Id. at Art. I.8.)
                                                -103-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 107 of 150




       NRC fees

       The NRC issues operating licenses to commercial nuclear power plants under
to 10 C.F.R. Part 50 (“Part 50”). Dry storage operational licenses fall under 10 C.F.R.
Part 72 (“Part 72”). The NRC also assessed fees for services.

               Part 170 fees

       In 1983 when the Standard Contract was signed, the NRC charged hourly rate
fees for direct services under 10 C.F.R. Part 170 (“Part 170”). Examples of Part 170
fees include review of license applications or amendments. Inspections also
generated Part 170 fees. WE paid $175,891 in Part 170 fees related to dry storage:
$149,816 from 1996 through 2002; $13,716 in 2003; and $12,360 in 2005. (DX 625
at WXE0220126; PX 1029 at KRGWE003854; DX 299 at 6.)

       WE asserts these fees were foreseeable and caused by DOE’s delays. In the
non-breach world, WE would not have paid them because there would have been no
dry storage facilities or activities to inspect or license. Given the conclusion that the
DOE’s delays caused WE to build and load the ISFSI, which would not have occurred
in the non-breach world, there is no dispute over the recovery of Part 170 fees as
costs of mitigation.91/

               Part 171 fees

       In 1983, when the Standard Contract was signed, the NRC did not assess
annual license fees, or charge for generic services such as research or rule-making
that applied to more than one licensee.


       91/

        [MS. SNYDER:] [W]ith respect to the Part 170 fees, which are specific fees related
        to the ISFSI at [Point Beach], our argument is, there is no causation for those because
        our argument is, they would have had the ISFSI, they should have paid it, and it’s not
        because of the DOE delay.
        THE COURT: If there is causation, I take it that you would not object to it.
        MS. SNYDER: To the Part 170 fees.
        THE COURT: If there were causation.
        MS. SNYDER: I think it would be hard to argue otherwise.
(Final Arg. Tr. 157:15-158:1.)

                                                -104-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 108 of 150




      In 1986, Congress granted the NRC authority to assess annual license fees in
the Consolidated Omnibus Reconciliation Act of 1985, Pub. L. No. 99-272, 100 Stat.
82 (1986), which also required that the NRC collect approximately 33 percent of its
budget through fees.92/ For the first time, the NRC instituted a Part 171 annual
operating reactor fee on Part 50 licensees. See Annual Fee for Power Reactor
Licensees and Conforming Amendment, 51 Fed. Reg. 33,224 (Sept. 18, 1986); 10
C.F.R. § 171.15(c). There was no annual generic fee on Part 72 dry storage facility
licensees.

       In 1990, Congress passed the Omnibus Reconciliation Act of 1990 (“OBRA-
1990”), Pub. L. No. 101-508, 104 Stat. 1388 (1990), which required that the NRC
recover 100 percent of its annual budget from generic and specific activity fees.
Revision of Fee Schedules; 100% Fee Recovery, 56 Fed. Reg. 14,870 (Apr. 12,
1991). As a result, the NRC instituted a Part 171 annual generic fee on Part 72 dry
storage licensees seven years after the Standard Contract was signed, and eight years
before DOE’s performance was to commence. There was no annual Part 171 generic
fee for wet storage.

      Included in WE’s claim are $908,700 in Part 171, Part 72 dry storage NRC
license fees. (DX 625 at WXE0220126 (sum of Project/WBS Code 1203430).) It is
WE’s position that because DOE’s delays caused the construction of dry storage, and
in the non-breach world, dry storage would not have been built, these fees are
recoverable.

       The government resists responsibility for dry storage or any of its attendant
costs. In 1983 when WE entered the Standard Contract, NRC fees for generic
activities did not exist. It is argued the additional fee resulted not from regulatory
concerns but from a congressional cost directive which comprises an asserted
intervening act – a step removed from DOE’s breach which serves to cut off
causation. The government cites Old Stone Corp. v. United States, 450 F.3d 1360,
1376 (Fed. Cir. 2006) and Myerle v. United States, 33 Ct. Cl. 1 (1897).


       92/
          In 1987, Congress increased this amount to not less than 45 percent. Omnibus
Reconciliation Act of 1987, Pub. L. No. 100-203, 101 Stat. 1330 (1987); Annual License Fees for
Fiscal Year 1990 for Power Reactor Licenses, 55 Fed. Reg. 7510-03 (Mar. 2, 1990) (estimating
collection of approximately $195 million in fees based on a FY 1990 budget of $438.8 million, with
anticipated fees of $115 million in Part 171 annual fees; $57 million in Part 170 licensing and
inspection fees; and $23 million from the NWF).
                                               -105-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 109 of 150




       In Old Stone, a Winstar case, the Federal Circuit held that, while it may have
been foreseeable the thrift would need additional cash because of the government’s
breach, other collateral adverse consequences of raising that cash – selling its best
asset that would have reaped future profits – must also be foreseeable. “[E]ven if the
need for replacement capital was foreseeable, that hardly establishes that the adverse
consequences alleged to flow from the need to make infusions were foreseeable.”
450 F.3d at 1376. Citing from the Restatement (Second) of Contracts, the Federal
Circuit explained “‘[t]he mere circumstance that some loss was foreseeable, or even
that some loss of the same general kind was foreseeable, will not suffice if the loss
that actually occurred was not foreseeable.’” 450 F.3d at 1376 (citing Section 351
cmt. a (1981) (emphasis and alteration in original).) Similarly, Myerle held that
damages are limited to those proximately caused by the breach free from any
intervening incident – “there must not be two steps between cause and damage.” 33
Ct. Cl. at 19. As WE correctly observed, Old Stone and Myerle do not foreclose
recovery of NRC fees; rather, they applied fundamental foreseeability concepts, the
application of which would not preclude recovery here.

       At issue here is not the underlying loss or damage – additional storage
including the construction and loading of dry storage – but the collateral and
reasonable costs/fees of those foreseeable mitigation decisions. In awarding
collateral costs of internal labor in Carolina Power II and SMUD II, the Federal
Circuit did not discuss foreseeability. Similarly, SMUD II confirmed that
foreseeability constrains the type of loss, not necessarily the precise means of
mitigating that loss. “[T]he law does not require that the specific method of
mitigation be foreseeable. Rather, the foreseeability prong applies to the type of loss,
not to the means of mitigation.’” SMUD II, 293 Fed. Appx. at 772 (citing Citizens
Fed. Bank v. United States, 474 F.3d 1314, 1321 (Fed. Cir. 2007) (“If it was
foreseeable that the breach would cause the other party to obtain additional capital,
there is no requirement that the particular method used to raise that capital or its
consequences also be foreseeable.”). The Federal Circuit discounted a similar
argument in Fifth Third Bank, a Winstar case, where the amount of damages was due
in part to change in market conditions. “Fifth Third was not required to demonstrate
that the [g]overnment could have foreseen at the time of contracting that the market
conditions might be less than favorable when it later breached the contract.” Fifth
Third Bank v. United States, 518 F.3d 1368, 1376 (Fed. Cir. 2008). See Astoria Fed.
Sav. & Loan, 568 F.3d at 954-56 (instructing trial court to calculate additional
regulatory assessments consequent to larger asset portfolio in non-breach world); S.

                                         -106-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 110 of 150




Nuclear, 77 Fed. Cl. at 405 (“While the general response to a breach must be
foreseen, the particular way that a mitigating decision is implemented need not.”).

      Incremental, incidental or consequential expenses, directly and proximately
caused by, or resulting from, foreseeable mitigation decisions are recoverable.
Restatement (Second) of Contracts § 350 cmt. h (1981) (providing that “costs
incurred in a reasonable but unsuccessful effort to avoid loss are recoverable as
incidental losses”); Restatement (Second) of Contracts § 347 cmt. c (1981)
(explaining that “[i]ncidental losses include costs incurred in a reasonable effort,
whether successful or not, to avoid loss, as where a party pays brokerage fees in
arranging or attempting to arrange a substitute transaction”).

       Moreover, that WE, as well other contracting nuclear utilities, would be subject
to substantial regulatory oversight because of DOE’s breaches was foreseeable. As
the Federal Circuit observed, “the production of energy from nuclear sources is one
of the most highly regulated human activities.” Commonwealth Edison Co. v. United
States, 271 F.3d 1327, 1348 (Fed. Cir. 2001 (en banc) (quotations and citation
omitted). The NRC’s predecessor agency, the Atomic Energy Commission, began
charging fees for specific services in 1968. License Fees for Facility Licenses and
Materials Licenses, 33 Fed. Reg. 10923 (Aug. 1, 1968).

       Licensing and other fees assessed on mitigating substitute performance have
been included in damages in other cases. Costs of heat load analysis required as part
of a license amendment were included in damages in Dominion Resources, Inc. v.
United States, 84 Fed. Cl. 259, 274 (2008). Carolina Power I included $1.9 million
in legal and communications expenses incurred in connection with NRC regulatory
proceedings. 82 Fed. Cl. at 49. Northern States included NRC cask transportation
license costs in damages. 78 Fed. Cl. at 469-70.

        Pre-1999 Part 171 dry storage annual fees were a direct result of WE’s
reasonable, foreseeable mitigation for DOE’s delays and are accordingly included in
mitigation costs awarded herein. If DOE had performed at the rates in the 1987 ACR,
they would not have been incurred because dry storage would not have been built.

                    1999 fee restructuring

      In 1999, the NRC again changed its fee structure, eliminating the Part 171 dry
storage annual fee, and converting the annual Part 50 operating reactor fee into a
                                         -107-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 111 of 150




spent fuel storage/reactor decommissioning (“SFS/RD”) fee which applied regardless
of whether a licensee had wet or dry storage. This change shifted the agency’s
generic dry storage costs to the larger, entire class of operating reactors. (Tr. 4262:8-
25 (Rabideau).) WE requests inclusion of the estimated dry storage portion of the
SFS/RD fee in damages.

       The parties dispute the motivation and significance of the 1999 creation of the
SFS/RD fee, factors implicated in causation. WE concludes that the fee was created
in reaction to, and caused by DOE’s delays, and there is record support for that
position. The NRC considered seeking legislation to amend the NWPA so that its
generic dry storage costs could be paid out of the NWF. (Tr. 4165:24-25; 4166:1-5
(Rabideau); PX 967.) The NRC acknowledged that licensees would incur costs “as
a result of the delays in the DOE’s [waste disposal] program.” (Tr. 4152:25-4153:2
(Rabideau).) In part because of DOE’s delays, the NRC determined all licensees
would eventually need dry storage.93/ (PX 947 (Spent Fuel Storage and
Decommissioning Fee Study, Oct. 1998 at 4) (“With the continued delay of DOE
taking possession of spent fuel, some utilities must then resort to dry storage for more
storage capacity. . . . It is likely that, in the absence of a high level waste repository,
all licensees will need dry storage capacity eventually.”); PX 1044 (64 Fed. Reg.
31448, 31455 (June 10, 1999) (“The fact that DOE is not taking possession of the
spent fuel does not relieve NRC of the OBRA-90 requirement to recover
approximately 100 percent of its budget authority through fees, including those costs
associated with generic spent fuel storage activities.”).) The NRC also wished to
avoid any perceived disincentive to dry storage because there was an annual fee on
dry but not on wet storage.

      WE’s position is that these fees would not have been assessed in the non-
breach world because the NRC would not have been concerned with mounting
storage needs and favoring wet storage over dry. In the non-breach world, fewer than
ten ISFSIs would have been constructed. Thus, the class of ISFSI licensees would
have been small, fewer than “all licensees.” The fee could not have been imposed
across the industry in the non-breach world because the NRC may only allocate
generic fees “fairly and equitably” among licensees. 42 U.S.C. § 2214(c)(3). In the
non-breach world, dry storage fees would have remained specific to those utilities
with dry storage which would not have included WE. WE also cites the testimony of

       93/
             The number of ISFSIs increased from 10 in 1998 to 38 at the time of trial. (Tr. 3367:13-15
(Supko).)
                                                  -108-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 112 of 150




Jack Gadzala94/ who worked for the NRC from 1988 to 1997, that in his opinion, if
DOE had performed, the NRC would never had imposed this fee.

       In addition to causation and foreseeability, the government contests the
certainty of the dry storage portion of this fee which admittedly had to be estimated.

       WE counters that the reasonable certainty standard was satisfied in this regard.
Examining budgets and other records, Peter Rabideau, NRC Deputy Chief Financial
Officer, segregated eighty percent of the underlying costs of the NRC included in this
fee as either relating to spent fuel storage or not, and then calculated the ratio of spent
fuel storage costs to the identified eighty percent, and applied that ratio to the
remaining twenty percent.95/ Based on the resulting formula, WE asserted that the
storage-related portions of the SFS/RD fees in 1999-2007 were: 1999: $107,925;
2000: $225,845; 2001: $307,177; 2002: $333,166; 2003: $468,866; 2004: $301,780;
2005: $251,602; 2006: $286,972. (PX 1029 at KRGWE003886 (April 2007 Kenrich
Revised Work Papers).)

       “Determining the amount of damages to award . . . is not an exact science, and
the methodology of assessing and computing damages is committed to the sound
discretion of a district court.” Carolina Power II, 573 F.3d at 1276 (citations
omitted). Damages for breach “need not be ‘ascertainable with absolute exactness or
mathematical precision.’” Ind. Mich. II, 422 F.3d at 1373 (quoting San Carlos
Irrigation & Drainage Dist. v. United States, 111 F.3d 1557, 1563 (Fed. Cir. 1997).)
“[W]here responsibility for damage is clear, it is not essential that the amount thereof
be ascertainable with absolute exactness or mathematical precision: It is enough if the
evidence adduced is sufficient to enable a court or jury to make a fair and reasonable
approximation.’” Nat’l Austl. Bank v. United States, 452 F.3d 1321, 1327 (Fed. Cir.


       94/
         Jack Gadzala was a licensing engineer for WE and later NMC at the Point Beach Nuclear
Plant from 1998 to 2007. Mr. Gadzala managed the Point Beach Licensing Group’s budget and
reviewed and approved NRC fee invoices for payment. He testified regarding his knowledge of
Point Beach’s NRC fees. Prior to joining WE, from 1988 to 1997, Mr. Gadzala worked for the NRC
and was a resident NRC inspector at Point Beach from 1989 until 1994.
       95/
          THE COURT: Just out of curiosity, for all the items with which you have indicated that
they might be related to storage or that you can’t tell one way or the other, could you tell with any
of the items whether they would be dry storage or wet storage?
THE WITNESS: I was not able to tell whether they would be dry or wet.
(Tr. 4255: 24-25; 4256:1-6 (Rabideau).)
                                               -109-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 113 of 150




2006) (citing Bluebonnet Sav. Bank v. United States, 266 F.3d 1348, 1355 (Fed. Cir.
2001).) See also Restatement (Second) of Contracts § 352 cmt. a (1981) (“Damages
need not be calculable with mathematical accuracy and are often at best
approximate.”).

       The court concludes, however, that regardless of the accuracy of its allocations
advanced, WE did not establish that these fees were incremental – that WE would not
have paid required NRC fees in these amounts, during these times, in the non-breach
world. In that generic costs for both wet and dry spent fuel storage were spread
among all licensees, WE would have paid these fees regardless of whether or not it
had dry storage. To obtain a 100 percent recovery of its costs, NRC had to assess
fees from somewhere. Also, Mr. Rabideau testified that this fee change would have
occurred in 1999 even if DOE had begun performance in 1998.96/ (Tr. 4051:12-
4053:22; 4076:16-24 (Rabideau).) As Deputy Chief Financial Officer for the NRC
in 1998 and 1999, considering his career at that agency in budget and strategic
planning since 1978, observing his demeanor and the circumstances involved, his
testimony in this regard is credited.97/

      Because WE did not establish it would not have paid fees in these amounts had
DOE performed, these fees are not incremental. Also, with the NRC under a full-cost
recovery mandate, absent citation to evidence that the NRC’s staff or other costs
would have decreased in the non-breach world, recovery of these costs would have
required assessments. The government points to the record evidence that the total
NRC fees paid by WE did not increase despite the changes involved. As a result, it
cannot be said, on this record, that these amounts would not have been incurred by
WE absent DOE’s delays. Accordingly, absent a recovery of post-1999 fees, there

       96/
         At trial the government repeatedly objected to questioning Mr. Rabideau as to what would
have happened in the non-breach world as speculative. In accord with the Yankee trio, which
requires comparative speculation, such testimony is relevant, particularly when the government
asserts WE failed to satisfy its evidentiary burdens.
       97/

       Q. In your opinion, if the [DOE] had begun accepting spent fuel from the utilities in
       1998, would the fee rule change have occurred?
       A. I believe it still would have occurred, and that’s because there were fairness issues
       regarding the fee itself, and one of the things a 1999 fee rule tried to do was resolve
       those fairness issues.
(Tr. 4076:16-24 (Rabideau).)

                                                -110-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 114 of 150




is no need to address the government’s argument as to the accuracy of Mr. Rabideau’s
parsing and estimating of NRC costs, or of the inclusion of a surcharge.

Internal labor

       The dry storage project was complex and labor intensive, requiring the
diversion of personnel from several WE departments including Operations, Health
Physics, Reactor Engineering, Maintenance, Instrumentation and Controls, Non-
Destructive Examination, Chemistry, Security, Administration, Civil Engineering,
Mechanical Engineering, Electrical Engineering and Radiological Engineering. (Tr.
177:11-178:5; 180:19-183:13 (Baumann); PX 1010 (Dec. 1, 1995 Point Beach
Nuclear Plant ISFSI Evaluation and Summary of Compliance, Attachment 4).)
Personnel recorded their time to project codes specific to the dry storage project, an
allocation reviewed and approved by a supervisor. This time is included in WE’s
claim along with pension, benefits and administrative costs.

        Mr. Baumann, WE’s Manager of Nuclear Fuel Commodities and Supply,
testified to this effort. After several contentious years, the PSC approved the project
subject to WE’s filing a 10 C.F.R. § 72.212 report with the NRC. WE’s sixty-five
page report dated December 1, 1995, included a summary of operational steps which
hint at the complexity of cask loading. WE’s Operations Department developed
procedures and had oversight responsibility.98/ The Health Physics Department
evaluated and monitored the radiological safety of personnel and the public. Reactor
Engineering selected the SNF to be placed in the casks and monitored loading. The
Maintenance Group welded and sealed the casks. The Instrument and Control Group
installed temperature monitoring equipment; the Nondestructive Examination Group
tested the integrity of the welds; the Chemistry Group developed procedures for
sampling and testing; and the Security Group was responsible for protection of all of
the plant’s equipment. (Tr. 179-83 (Baumann).)

      Seventy to eighty individuals were used to load a VSC-24. Mr. Holzmann,
Shift Manager, Operations Group, testified about the impact of the diversion of so


       98/
           Illustratively, Operations moved the ventilated concrete cask (“VCC”) on-site, loaded the
multi-assembly sealed basket (“MSB”) into the transfer cask, placed the transfer cask into the pool,
loaded assemblies into the MSB, removed the cask from the pool, prepared the MSB for storage,
loaded the MSB into the VCC, and transferred and placed it on the ISFSI. “Tip-over” or drop
testing, cleaning and surveillance were also required. (PX 1010 at WISC00056974.)
                                                -111-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 115 of 150




many personnel. “So what in essence that does is it removes the resource that you
currently have participating in a dry storage load activity unavailable to perform other
maintenance activities at Point Beach.” (Tr. 2007:25-2008:10 (Holzmann).) The
efforts would not have been expended in the non-breach world of the 1987 ACR.
Those people would have been able to do the jobs they were hired to do. (Tr.
1747:15-1754:19 (Becka) (explaining that dry storage efforts prevented these
employees from doing other work).) Internal labor was used where feasible because
the selected workers were known, better trained, more familiar with Point Beach and
considered more reliable, less expensive and less of a security risk than outside
contractors. Nuclear utilities typically have a backlog of maintenance and other
work, and the diversion of substantial labor to the dry storage project increased that
backlog.

       The government retreated from its trial position that internal labor costs were
not incremental unless a person spent more than fifty percent of his or her time over
a six-and-a-half year period (April of 1999 to December of 2005) on the dry storage
project. After a trial in another case the Federal Circuit rejected a similar, but lesser,
threshold:

      It does not matter if 10 employees dedicated 100 percent of their time or
      100 employees dedicated 10 percent of their time to mitigation work.
      So long as [the utility] is only asking for reimbursement for the total
      number of hours its employees worked on mitigation projects and can
      prove that its employees did in fact spend that time on those projects, it
      is entitled to recover.

SMUD II, 293 Fed. Appx. at 774. Following SMUD II, government expert Mr. Kiraly
removed previous deductions advanced. (Def.’s Supp. Brief [415] Ex. C, ¶¶ 4-6.)

      WE may recover for its costs for internal labor without “prov[ing] how it would
have used its internal labor pool absent breach.” SMUD II, 293 Fed. Appx at 773.
“The trial court’s requirement of proof of how SMUD would have employed its labor
force had it not been required to divert resources to [breach-related projects] is
unprecedented.” Id. Absent recompense for diverted use of internal talent and skill,
the Federal Circuit predicted, “aggrieved parties [would be encouraged] to hire
outside contractors – likely at greater expense – to perform mitigation-related work
rather than utilize internal resources already familiar with the facility and its
operations.” Id. (citing S. Nuclear, 77 Fed. Cl. at 442-43).
                                          -112-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 116 of 150




       Internal labor costs have been awarded in other SNF cases. Dominion
Resources, Inc. v. United States, 84 Fed. Cl. 259, 280 (2008) included in damages
“costs for the total hours its employees spent working on mitigation projects as long
as plaintiffs prove that their employees in fact worked on mitigation projects during
those hours.” Carolina Power II rejected a government expert’s requirement that an
employee spend fifty percent or more of their time on a breach-related project in a
given year (a more lenient standard than the fifty percent in a six and one-half year
period used by government expert Mr. Kiraly in the instant case) because “[e]very
hour that a [utility] employee spent on a breach-related project was an hour that the
employee did not spend doing other productive work for [the utility].” 82 Fed. Cl.
at 47. While the government’s appeal in Carolina Power included overhead, it did
not include the award of internal labor. See also Sys. Fuels, 79 Fed. Cl. at 67 (“the
charges for internal labor shall be allowed as mitigation costs, without any
reduction”); N. States, 78 Fed. Cl. at 468 (“Our concern here . . . is . . . whether the
cost was incurred to ameliorate the effects of a breach. And since every use of a
resource has an opportunity cost – namely, the alternative use of that resource – it is
quite appropriate to recognize as a cost of mitigation any diversion of labor that was
applied to the accomplishment of that mitigation.”); S. Nuclear, 77 Fed. Cl. at 442
(“Having heard testimony of the efforts required to mitigate, reimbursement for these
costs, caused by DOE's partial breach, reasonably foreseeable and established with
reasonable certainty, are included in mitigation costs awarded herein.”); PG & E I,
73 Fed. Cl. at 408 (“To the extent that the costs of [the utility’s] internal labor were
in fact performed on a ‘breach-related project,’ . . . the court finds that such labor
costs should properly be awarded to plaintiff.”); Yankee I, 73 Fed. Cl. at 322.99/ Cf.
Dominion Res., 84 Fed. Cl. at 283 (rejecting some costs where accounting system did
not contain employee hours, amounts or tasks, and “first hand testimony” was not
offered); Sys. Fuels, 79 Fed. Cl. at 68 (excluding some claimed estimated labor costs);
Sys. Fuels, 78 Fed. Cl. at 769 (disallowing unsupported employee costs).

       At bottom, it is WE’s burden to establish how much time its personnel spent
on mitigation work. Government expert Mr. Kiraly testified to lack of detail for
salaried workers in WE’s older accounting systems. WE objected, arguing assertions
of lack of support violated a pretrial Stipulation. While the government’s
foundational objection may have been dropped in its supplemental brief and in final
argument, the court nevertheless rejects it here as counter to the Stipulation
mentioned. Commendably, the parties cooperated in an ordered pretrial audit of

      99/
        The government’s appeal did not include the award of internal labor costs.
                                           -113-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 117 of 150




claimed costs – a process that facilitated efficient discovery and resulted in a Joint
Stipulation that most of WE’s claimed costs were adequately supported from a books
and records perspective.100/ While recoverability may be contested, the numbers were
not, which significantly reduced expense, trial time, testimony and exhibits. The
Stipulation provides:

       1. The parties agree, with the two exceptions noted below, that all costs
       through February 28, 2007 that are included in WE’s claim were
       incurred by WE and are traceable to and supported by WE’s accounting
       records. These costs include (1) outside services and materials costs, (2)
       the NRC Power Reactors’ Annual Fees, (3) employee expenses, (4) the
       Pension and Benefits Labor Adder, and (5) labor costs. In addition, the
       Government does not deny the accuracy of the budgeted Administrative
       and General cost rates used by WE in its claim. The Government,
       however, contests whether WE legally is entitled to recover these
       claimed monies in this action.
       2. The Government contests the accuracy of the weighted average cost
       of capital contained in WE’s claim.
       3. The Government contests the accuracy of the calculated offset from
       WE’s claim for the procurement and installation of a temporary storage
       rack.

(J. Stip. Re. Accuracy of Pl.’s Costs [350] at 1.) To the extent the government has not
fully dispensed with Mr. Kiraly’s criticism in this matter, the court concludes that his
criticism of lack of documentation is not consistent with this Stipulation.

      The court further finds that, independent of the Joint Stipulation, WE met its
burden of establishing its internal labor costs, including that for salaried staff, to a
reasonable certainty. Yankee II, 536 F.3d at 1273 (citing Ind. Mich. II, 422 F.3d at
1373). That these costs were incurred and represented efforts related to dry storage
was the subject of testimony by lay and expert witnesses at trial. Ione Straub, with
more than twenty years of accounting experience at WE, including in the Nuclear
Power Department during the development and implementation of the dry storage
project, testified about WE’s procedures for insuring the accuracy of labor costs. The
hours spent by WE personnel were, at least for some period of time, “booked” to

       100/
        Further to this audit, there was a three-day meeting including dialogue between counsel
and WE personnel.
                                              -114-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 118 of 150




specific account numbers assigned to the dry storage project. Time sheets were
reviewed and “signed off” by a supervisor before processing. (Tr. 2883:7-17
(Straub).) Indeed, WE’s records were sufficient to allow Mr. Kiraly to segregate
those employees and staff who spent less than a majority of their time in a six-year
period on dry-storage, which, he suggested, should be excluded from damages. If
documentation was adequate for that purpose, it is adequate for the reasonable
certainty standard.

       Also, WE’s economic expert Mr. Metcalfe worked with WE personnel to
identify activities and costs related to DOE’s delays in commencing performance,
analyzing underlying internal accounting and payroll records. He verified and
evaluated WE’s accounting controls which he concluded were equal to, and in some
instances greater than, industry standards. (Tr. 4520:4-8; 4527:11-4528:1; 4545:23-
4551:22 (Metcalfe).)

       The government is held to the parties’ Stipulation, but independent of the
Stipulation, the court concludes that these costs together with the dry storage nature
of the effort underlying the costs was established with reasonable certainty.

       Administrative and General Costs

       Administrative and general (“A&G”) costs, overhead or indirect costs “include
those costs to support [the] finance area of the company, the accounting information
technology of purchasing, the stores area, corporate secretary function, legal
department, any of the areas of the company that are necessary in order to accomplish
the work that is performed within the individual projects in the business units.” (Tr.
2884:20-2885:3 (Straub).) These are “the costs that you typically wouldn’t think of
when working on a project, but without them, work would not get done.”101/ (Tr.
2893:2-4 (Straub).)

       The government seeks to deduct $1,733,273 of A&G costs for two reasons;
first because WE did not establish that A&G costs increased as a result of DOE’s



       101/
          A&G includes costs of office space, furniture, supplies, maintenance and depreciation of
buildings in Milwaukee and the assets of Washington Gas, a separate entity. (Tr. 2951:6-13
(Straub); Tr. 4614:20-4615:1, 4807:22-4808:5, 4812:10-17 (Metcalfe).) A&G costs are
approximately 3 percent of WE’s total nominal damages. (Tr. 4622:23-24 (Metcalfe).)
                                              -115-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 119 of 150




delays; and secondly, because the A&G costs included were budgeted not actuals.
(Def.’s Post-Trial Br. [387] at 112.)

       The Federal Circuit recently upheld the award of proportional overhead
expenses added to hours charged to breach-related project codes despite a dearth of
evidence whether total overhead was affected by the breach. Carolina Power II, 573
F.3d at 1277. (“The record thus shows that the trial court did not clearly err in
holding that Progress Energy should be allowed to recover an appropriate portion of
these indirect overhead costs.”).

        WE adds A&G to billings to all entities outside of the company and to
nonutility customers in percentages detailed in the Affiliated Interest Agreement (PX
1043.1, App. A) approved by the PSC.102/ “The primary purpose of the [A]ffiliated
[I]nterest [A]greement is to ensure that, when the company does work for one of the
nonutility affiliates and others, that the rate payers are not subsidizing the nonutility
affiliates, such that all the costs are borne at a burden of the rate payer, that whoever
is the beneficiary of those services also shares in the burden of those costs.” (Tr.
2886:14-22 (Straub).) Revised A&G rates103/ ranged from 15.72% in 1990 to 36.08%
in 2006. (PX 1047 at KRGWE003917.)

       That these costs were supported from a books and records perspective was
encompassed by the Stipulation. (Tr. 3734:4-10 (the court) (“In addition, the
government does not deny the accuracy of the budgeted administrative and general
cost rates used by WE in its claim. The government, however, contests whether [WE]
legally is entitled to recover those claim monies in this action.”).)

      The government distinguishes WE’s A&G compilations from the accounting
system in Carolina Power that charged indirect expenses to particular projects
together with a finding that the utility had diverted warehousing and management
resources to the ISFSI. In contrast, the A&G in WE’s claim was not recorded at the

       102/
           The Affiliated Interest Agreement limits charges to fair market value, grants the PSC
continuing oversight with right to amend, and admonishes that use of employees and property by the
affiliates must be minimized under Wisc. Stat. § 196.795(5)(r) and (s). (PX 1042, App. A at 4.)
Allowable overhead includes office space, equipment, approved rate of return adjusted by tax
impact, as well as administrative and general support. (Id. at 4-5.)
       103/
          Percentage rates were “revised” – reduced by Mr. Metcalfe to eliminate components of
return on shareholder equity, perceived by WE to be improper for inclusion in damages.
                                             -116-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 120 of 150




project level, but was added by Mr. Metcalfe104/ and Ms. Straub testified she was
unaware of any increase in A&G. (Tr. 2968:7-11 (Straub).)

       The court sees no meaningful distinction between a utility adding A&G costs
at the project level as in Carolina Power and WE’s expert applying a PSC-approved
enhancer. It is not contended that the pool of overhead expenses or components
would be less if added at the project level. Also, that WE’s indirect costs include
depreciation and overhead of a building outside the Point Beach location does not
alter the reality (and Stipulation) that these costs were properly supported from a
books and records perspective as part of WE’s overhead. Overhead is by its nature
not directly linked to mitigating efforts. Carolina Power II, 573 F.3d at 1276
(recognizing “wide discretion in assessing appropriate quantum of damages”).

        Overhead has been included in damages in other SNF cases. “[O]verhead
costs are recoverable as long as a utility can demonstrate that ‘overhead costs were
incurred and are properly attributable to mitigation projects and activities.’”
Dominion Res., 84 Fed. Cl. at 281. As with recovery of internal labor in these cases,
“[i]f overhead costs were not allowed, ‘plaintiffs’ other projects would be more
expensive than anticipated.’ Absent DOE’s partial breach, plaintiffs could have
allocated their resources to other projects.” Id. (citing Carolina Power I, 82 Fed. Cl.
at 48). See also Sys. Fuels, 79 Fed. Cl. at 63-64 (including allocated overhead except
capital suspense loader which captured administrative and engineering time not
charged to a particular project because it occurred in increments of less than 30
minutes); N. States, 78 Fed. Cl. at 468; S. Nuclear, 77 Fed. Cl. at 441-43; PG & E I,
73 Fed. Cl. at 407-08; Cf. Sys. Fuels, 78 Fed. Cl. at 798-800 (recognizing overhead
may be included in mitigation damages, but finding failure of proof that A&G costs
increased because of dry storage): TVA, 69 Fed. Cl. at 542 (failing proof of
relationship to dry storage project, overhead costs are not recoverable).

      As noted, A&G rates were approved by the PSC and factored into billings
charged to nonutility affiliates to ensure that ratepayers were not subsidizing work
performed for third parties. Denying inclusion in mitigation damages would similarly
subsidize DOE’s partial breach. In this breach world, for many years a significant
portion of WE’s effort has been to perform work made necessary by the government’s


       104/
          Although WE’s accounting system from 1989 to 1996 charged A&G at the project level,
those are not the charges used in the claim.

                                           -117-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 121 of 150




failure timely to initiate the SNF disposal operation it contracted to accomplish. That
surrogate performance has an administrative cost. Under the Standard Contract, the
government can charge for its overhead. Overhead is included in recovery in
government contracts under the Federal Acquisition Regulations (“FAR”), cost
accounting standards and other government contract claims. M.H. McCloskey, Jr.,
Inc. v. United States, 66 Ct. Cl. 105, 121 (1928) (allowing recovery of “overhead,
including payments for superintendents, timekeepers, office and telephone, car fares,
and incidental expenses”). See also ACE Constructors, Inc. v. United States, 70 Fed.
Cl. 253, 279 (2006), aff’d, 499 F.3d 1357 (Fed. Cir. 2007). Reasonably allocable
company-level administrative costs can and should be fairly included in internal labor
costs.

       The government points out that WE’s A&G rates were budgeted – predicted
under generally accepted accounting principles (“GAAP”) at the beginning of each
year. At the end of the year, actual overhead may be less. WE admits that if actual
overhead is higher or lower than budgeted, no “true-up” is made. Failure to reconcile
or “true-up” could create a windfall the government asserts. The court credits
testimony that in some years A&G projections were higher than actuals, and in other
years, they were lower; typically they were pretty close. (Tr. 3008:19-3010:9
(Straub).) Even if the A&G amounts had not been encompassed by the Stipulation,
given the extensive regulation and venting, the court declines to deny or adjust the
amount of A&G on this basis. The government’s proposed reduction is not supported
by the preponderant record evidence and is rejected.

      Pension and benefits, travel expenses and meals

       Also included in WE’s claim are pension and benefit costs totaling $536,000.
(Tr. 4623:2-3 (Metcalfe).) In another SNF case the government conceded that
employee benefit costs such as pension expenses are generally a proper component
of internal labor costs. Sys. Fuels, 79 Fed. Cl. at 65 (conceding inclusion in
mitigation damages employee benefits costs except for a small portion chiefly
consisting of expenses for retirees and non-qualified plans for executives and
officers). Here, under the Stipulation, the government does not question the accuracy
of these additions, but together with internal labor charges generally, asserts these
expenses were not incremental. For the same reasons internal labor is included in the
damages awarded herein, pension and benefit costs are also allowed as damages.



                                         -118-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 122 of 150




        Another sum involved is $617,135 for employee expenses such as travel
reimbursements and meals. (Def.’s Post-Trial Br. [386] at 111.) The government
avers that some of these costs were not incremental in that they would have been
incurred in the non-breach world, and as to others the government contests their
support – that the costs could not be linked to employee time or effort. As to the
latter, the Joint Stipulation precludes objections in this regard. Furthermore, WE
established that these expenses, which were reimbursements to named employees,
were reviewed and approved by a supervisor or supervisor’s designee prior to
payment. The employee expenses were then charged to specific dry storage project
codes or accounts recording expenses that knowledgeable WE personnel determined
were caused by DOE’s breach. Ms. Straub and Mr. Metcalfe testified to the
accounting support. The court concludes that WE has met its burdens as to these
employee-reimbursed expenses and no valid basis exists to exclude them from WE’s
claim.

Cask loading offset

       Under the Standard Contract WE is responsible for the costs of loading to DOE
casks. (PX 41 at IV.A.2.(a) (“The Purchaser105/ shall arrange for, and provide, all
preparation, packaging, required inspections, and loading activities necessary for the
transportation of SNF and/or HLW to the DOE facility.”).) Accordingly, the
government argues, the costs that WE would have incurred in loading its allotments
under the 1987 ACR to DOE casks in the non-breach world should be deducted or
offset from damages.

       Using the 1991 rate advocated by the government, and based on input from its
expert, Warren Brewer, Mr. Kiraly deducted a total of $3.68 million in avoided
loading costs from WE’s claim. (Def.’s PFF [408-8] ¶ 625.) With DOE collecting
more SNF under the 1987 ACR, WE would have loaded more casks. Accordingly,
in supplemental filings, government expert Mr. Kiraly increased the proposed offset
to $8,168,515. (Def.’s Supp. Br. [415] at 12.)

       These costs have been deferred, not avoided and deferred costs are not current
offsets. The Federal Circuit in Yankee II rejected the government’s virtually identical
position that a fee to be paid to DOE when it first collects SNF should be an offset


      105/
         Under the Standard Contract, WE is the “Purchaser.” (PX 41 at KRGWE002118.)
                                           -119-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 123 of 150




to damages.106/ That fee remains a future obligation of the utility and the Federal
Circuit explained that in a partial breach case, the cost of a future obligation is not a
present offset to damages.

       While this view of the Yankees’ obligation correctly recites this court’s
       rule that ‘the non-breaching party should not be placed in a better
       position through the award of damages than if there had been no
       breach,’ Bluebonnet, 339 F.3d at 1345, the application of that rule does
       not make the Yankees’ one-time payment a condition precedent or offset
       for an award of damages. In simple terms, the comparison of breach and
       non-breach worlds does not convert this case from a suit for partial
       breach of contract into a case for a total breach of contract. Because this
       case presents a partial breach of contract, the Yankees’ ongoing
       contractual obligation has not yet matured under the terms of the contact
       itself.

       As this court has already acknowledged, the NWPA and the terms of the
       Standard Contract foreclose any claim for total breach. See Ind. Mich.
       [II], 422 F.3d at 1374 (noting that the Department would have been
       discharged from further responsibility for disposal of SNF and HLW if
       the utility would have pursued a claim for total breach-an outcome
       foreclosed by the NWPA). Indeed, the Yankees “had no choice but to
       hold the government to the terms of the Standard Contract while suing
       for partial breach.” Id. If this case featured a total breach, then the
       Government would be entitled to an offset for the disposal fees that are
       not yet due. However, in this partial breach scenario, the Yankees-the
       non-breaching party-have no obligation to make payments that have not
       yet become due. When those obligations mature, the Yankees must then
       comply with the ongoing requirements of the contract:

       Damages are calculated on the assumption that both parties will
       continue to perform in spite of the breach. They therefore compensate
       the injured party only for the loss it suffered as the result of the delay or
       other defect in performance that constituted the breach, not for the loss

       106/
         Under the Standard Contract, a utility had the option to accrue interest and to defer paying
fees covering SNF discharged before April 7, 1983 (1.0 mill per kilowatt-hour) until DOE
commenced to perform. (PX 41 at VIII.B.2(c).)
                                              -120-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 124 of 150




       of the balance of the return performance. Since the injured party
       is not relieved from performing, there is no savings to it to be
       subtracted.

       ...

       In this partial breach case where the parties’ performance obligations
       survive, the non-breaching party is not at this time responsible for
       obligations that must be performed later, when they mature. In this case,
       the Yankees have sued for partial breach to recover storage costs caused
       by the Government’s protracted performance delay. All parties--the
       Yankees and the Government--retain their substantive rights and
       obligations under the contract. Thus, the Government must still
       permanently dispose of the SNF and HLW; the Yankees must still pay
       the one-time fee, with interest, before the first delivery of waste to the
       Department but subsequent to institution of a valid DCS.

Yankee II, 536 F.3d at 1280-81. The application of this reasoning to the future
obligation to load SNF to DOE casks was recently confirmed in Carolina Power II.107/
“‘Just as the utilities cannot now collect damages not yet incurred under the ongoing
contract, the government cannot prematurely claim a payment that has not become
due.’” Carolina Power II, 573 F.3d at 1277 (citing Yankee II, 536 F.3d at 1281).

       Because Point Beach has been sold, the government asserts that WE will never
bear this expense. However, FP&L Point Beach, as assignee, stands in WE’s shoes.
See Amber Res., Co. v. United States, 538 F.3d 1358, 1378 (Fed. Cir. 2008). Both the
NWPA and the Standard Contract permit assignments.108/ Presumably this contingent


       107/
           The government’s offset position has been uniformly rejected. Dominion Res., 84 Fed.
Cl. at 278-79; Sys. Fuels, 79 Fed. Cl. at 70-71; Sys. Fuels, 78 Fed. Cl. at 797; N. States Power, 78
Fed. Cl. at 468-69; PG & E I, 73 Fed. Cl. at 416; SMUD I, 70 Fed. Cl. at 372; TVA, 69 Fed. Cl. at
542.
       108/
         “The rights and duties of the Purchaser may be assignable with transfer of title to the SNF
and/or HLW involved[.]” (PX 41 at XIV.) See Dominion Res., 84 Fed. Cl. at 285-87 (upholding
assignment of partial breach claims); Vt. Yankee Nuclear Power Corp. v. United States, 84 Fed. Cl.
339, 343-44 (2008) (enforcing assignment of breach claims under the Standard Contract); Boston
Edison Co. v. United States, 80 Fed. Cl. at 471-72 (citing Rochester Gas & Elec. Corp. v. United
                                                                                      (continued...)
                                               -121-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 125 of 150




obligation was factored into the transaction.109/ No rationale has been presented why
this performance should be paid for twice – once as a deduction from incremental
incurred costs and again absorbed as a cost when DOE performs.

       Moreover, the amount of future cask loading expenses is unknown, making any
offset speculative.110/ Carolina Power I, 82 Fed. Cl. at 52. DOE has not yet identified
the type or size of cask that it will use; nor is it clear whether WE’s dual-purpose
casks will be accepted for transportation to the disposal site.111/ “Prior decisions have
concluded that ‘[a]s matters now stand, any benefit inhering in [the utility] because
of delayed loading costs would be entirely speculative. It is not possible to ascertain
the method DOE will ultimately use for SNF acceptance.’” Sys. Fuels, 79 Fed. Cl.
at 71 (quoting TVA, 69 Fed. Cl. at 542).

       A utility could possibly argue that, if its casks are not used for transporting, its
costs to load from the ISFSI to DOE casks will be greater than its costs to load from
the spent fuel pool. On the other hand, the government may argue that the costs of


       108/
           (...continued)
States, 64 Fed. Cl. 431 (2005) (holding that the NWPA’s express authorization for assignments of
the Standard Contract supersedes the Assignment of Contracts Act, 41 U.S.C. § 15 and the
Assignment of Claims Act, 31 U.S.C. § 3727); Entergy Nuclear Indian Point 2, 64 Fed. Cl. at
522-23 (denying government standing motion, finding assignee of Standard Contract had privity);
Entergy Nuclear Generation Co. v. United States, 64 Fed. Cl. 336, 343 (2005) (same); cf. Delmarva
Power & Light Co. v. United States, 542 F.3d 889, 892-94 (Fed. Cir. 2008) (discussing assignment
of taking claim).
       109/
         WE’s understanding that FP&L and the government may have reached a settlement that
may have considered this offset does not alter the court’s conclusions herein.
       110/
            The costs to load from the spent fuel pool to casks and then to the ISFSI are incremental
in that these efforts would not have been necessary if DOE had performed. And, as discussed further
herein, the employees engaged in these loading efforts were doing work that they would not have
been required to do but for DOE’s partial breach. In contrast, future loading to DOE casks by WE
personnel is what was required by the contract.
       111/
          The government’s proposed offset assumes DOE will use truck casks. Given the
proximity to Lake Michigan, use of barges cannot be ruled out. And as WE points out, there is a
railhead available for heavy-haul shipments in and out of Point Beach. In the steam generator
replacement in 1996, Westinghouse shipped a 200-ton part of the steam generator to the site by rail.
From there, the equipment was hauled across by multi-axle hydraulic, self-propelled transporter to
Point Beach, crossing several bridges without incident.
                                              -122-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 126 of 150




loading from the ISFSI will be less.112/ These future issues are beyond the scope of
this litigation.

       In their original report dated July 14, 2005, Messrs. Metcalfe and Sieracki
estimated an offset of $4.7 million of costs to load to DOE in the non-breach world.
(DX 498 at WXE002-0022.) This offset was not included in their second report dated
May 8, 2006, upon instruction of counsel. (PX 794 at 18.) The government’s attempt
to find particular significance in this change is unavailing. Mr. Metcalfe removed the
offset following the Federal Circuit’s opinion in Indiana Michigan II precluding
future damages, in which case deduction for future expenses such as cask-loading for
transfer to DOE would not be appropriate.

       There is no windfall, nor will there be, because while WE, although incurring
the substantial expenses of building and loading the ISFSI, did not incur cask loading
costs from the spent fuel pool to hypothetical DOE casks, its successor, FPL, will, if
and when contract performance commences.

       It is the government’s burden to establish reductions to damages. Caroline
Hunt Trust Estate v. United States, 470 F.3d 1044, 1052 (Fed. Cir. 2006)
(characterizing the government’s argument that the plaintiff bore the burden to
establish damage reductions to be “without merit,” and explaining “[t]his court has
previously held that ‘it [is] the government’s burden to prove with reasonable
certainty the quantum of benefit retained by the [aggrieved party] despite the
government’s breach.”) (alteration in original) (citing Westfed Holdings, Inc. v.
United States, 407 F.3d 1352, 1370 (Fed. Cir. 2005) and Lisbon Contractors, Inc. v.
United States, 828 F.2d 759, 769 (Fed. Cir. 1987)). The government’s requested
offset is denied as premature.

       Partial summary

       To recap, WE damages without the deduction for NRC fees granted above are
as follows:



       112/
           Moreover, as the 1987 ACR-assumed initial performance at an MRS has not materialized,
the dry storage facilities built by WE and other utilities because of DOE’s delayed performance have
become de facto interim storage facilities, and DOE avoids what would have been two moves of
SNF – from the utility site to interim storage, and then from interim storage to the repository.
                                                 -123-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 127 of 150



                    Summary of WE’s Total Past Nominal Damages,
                By Category (Through 2/2007) Including Trial Adjustment
                                                                            Total
                                                         Non-Breach        Nominal
            Category            Breach Costs               Costs           Damages
    ISFSI Licensing,              $ 20,683,000       $             -   $    20,683,000
    Engineering,
    Construction And
    Maintenance
    Dry Casks                     $ 31,536,000       $             -   $    31,536,000
    Cask Pit Rack                 $              -   $     2,048,000   $ (2,048,000)


    Private Fuel Storage          $    884,000       $             -   $      884,000
    Spent Fuel Management         $   1,282,000      $             -   $     1,282,000
           Total                  $ 54,385,000       $     2,048,000   $    52,337,000


(Pl.’s PFF [375] ¶ 236.)

Financing expenses as mitigation costs

       WE’s claim includes approximately $44.2 million representing the costs of
funding its dry storage project through financing mechanisms approved by the PSC.
WE proposed rates of return designed to attract capital. (Tr. 6117:12-24 (Kiraly);
Kiraly DDX 5-13.) The PSC staff and any intervenors presented competing views.
The resulting authorized rates are WE’s costs of capital – the amounts WE was
allowed to pay for money needed to fund operations, including building dry storage,
amounts which were included in the rate base. WE’s claim includes weighted
average cost of capital, “weighted” referring to adjustments taken to reflect the impact
of taxes. Percentages for corporate funding were calculated and applied to the dollar
amounts of WE’s incremental expenses to compose this category of costs.

       Before trial, on August 16, 2007, the court denied the government’s motion for
partial summary judgment that these costs were, as a matter of law, precluded,
concluding genuine issues of material facts were stated. (Order [334] at 10-20.)

      Initially, the government would deduct all capital costs asserted, arguing WE
suffered no net economic loss because financing costs were absorbed by the
                                         -124-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 128 of 150




ratepayers. Based on prior precedent the court does not accept the government’s
pass-through defense. Hughes Communications Galaxy, Inc. v. United States, 38
Fed. Cl. 578 (1997) rejected the defense that a third party paid for breach costs
asserted. The government there sought to limit damages for its breach of contract to
launch satellites, because the higher prices Hughes had to pay for replacement
launches were offset by the increased income Hughes was able to garner from its
customers by doing so – that is, the higher costs were “passed through.” Irrelevant,
Hughes argued and the court agreed. An injured party’s recovery from third parties
does not decrease the amount of the wrongdoer’s liability. Rather than following the
non-breaching party’s business acumen in mitigating,

              [t]he inquiry is best ended at ‘the first step’ – did the party who
       suffered a breach pay more for reprocurement of services? If so, the
       court will not look to whether its pricing structure incorporates those
       new costs.
              ...
              [T]he government may not assert by way of defense the fact that
       Hughes recovered from its customers some or all of the increased costs
       of launching the satellites caused by the government’s breach. Hughes
       is entitled to receive the benefit of its bargain. What Hughes chose to
       do with that benefit has no impact on the damages calculation in this
       case.

38 Fed. Cl. at 582. The Federal Circuit affirmed. Hughes Commc’ns Galaxy, Inc. v.
United States, 271 F.3d 1060, 1072 (Fed. Cir. 2001). See also Roedler v. DOE, 255
F.3d 1347 (Fed. Cir. 2001) (denying ratepayers standing to sue for breach of the
Standard Contract).113/

      In any event, some portion of the recovery in this litigation will be returned to
WE’s ratepayers, thus any “pass-through” bounces back. The PSC ordered
reimbursement to the rate payers.

       If [WE] recovers any of its expenses associated with dry cask storage
       from the [DOE], or from another federal entity, it shall return the


       113/
           The government's observation that WE sold its casks to the Wisconsin Energy Fuel Trust
and leased them back, therefore, at minimum financing costs should be denied for those items, does
not alter the court’s conclusions herein.
                                              -125-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 129 of 150




       amounts recovered to its ratepayers. [WE] shall notify the Commission
       when it receives these funds, and request the Commission to determine
       the proper accounting procedures needed to distribute the funds to
       ratepayers.

(PX 592 at 13 ( March 27, 2001 PSC Decision granting WE authority to acquire and
place up to 36 additional dry casks).) Subsequently, the PSC authorized WE “to defer
any settlements received from the [DOE] related to [SNF] disposal fees, net of any
incremental litigation fees, until future rate proceedings when the revenue
requirement impacts are known.” (PX 686 (Jan. 18, 2005 PSC Order).)

       By statute, interest on a claim against the United States may be awarded only
if provided for by contract or statute. “Interest on a claim against the United States
shall be allowed in a judgment of the United States Court of Federal Claims only
under a contract or Act of Congress expressly providing for payment thereof.” 28
U.S.C. § 2516(a).

       Because in the absence of a clear, explicit waiver of sovereign immunity
       from liability for interest, the United States government . . . pays all
       judgments and amounts due in what economists call ‘nominal dollars’
       rather than in economic ‘real dollars,’ and because Congress has not
       statutorily waived the government’s sovereign immunity from interest
       payments . . . we affirm.

Sandstrom v. Principi, 358 F.3d 1376, 1377 (Fed. Cir. 2004). See England v. Contel
Advanced Sys., Inc., 384 F.3d 1372, 1379 (Fed. Cir. 2004) (“The no-interest rule is
an aspect of the basic rule of sovereign immunity . . . . It has been construed to apply
broadly to claims for interest.”) (citations omitted); Ind. Mich. I, 60 Fed. Cl. 639, 660
(2004), aff’d, 422 F.3d 1369 (Fed. Cir. 2005) (rejecting a request for average after-tax
cost of capital because it was equivalent to prejudgment interest). There is no
provision in either the Standard Contract114/ or the NWPA that specifically authorizes
the recovery of the financing costs asserted here.

       While WE uses various terms to describe the costs asserted, if at bottom, the
claim is “interest,” attempts to re-label will go unrewarded. See Library of Congress

       114/
            Depending on the option chosen to pay the one mill per kilowatt-hour, the utility could be
liable for interest. (Tr. 4573:8-22 (Metcalfe); PX 41 at Art. VIII.B.2(a) & (b); B.4; C.)
                                                -126-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 130 of 150




v. Shaw, 478 U.S. 310, 321 (1986) (“[T]he character or nature of ‘interest’ cannot be
changed by calling it ‘damages,’ ‘loss,’ ‘earned increment,’ ‘just compensation,’
‘discount,’ ‘offset,’ or ‘penalty,’ or any other term, because it is still interest and the
no-interest rule applies to it.”) (citing United States v. Mescalero Apache Tribe, 207
Ct. Cl. 369, 389, 518 F.2d 1309, 1322 (1975)); Blake v. Califano, 626 F.2d 891, 894-
95 (D.C. Cir. 1980) (noting economic distinction between interest and delay or
inflation factor, nonetheless prohibited by the no-interest rule.); Sterling Sav. Ass’n
v. United States, 80 Fed. Cl. 497, 519 (2008) (“‘No matter what term plaintiff uses,
compensation for the belated receipt of money violates the no-interest rule absent an
express statutory waiver of sovereign immunity from liability for interest.’”).

       WE defines its claim as not interest on an anticipated judgment – which would
be interest on its claim, but interest as a distinct substantive element of its claim – no
different than the costs of the casks or expenses of internal labor, which would not
have been incurred if DOE had performed.115/ Also, the reimbursement WE seeks is
based on market variables, as approved by the PSC, which fluctuated. In contrast,
prejudgment interest is a static statutory rate.

       The seminal case Bell v. United States, 186 Ct. Cl. 189, 404 F.2d 975 (1968)
included interest paid by a contractor on loans in determining the amount of an
equitable adjustment under the “Changes” provision of the contract. Inclusion in
costs would not run afoul of 28 U.S.C. § 2516(a) or decisions thereunder, the Court
of Claims explained because of the terms of the contract. The statutory bar applied
to breach claims is not encompassed by that provision:

       The statute and its policy apply to demands for damages in ‘breach’
       claims against the United States where the plaintiff seeks compensation
       for delay in payment. The demand here is not based upon a ‘breach’ but

       115/
            The price of capital to fund mitigation expenses has been characterized as a cost, not
interest. Ralph C. Nash & John Cibinic, Interest on Borrowings: a Legitimate Cost in Damages
Calculations, 21 Nash & Cibinic Report, No. 12, ¶ 69 (Dec. 2007) (“28 U.S.C. § 2516 doesn’t deal
with costs. It bars recover[y] of interest on claims. Such interest is an entirely different matter –
being an imputed amount that is added to recovery on a claim to compensate the contractor for the
fact that recovery of the amount found owed has been delayed while the claim is being adjudicated.
If some court would articulate the difference between interest on borrowings as a cost and interest
on a claim in this way, we might end the litigation on this issue.” (citing Sys. Fuels, 78 Fed. Cl. 769
and Sys. Fuels, 79 Fed. Cl. 37).

                                                -127-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 131 of 150




      upon a change compensable under the ‘Changes’ article which entitles
      the contractor to reimbursement for the resulting ‘increase . . . in the cost
      of performance of this contract.’ Extra interest on the borrowed money
      became due from [the contractor] because of the slowdown, and under
      generally accepted principles was undoubtedly an increased cost of
      contract performance attributable to the change.

186 Ct. Cl. at 205-06, 404 F.2d at 984. Those financing costs were “‘in the very same
category as more tangible costs of construction,’” which are allowable, and not
compensation for delay in payment – “‘breach’ cases [where the contractor] had to
borrow money because the Government did not timely pay them sums due and
owing.” 186 Ct. Cl. at 206, 404 F. 2d at 984.

       Subsequent authorities apply these principles. See England v. Contel, 384 F.3d
at 1379 (“The [no-interest] rule has been held not only to bar the recovery of interest
on substantive claims against the government, but also interest costs incurred on
money borrowed as a result of the government’s breach or delay in payment.”)
(citation omitted). The Federal Circuit also quoted from J. D. Hedin Constr. Co. v.
United States, 197 Ct. Cl. 782, 456 F.2d 1315, 1330, that “[i]nterest paid on bank
loans made because of financial stringency resulting from a breach by the
Government of a contract between it and the borrower is not recoverable as an item
of damage.”

       In Wickham Contracting Co. v. Fischer, 12 F.3d 1574 (Fed. Cir. 1994), the
Federal Circuit addressed recovery of interest a contractor paid on loans which was
included in a request for an equitable adjustment for government-caused delay in a
contract subject to the Contract Disputes Act (“CDA”), 41 U.S.C. § 609. While 28
U.S.C. § 2516(a) “‘generally prohibits the award of interest against the federal
government,’” this prohibition “‘does not bar an interest award as part of an equitable
adjustment under a fixed-price contract if the contractor has actually paid interest
because of the government’s delay in payment.’” Wickham, 12 F.3d at 1582-83
(quoting Gevyn Constr. Corp. v. United States, 827 F.2d 752, 754 (Fed. Cir. 1987)).
 “[A] contractor may recover interest actually paid on funds borrowed because of the
government's delay in payments and used on the delayed contract.” Wickham, 12
F.3d at 1582. While interest on borrowed funds may be recoverable, expenses for
equity financing is prohibited. Wickham, 12 F.3d at 1582 (“Interest on equity capital
is not recoverable.”).

                                         -128-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 132 of 150




       The parties disagree about whether allowance of interest as a cost under
Wickham depends upon the Changes clause or some other contractual provision. It
is, however, not necessary to reach the question of whether Wickham is based upon
a contract clause which does not exist in the Standard Contract. Even if WE is correct
and recovery of interest under Wickham does not require a contractual source, thus
opening the door to recovery of the interest as a cost it seeks, Wickham does require
a segregate debt not present here. In Wickham recovery was denied “because [the
claim] showed neither that borrowed funds were used in connection with the
[contract] project, nor that the borrowing resulted from the [government’s] delay.”)
12 F.3d at 1583; see also Dravo Corp. v. United States, 219 Ct. Cl. 416, 427, 594
F.2d 842, 847 (1979) (“[I]t is clear that this court still holds to the view that direct
tracing to a specific loan or necessity for increased borrowing is still required to be
proven in order for a contractor to recover for interest costs under an equitable
adjustment theory.”).

       Costs to obtain replacement capital have been awarded in Winstar cases where
the government’s breach of contract to allow negative net worth to “count” towards
required regulatory capital, led to pursuit of large amounts of replacement capital at
a price. If those costs were established along with foreseeability, causation and non-
incurrence in the hypothetical non-breach world, recovery has been upheld.

       In Bluebonnet,116/ this court affirmed the Court of Federal Claims’
       finding that it was foreseeable that a thrift would be “forced to seek even
       more capital to meet heightened regulatory requirements” and that it was
       also foreseeable that the costs and risks associated with meeting these
       requirements would have other negative economic consequences such
       as “increas[ing] the costs of securing debt or equity financing.

Citizens Fed. Bank v. United States, 474 F.3d 1314, 1321 (Fed. Cir. 2007) (citations
omitted) (alteration in original). See LaSalle Talman Bank v. United States, 317 F.3d
1363, 1375 (Fed. Cir. 2003) (affirming award of cost of replacement capital including
equity capital because of government’s breach as an element of expectation damages,



       116/
          Bluebonnet Savings Bank v. United States, 266 F.3d 1348, 1355 (Fed. Cir. 2001) affirmed
the recovery of increased financing costs caused by the government’s breach. See also Centex Corp.
v. United States, 55 Fed. Cl. 381, 390 (2003), aff’d, 395 F.3d 1283 (Fed. Cir. 2005) (“[F]oreseeable
financing costs can be an element of expectancy damages.”).
                                                -129-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 133 of 150




recognizing that “[a]ll capital raised by a corporation has a cost . . . [and] that the
payment of dividends is a capital cost.”).

        Applying this precedent, prior SNF cases have denied recovery of financing
costs because of the absence of specific or separate dry storage financing, or a
showing that the utility’s financing needs increased. Consumers Energy Co. v.
United States, 84 Fed. Cl. 670, 674 (2008) concluded that a “one-to-one
correspondence between a debt instrument and a specific capital project” might not
be required, but because there was no showing of increased borrowing or relationship
of any borrowing to the mitigating dry storage project, summary judgment in favor
of the government was entered. “A specific correspondence between the loan
instrument and the SNF storage project may not be required; however, more is
required than the mere assertion that Consumers Energy entered into short and long-
term financing to pay for capital expenditures.” 84 Fed. Cl. at 675 (citing Gevyn
Constr. Corp. v. United States, 827 F.2d at 754). See also Dominion Res., 84 Fed. Cl.
at 285 (interest denied for lack of causal link between borrowed funds and mitigation
efforts); Carolina Power I, 82 Fed. Cl. at 53-54 (2008) (“[p]laintiffs failed to provide
any evidence tying any borrowed money to specific projects,” and in “the absence of
any evidence establishing a direct causal connection between the cost of borrowing
and specific breach-related projects renders Plaintiffs’ $1,996,045 AFUDC
[Accounting for Funds Used During Construction] claim not recoverable.”); Sys.
Fuels, Inc. v. United States, 79 Fed. Cl. 37, 69 (2007) (“Failing to have established
that its claimed financing costs are directly related to required borrowing through
specific debt instruments, [plaintiff] cannot recover its costs of capital.”); N. States
Power Co., 78 Fed. Cl. at 471-72 (“Absent proof of any borrowings with which the
interest claim can be causally identified, however, plaintiff's cost of capital damages
become conceptually indistinguishable from prejudgment interest, i.e., interest on a
claim.”); Ind. Mich. I, 60 Fed. Cl. 639, 660 (2004), aff’d, Ind. Mich. II, 422 F.3d 1369
(Fed. Cir. 2005) (finding that a request for “average after-tax cost of capital” was
equivalent to a request for prejudgment interest and rejecting the request); S. Nuclear,
77 Fed. Cl. at 449 (denying financing costs of parent corporation).

       In System Fuels, Inc. v. United States,117/ the court concluded: “if causation is
established, a private party to a government contract may recover an amount charged
by a lender for borrowed funds that were loaned to mitigate a breach of contract.” 78

       117/
           There are two System Fuels cases. One is currently on appeal to the Federal Circuit; the
other is awaiting a determination on the cost of capital.
                                               -130-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 134 of 150


Fed. Cl. 769, 807 (2007). The government’s insistence that there be a “one-to-one”
matching between a borrowing or fund-raising effort and the ISFSI project at issue
was rejected, and additional briefing was sought to determine the “cost of borrowed
funds with reasonable certainty.” 78 Fed. Cl. at 809. Following supplemental
briefings, that determination is pending.

       WE did not parse its interest costs with the certainty precedent requires but
applied various percentages to the nominal dollars of its incremental incurred costs.
Apart from intricate details of its debt and equity financing, WE did not identify any
segregated funding source for its mitigation expenses. Absent any specific borrowing
or a showing of increased borrowing, to meet its mitigation needs the constraints of
the statutory bar of 28 U.S.C. § 2516 applied in Wickham apply here.118/ WE has not
established a causal link between its capital structure and the construction and other
costs incurred because of DOE’s breach. Furthermore, WE has not convinced the
court that its capital financing costs would have been any different in the non-breach
world. As such, WE has not persuaded the court that these various percentages
tendered are incremental.

       It is recognized that to deny recovery to WE and ultimately its ratepayers any
recovery of its cost of capital ignores the realities of utility financing at the corporate
rather than the project level. While there may be economies of scale and other
reasons for not issuing debt instruments for specific projects, the controlling
precedent does not support recovery in the absence of segregate debt.

     As an alternative, WE urges recovery of $747,865 – the Allowance for Funds
Used During Construction (“AFUDC”), an amount approved by the PSC in
November of 1995 as a line-item cost specifically and only for the dry storage project.
WE booked AFUDC to the dry storage project account. (Tr. 2868:4-14 (Straub).)

                           Cost Item                        Cost Estimate
                           Material                          $ 3,380,000
                           Installation                          950,000
                           Engineering                         1,060,000
                           12 VSC-24 Storage Casks             3,783,000
                           Miscellaneous Expenses                775,000
                           AFUDC                                 730,000
                           Total Gross Project Costs        $ 10,678,000




       118/
           At Final Argument, WE’s counsel stated: “I’ve conceded that we can’t point to a specific
debt instrument and say, ‘Here is the debt we issued for the ISFSI.’ It’s a large company. It doesn’t
do its financing that way.” (Final Arg. Tr. 97:19-22.)
                                                -131-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 135 of 150




(PX 374 at 8 (Feb. 9, 1995 PSC Order approving the dry storage project).) AFUDC
is a FERC-dictated formula for calculating the estimated debt and equity costs of
capital funds necessary to finance new construction during the time that the asset is
under construction. When the asset – the ISFSI – is placed into service, presumably
the asset is paid for thus extinguishing the debt. (Tr. 4566:12-14 (Metcalfe)
(“AFUDC is generally allowed to public utilities for capital items before they go into
service.”).) AFUDC is a finite, not a continuing charge, making it less interest-like
and provides a return on investment for shareholders prior to the asset being added
to the rate base. (Tr. 2866:18-2868:15 (Straub); 4566:6-4567:5; 4597:13-25
(Metcalfe).)

      The government argues AFUDC also is the functional equivalent of
prejudgment interest and is barred by 28 U.S.C. § 2516(a).

      AFUDC was recovered in TVA, citing Wickham, as “a widely-accepted,
FERC-mandated standard for calculating the cost of the funds used in building the
dry storage facilities,” rejecting “ the government’s contention that Wickham and
Gevyn Construction should be extended by requiring a match between capital
expenditures and specific debt instruments.” 69 Fed. Cl. at 542. Subsequent cases
have denied recovery of AFUDC. Consumers Energy, 84 Fed. Cl. at 676-77;
Dominion Res., 84 Fed. Cl. at 284-85; Carolina Power I, 82 Fed. Cl. 23, 53-54 (issue
was not raised on appeal); Sys. Fuels, 79 Fed. Cl. 37, 70.

        While WE points to record evidence that AFUDC was a separately-approved
line item of the ISFSI, approved by the PSC (and apparently added to the rate base)
and booked to the dry storage project codes, at bottom WE was unable to establish
that AFUDC or any of the interest costs asserted were incremental as required by
Federal Circuit precedent. As a subset of the utility’s capital structure, the AFUDC
charge suffers from the same defects as the other financing costs advanced. There is
no tracing to a borrowing, no showing of increase in borrowing because of the dry
storage project, and conversely no showing of a decrease in borrowing thereafter. In
the non-breach world of DOE’s performance WE did not establish that its capital
needs would have been any different. Accordingly, even if these charges are not
included in the statutory bar of interest against the sovereign, the court concludes that
there has been a failure of proof and these costs are not included in damages awarded.




                                          -132-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 136 of 150




Unavoidable delays

      After trial, in responding to WE’s Proposed Findings of Fact that DOE partially
breached the Standard Contract by failing to commence performance by January 31,
1998 (a matter on which the court had long ago entered summary judgment), the
government responded to the statement as one of law, not fact, and in a footnote
added that liability for partial breach was not contested at trial because the
government was specifically enjoined by a writ of mandamus from the United States
Court of Appeals for the District of Columbia Circuit from relying upon the
“Unavoidable Delays” clause of the Standard Contract 119/to excuse its delays, citing
N. States Power Co. v. DOE, 128 F.3d 754, 760 (D.C. Cir. 1997).

               The effect of the writ of mandamus upon our ability to defend the
       liability phase of this case cannot be overstated. The D.C. Circuit has
       eliminated one of the central provisions of the Standard Contract that
       governs the parties’ liability in the event of delays in SNF acceptance.
       With this clause, DOE would have had the ability to present an absolute
       defense to liability in this case. Without it, DOE now faces billions of
       dollars in damages claims. The writ of mandamus wholly changes the
       nature of the Standard Contract, essentially and inappropriately creating
       a contract (one without an “Unavoidable Delays” clause) between the
       parties to which DOE never agreed, and preventing us from relying upon
       CP&L’s [sic – presumably Carolina Power & Light] own written

       119/

       A. Unavoidable Delays by Purchaser or DOE
       Neither the Government nor Purchaser shall be liable under this contract for damages
       caused by failure to perform its obligations hereunder, if such failure arises out of
       causes beyond the control and without the fault or negligence of the party failing to
       perform. In the event circumstances beyond the reasonable control of the Purchaser
       or DOE – such as acts of God, or of the public enemy, acts of Government in either
       its sovereign or contractual capacity, fires, floods, epidemics, quarantine restrictions,
       strikes, freight embargoes and unusually severe weather – cause delay in scheduled
       delivery, acceptance or transport of SNF and/or HLW, the party experiencing the
       delay will notify the other party as soon as possible after such delay is ascertained
       and the parties will readjust their schedules, as appropriate to accommodate such
       delay.

(PX 41 at Art. IX.A.)

                                                -133-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 137 of 150




       acknowledgment that DOE’s delays in acceptance would be
       “unavoidable.”120/

              We have consistently argued that the D.C. Circuit overstepped its
       jurisdiction and authority in issuing this writ of mandamus (given that
       the judicial review provision of the NWPA, 42 U.S.C. § 10139, does not
       permit the D.C. Circuit to review contract administration matters).
       Recently, in Nebraska Public Power District v. United States, 73 Fed.
       Cl. 650, 673 (2006) (Allegra, J.), this Court determined that the writ of
       mandamus was void because, in issuing the writ, the D.C. Circuit
       “operated in excess of its jurisdiction and, specifically, without an
       appropriate waiver of sovereign immunity.” This Court subsequently
       certified its decision for interlocutory appeal to the United States Court
       of Appeals for the Federal Circuit, Nebraska Public Power District v.
       United States, 74 Fed. Cl. 762 (2006), and, on March 1, 2007, the
       Federal Circuit issued an order granting Nebraska Public Power’s
       petition for permission to appeal. Nebraska Public Power District v.
       United States, Misc. Docket No. 843, 2007 WL 779291 (Fed. Cir. Mar.
       1, 2007). On December 3, 2007, after the completion of the trial in this
       matter, the United States Court of Appeals for the Federal Circuit heard
       oral argument in Nebraska Public Power District v. United States, No.
       2007-5083 (Fed. Cir.). The Government reserves the right to challenge
       any determination of liability with respect to the Standard Contract if the
       writ of mandamus is lifted or otherwise deemed inapplicable.

(Def.’s Resp. to Pl.’s PFF[388] ¶2 n.1.) The pendency of Nebraska Public Power was
also noted in a two sentence footnote on the first page of Defendant’s Supplemental
Brief [415], filed after trial and after the Federal Circuit’s Yankee trio Opinions.

       The government did not question the validity of this mandamus, nor its efficacy
in this action either in this court or before the D.C. Circuit. Unlike the action taken
in other SNF cases, the unavoidable delays clause was not plead as an affirmative
defense nor was leave (conditional or otherwise) sought to do so. (Def.’s Ans. 2nd




       120/
          It does not appear that WE made such an admission. The court presumes this portion of
the footnote was an inadvertent carry-over from another SNF case.
                                              -134-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 138 of 150




Am. and Suppl. Compl. [327] filed June 25, 2007.)121/ On January 30, 2007, in
Systems Fuels, Inc., the government asserted unavoidable delays as an affirmative
defense not to liability but to damages.

       To the extent that the defense is not barred by the United States Court
       of Appeals for the District of Columbia Circuit’s writ of mandamus in
       Northern States Power Co. v. United States Department of Energy, 128
       F.3d 754 (D.C. Cir. 1997), plaintiffs’ damages would be affected by the
       “unavoidable delays” clause of the standard contract.

Def.’s Ans. to Second Am. Compl. and Suppl. Compl. [125] at 48, Sys. Fuels v.
United States, No. 03-2624 (Fed. Cl. Jan. 30, 2007).

        In the instant case, the government conceded liability in an August 15, 2001
filing that, in light of Maine Yankee, Northern States and others, “‘DOE’s inability
to begin the services to be provided by the Standard Contract by January 31, 1998
constituted a partial breach of the Standard Contract.’” (Def.’s Resp. to Mot. Partial
S. J. [169] at 2 (emphasis in original) (citing Def.’s Resp. [26] to Court’s July 24,
2001 Order [24] at 2-3).)122/ Subsequently, any impact of the unavoidable delays
clause on either liability or damages was not mentioned in the government’s June 4,
2004 Response [169] to WE’s Motion for Partial Summary Judgment on Liability
[165] (which the court granted in part on October 8, 2004 [172]) some three years
before trial.

       More than six years after WE filed its Complaint on November 16, 2000, in its
Memorandum of Contentions of Fact and Law [277] filed on January 30, 2007, again
in a footnote, the government concluded on pages 13-14 that the writ precluded DOE
from excusing its delay as unavoidable because of lack of a repository or interim
storage authority, which, it is alleged, precluded DOE from presenting an absolute
defense to liability in this matter(without saying what that defense would be) or how,

       121/
          The government did not assert any affirmative defenses in its original Answer and neither
the unavoidable delays clause nor the validity of the writ was among the affirmative defenses raised
in its Answer to the Amended Complaint. (Def’s Ans. [178] filed Nov. 16, 2000; Def.’s Ans. 1st
Am. Compl. [231] filed April 20, 2006.)
       122/
          While general liability to the Standard Contract holders was conceded, the government
contended that without an acceptance rate determination, liability as to a particular utility could not
be assessed.
                                               -135-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 139 of 150




or whether, the government’s concession some six years earlier was meaningful.
Neither did the government seek modification or clarification from the D.C. Circuit
which “retain[ed] jurisdiction over [Northern States] pending compliance with the
mandate issued herewith.” 128 F.3d at 761.

        Subject matter jurisdiction may be raised at any time, even sua sponte by the
court, or initially on appeal. Fanning, Phillips & Molnar v. West, 160 F.3d 717, 720
(Fed. Cir. 1998) (quoting Booth v. United States, 990 F.2d 617, 620 (Fed. Cir. 1993)).
The unavoidable delay suggested by the government does not implicate this court’s
subject matter jurisdiction,123/ but is an avoidance or affirmative defense. RCFC
8(c)124/ requires that a party “must affirmatively state” defenses such as laches, license,
payment, release, res judicata – “any avoidance or affirmative defense.” The
unavoidable delays provision footnotes advocated would address liability for breach.
See 5 Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 1271
(2004); Stockton E. Water Dist. v. United States, 76 Fed. Cl. 497, 508-12 (2007)
(discussing government’s assertion that the sovereign acts doctrine shielded it from
liability). Indeed in its Answer, the government recently conditionally raised the
clause as an affirmative defense to liability and/or damages.

       To the extent that the defense is not barred by the United States Court
       of Appeals for the District of Columbia Circuit’s writ of mandamus in
       Northern States Power Co. v. United States Dep’t of Energy, 128 F.3d
       754 (D.C. Cir. 1997), the “unavoidable delays” clause of the standard
       contract would affect or eliminate the Government’s liability for, and/or
       plaintiff’s ability to recover, damages for DOE’s delay.

Def.’s Answer and First Affirmative Defense [7], SMUD , No. 09-587 (Fed. Cl. Nov.
8, 2009) at 9. The same affirmative defense is in the government’s Answer filed in
Alabama Power. Def.’s Answer and First Affirmative Defense [20] at 20, Ala. Power
Co. v. United States, No. 08-237 (Fed. Cl. Nov. 17, 2008).125/


       123/
           Arguments made to the Nebraska Public Power en banc court include the subject matter
jurisdiction of the D.C. Circuit to enjoin pleading in the United States Court of Federal Claims.
       124/
          During this litigation there have been several amendments to the Rules of the Court of
Federal Claims. Any variation in Rule 8 does not alter the court’s conclusions herein.
       125/
          Alabama Power is the second damages case and follow-on to Southern Nuclear.
                                          -136-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 140 of 150




       The government did not move to amend its Answers in this case. No reason
has been suggested why this or similar language could not have been earlier and
formally asserted, subjected to discovery and fully vented at trial, which it was not.
Clearly, all concerned would be prejudiced if the validity of the writ was raised at this
late date. Any potential defense therein was waived. Former Employees of IBM
Corp. v. Chao, 292 Fed. Appx. 902, 907, 2008 WL 4097478, at *4 (Fed. Cir. 2008)
(“A defendant’s failure to plead an affirmative defense will result in the waiver of that
defense and its exclusion from the case.” (citing 5 Wright & A. Miller, Federal
Practice and Procedure § 1278 (3d Ed. 2004)); Diversey Lever, Inc. v. Ecolab, Inc.,
191 F.3d 1350, 1353 (Fed. Cir. 1999) (“an affirmative defense must be raised in
response to a summary judgment motion, or it is waived.”); Pandrol USA, LP v.
Airboss Ry. Prods., 320 F.3d 1354, 1366-67 (Fed. Cir. 2003) (concluding that by
failing to raise in response to motion for summary judgment, defendant waived
possible defense to liability); Te-Moak Bands of W. Shoshone Indians of Nev. v.
United States, 948 F.2d 1258, 1262-63 (Fed. Cir. 1991) (denying motion to amend
after an eight-year delay, holding that the moving party bears the burden of showing
that the delay was justified); Englewood Terrace L.P. v. United States, 86 Fed. Cl.
720, 728-30 (2009) (collecting cases of waiver of substantive claims); S. Nuclear, 77
Fed. Cl. at 456-57 (enumerating instances where the government raised jurisdiction,
validity or applicability of D.C. Circuit’s writ of mandamus and argued the absence
of a repository excused its breach); Rockwell Automation, Inc. v. United States, 70
Fed. Cl. 114, 122-24 (2006) (disallowing amendment of answer because of undue
delay); Brunner v. United States, 2007 WL 5177408, at *1 (Fed. Cl. Apr. 5, 2007)
(denying leave to amend to add affirmative defense of prior material breach made
eight years after filing Answer and five years after close of discovery).

      Early venting of avoidance or substantive defenses preserves judicial resources
and fosters efficiency. This is not an instance where the unavoidable delays clause
was just discovered. The government drafted the contract. The government has not
shown good cause for failure to raise the issue of the validity of the D.C. Circuit’s
mandamus order and the application, if any, of the unavoidable delays clause earlier.
Accordingly, the court concludes that in this case the government waived any defense
based on the application of the unavoidable delays clause.126/


       126/
          Absent waiver, it is not clear that the government has cited any “unavoidable delay” which
“arises out of causes beyond its control.” The contracting officer’s statement which resulted in the
D.C. Circuit’s mandamus order cited “technical problems; regulatory delays; roadblocks to
                                                                                       (continued...)
                                                  -137-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 141 of 150




       Independently, as a defense to liability, the avoidance defense would fail as a
matter of law. Liability for partial breach is well-established and, as noted, at least
as it pertains to DOE’s failure to begin performance, was here conceded. Carolina
Power II, 573 F.3d at 1273 (“In this case as in others, the record shows that the
United States partially breached its contracts with domestic nuclear utilities to store
[HLW] and [SNF].”); PG & E II, 536 F.3d at 1284 (“A series of cases has established
that DOE has partially breached the contract by failing to begin its performance on
January 31, 1998.”); Yankee II, 536 F.3d at 1272 (“The Department’s failure to
perform beginning on January 31, 1998 constituted a partial breach of the contract.”);
SMUD II, 293 Fed. Appx. at 769 (“The Department’s failure to perform beginning

       126/
            (...continued)
implementation of interim or monitored retrievable storage; funding restrictions; litigation delays;
and consultation requirements” as the bases for the lack of any government liability. N. States, 128
F.3d at 760.
         The unavoidable delays clause addresses liability for damages if the delay “arises out of
causes beyond the control and without the fault or negligence of the party failing to perform.” (PX
41 at Art. IX.A.) The “party” failing to perform is the “government.” The Standard Contract recites
that it is a contract with “the UNITED STATES OF AMERICA (hereafter referred to as the
‘Government’), represented by the UNITED STATES DEPARTMENT OF ENERGY (hereinafter
referred to as ‘DOE’).” (Id. at KRGWE002118.) See Yankee I, 73 Fed. Cl. at 258 n.14 (citing 48
Fed. Reg. at 16,591 which responds to comments solicited that the Standard Contract’s definition
of DOE be expanded to include any successor agencies as “unnecessary,” in part because “the
Purchaser is not contracting, as such, with DOE, but rather with the United States of America . . .
represented by the U.S. Department of Energy.”)
         The government has not been specific in this litigation as to how past delay(s) were
“unavoidable.” Mr. Kouts testified that appropriations out of the NWF to DOE have been less than
requested. (Kouts testimony and KDX 1 & 2.) DOE’s requests are subject to Congressional
appropriation. The considerable unappropriated balance of the NWF is an asset for general federal
budget purposes. (PX 947 (Response of Freedom of Information Act including NRC Spent Fuel
Storage and Decommissioning Fee Study – October 1998 at 11) (“Contributions to the NWF are
used to balance the national budget.”).) The government does not suggest the NWF is insufficient.
To the contrary, utility fees paid to the NWF have exceeded appropriations. Any appropriation
shortfalls from a robust NWF are not beyond the control of the government. They are actions (or
inactions) of, or within the control of, the government. S. Nuclear, 77 Fed. Cl. at 454 n.50. The
“government” includes the Congress. Thus, any failure by the Congress to appropriate money from
the NWF, if a cause of delay, is not beyond the control of the government. Litigation involving
failure to submit an adequate Environmental Impact Statement is not beyond the control of the
government. Failure to obtain required licenses from the NRC is not beyond the control of the
government. In short, even if the unavoidable delay clause could now be pleaded as a defense, the
record does not indicate the existence of any delay cause beyond the control of the government and
without its fault or negligence.
                                                -138-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 142 of 150




January 31, 1998 constituted a partial breach of the contract.”); Ind. Mich. v. United
States, 422 F.3d 1369, 1372 (Fed. Cir. 2005) (noting prior precedent holding DOE
liable for breach); Me. Yankee, 225 F.3d at 1342 (“The breach involved all the
utilities that had signed the contract – the entire nuclear electric industry.”)
(emphasis added).

        Accordingly, it is concluded that the government has waived defenses as to
liability or damages and the validity or application of the Northern States writ of
mandamus.
                                  CONCLUSION

        For public health and safety reasons, the federal government has long assumed
responsibility for disposal of highly radioactive waste such as that involved in this
litigation. As provided by the NWPA in 1983, the United States, represented by
DOE, entered into contracts with domestic nuclear utilities, including WE, under
which in return for payment of fees funded by WE’s electricity consumers, calculated
to cover costs of developing and implementing the waste disposal system required by
that contract, DOE was to start removing, transporting and disposing of utility SNF
no later than January 31, 1998. The contracts have been breached by a series of
substantial delays. WE’s construction of dry storage, purchase and loading of casks
and other mitigating measures, and consequent incurred costs, were a result of, and
substantially caused, by DOE’s delays. WE established that in the plausible non-
breach world where DOE timely commenced full performance under the 1987 ACR,
these decisions and expenditures would not have been made. By preponderant
evidence, it is concluded that WE has proven the following incremental damages,
comprising the difference between its established actual expenses of reasonable and
foreseeable mitigation substantially caused by DOE’s partial breaches, less expenses
that would have been incurred in the non-breach world.

       Accordingly, upon consideration of the evidence, testimony and argument, and
for the reasons set forth above, it is ORDERED that:

      (1) WE is entitled to recover on all elements of its claimed nominal damages
($54,385,000) except for amounts identified as the dry storage related portion of NRC
SFS/RD fees for the years 1999 through 2007 totalling $2,283,333.




                                        -139-
      Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 143 of 150




      (2) In addition, there is deducted, $2,048,000, the expenses of a temporary
cask pit rack which WE would have incurred in the plausible non-breach world
discussed above.

       (3) No cost of capital or expenses of financing mitigation costs are awarded.

      (4) The Clerk shall enter final judgment in favor of plaintiff for
$50,053,667.127/

       IT IS SO ORDERED.


                                                     s/ James F. Merow
                                                     James F. Merow
                                                     Senior Judge




       127/
          Upon entry of final judgment, except to the extent granted herein, all pending motions are
denied as moot.
                                             -140-
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 144 of 150




                                      Appendix

In the non-breach world of the 1991 ACR, WE would not have built dry storage

      Were it to be determined that the 1991 ACR defined the non-breach world, WE
would not have built dry storage. With three possibilities for DOE’s collections, the
following express timetables illustrate wet pool inventory in that non-breach world,
with background shading depicting the breach world.

      DOE collection prior to spring discharge

       Table D and Graph D assume DOE removes WE’s 1998 allocations from the
1991 ACR before WE’s 1998 spring discharge. Starting with Mr. Hennessy’s
inventory of 1473 assemblies after WE’s1997 fall discharge, Table D chronicles the
rise and fall in the number of assemblies, with additions to, and subtractions from, the
wet pool. Before WE makes any further discharges, DOE removes 41 assemblies
(WE’s 1998 allocation in the 1991 ACR), reducing the pool inventory to 1432
assemblies. With 28 assemblies discharged in the spring of 1998, pool inventory
increases to 1460 assemblies, and 1488 assemblies after the 1998 fall discharge.
Before the 1999 spring discharge, DOE removes 110 assemblies (WE’s 1999
allocation in the 1991 ACR), reducing pool inventory to 1378 assemblies. With 28
assemblies discharged in the spring of 1999, pool inventory increases to 1406
assemblies and 1434 after the 1999 fall discharge. Successive inventory calculations
for 2000 through 2007 (2007 being the last year in the 1991 ACR) are detailed using
the same convention. At the reduced performance level of the 1991 ACR, WE’s wet
pool does not exceed capacity. The temporary cask pit rack would have been
available if the need would have arisen.

      The series of bars in Graph D illustrate this non-breach world advocated by the
government. In contrast, the background shading depicts WE’s breach world’s
storage situation – what would have happened if WE, like the government, had done
nothing. Capacity is rapidly exceeded. This comparative depiction illustrates that the
absence of contract performance by the government was the actual and the substantial
causal factor for SNF dry storage, and demonstrates that even under the 1991 ACR
advocated by the government at trial, dry storage would not have been needed.



                                         -141-
Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 145 of 150



         (Table D) - 1991 ACR DOE Removal Before Spring Discharge Using
         1997 After Fall Discharge Inventory of 1473
                                                 Spring                       1991 ACR
                      SNF Pool Inventory                     Fall Discharge
                                              Discharge (28                      DOE
                    (assemblies) after DOE                  (28 assemblies
                                               assemblies                     Removal
                  Removal (shaded column)                   added to pool)
                                             added to pool)                 (assemblies)

          1998      1473 - 41 = 1432             1460           1488            41
          1999      1488 - 110 = 1378            1406           1434            110
          2000      1434 - 50 = 1384             1412           1440            50
          2001      1440 - 69 = 1371             1399           1427            69
          2002      1427 - 92 = 1335             1363           1391            92
          2003      1391 - 62 = 1329             1357           1385            62
          2004      1385 - 25 = 1360             1388           1416            25
          2005      1416 - 32 = 1384             1412           1440            32
          2006      1440 - 40 = 1400             1428           1456            40
          2007      1456 - 54 = 1402             1430           1458            54
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 146 of 150




      DOE collection after spring discharge

       Table E and Graph E assume DOE removes WE’s 1998 allocations from the
1991 ACR after WE’s 1998 spring discharge. Starting with Mr. Hennessy’s
inventory of 1473 assemblies after WE’s 1997 fall discharge, Table E chronicles the
rise and fall in the number of assemblies, with additions to, and subtractions from, the
wet pool. With 28 assemblies discharged in the spring of 1998, pool inventory
increases to 1501 assemblies. DOE removes 41 assemblies (WE’s 1998 allocation
in the 1991 ACR), reducing the pool inventory to 1460 assemblies. With 28
assemblies added in the 1998 fall discharge, inventory increases to 1488. With 28
assemblies discharged in the spring of 1999, inventory increases to 1516 assemblies.
DOE removes 110 assemblies (WE’s 1999 allocation in the 1991 ACR), reducing
pool inventory to 1406 assemblies. With the fall 1999 discharge of 28 assemblies,
inventory increases to 1434 assemblies. Table E also illustrates, in the same fashion,
2000 through 2007 (2007 being the last year in the 1991 ACR), with the Data Table
following detailing additions to, and removals from, the wet pool inventory. At the
reduced performance level of the 1991 ACR, WE’s wet pool would exceed capacity
by one assembly following the spring 1998 discharge and 16 assemblies following
the spring 1999 discharge. It is concluded that it is highly likely that, using fuel
management techniques, any short term over-capacity could and would have been
prevented. The temporary cask pit rack would have been available if the need would
have arisen.

       Again, the series of bars in Graph E illustrate this non-breach world advocated
by the government. In contrast, the background shading depicts WE’s breach world’s
storage situation – what would have happened if WE, like the government, had done
nothing. Capacity is rapidly exceeded. This comparative depiction illustrates that the
absence of contract performance by the government was the actual and the substantial
causal factor for SNF dry storage, and demonstrates that even under the 1991 ACR
advocated by the government at trial, dry storage would not have been needed.




                                         -142-
Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 147 of 150



         (Table E) - 1991 ACR DOE Removal After Spring Discharge Using
         1997 After Fall Discharge Inventory of 1473
                      Spring                                                1991 ACR
                                     SNF Pool Inventory    Fall Discharge
                   Discharge (28                                               DOE
                                   (assemblies) after DOE (28 assemblies
                    assemblies                                              Removal
                                 Removal (shaded column) added to pool)
                  added to pool)                                          (assemblies)

          1998        1501         1501 - 41 = 1460            1488            41
          1999        1516         1516 - 110 = 1406           1434           110
          2000        1462         1462 - 50 = 1412            1440            50
          2001        1468         1468 - 69 = 1399            1427            69
          2002        1455         1455 - 92 = 1363            1391            92
          2003        1419         1419 - 62 = 1357            1385            62
          2004        1413         1413 - 25 = 1388            1416            25
          2005        1444         1444 - 32 = 1412            1440            32
          2006        1468         1468 - 40 = 1428            1456            40
          2007        1484         1484 - 54 = 1430            1458            54
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 148 of 150




      DOE collection after fall discharge

       Table F and Graph F assume DOE removes WE’s 1998 allocations from the
1991 ACR after WE’s1998 fall discharge. Starting with Mr. H of 1473 assemblies
after WE’s 1997 fall discharge, Table F chronicles the rise and fall in the number of
assemblies, with additions to, and subtractions from, the wet pool. With 28
assemblies discharged in the spring of 1998, pool inventory increases to 1501
assemblies and 1529 assemblies with the fall 1998 discharge. DOE removes 41
assemblies (WE’s 1998 allocation in the 1991 ACR), reducing the pool inventory to
1488 assemblies. With 28 assemblies discharged in the spring of 1999, inventory
increases to 1516 assemblies and 1544 assemblies with the fall 1999 discharge. DOE
removes 110 assemblies (WE’s 1999 allocation in the 1991 ACR), reducing pool
inventory to 1434 assemblies. Successive inventory calculations for 2000 through
2007 (2007 being the last year in the 1991 ACR) are detailed applying the same
convention.

      At the reduced performance level of the 1991 ACR, WE’s wet pool would
exceed capacity in 1998 and 1999. It is concluded that it is highly likely that, using
fuel management techniques, any short term over-capacity could and would have
been prevented. The temporary cask pit rack would have been available if the need
would have arisen.

      The series of bars in Graph F illustrates this non-breach world advocated by the
government in the same fashion. In contrast, the background shading depicts the
breach world’s storage situation – what would have happened if WE, like the
government, had done nothing. Capacity is rapidly exceeded.




                                        -143-
Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 149 of 150



         (Table F) - 1991 ACR DOE Removal After Fall Discharge Using
         1997 After Fall Discharge Inventory of 1473
                      Spring                                               1991 ACR
                                  Fall Discharge    SNF Pool Inventory
                   Discharge (28                                              DOE
                                 (28 assemblies   (assemblies) after DOE
                    assemblies                                             Removal
                                 added to pool) Removal (shaded column)
                  added to pool)                                         (assemblies)

          1998       1501           1529          1529 - 41 = 1488            41
          1999       1516           1544         1544 - 110 = 1434           110
          2000       1462           1490          1490 - 50 = 1440            50
          2001       1468           1496          1496 - 69 = 1427            69
          2002       1455           1483          1483 - 92 = 1391            92
          2003       1419           1447          1447 - 62 = 1385            62
          2004       1413           1441          1441 - 25 = 1416            25
          2005       1444           1472          1472 - 32 = 1440            32
          2006       1468           1496          1496 - 40 = 1456            40
          2007       1484           1512          1512 - 54 = 1458            54
     Case 1:00-cv-00697-JFM Document 430 Filed 12/18/09 Page 150 of 150




      For the reasons previously stated, even under the reduced allocations in the
1991 ACR, it also is highly unlikely that the PSC would have allowed WE to build
the ISFSI regardless of the timing of DOE’s collections.




                                      -144-
